Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further1 of 382. PageID #: 210091
                                                      Confidentiality      Review

     1       IN THE UNITED STATES DISTRICT COURT
     2        FOR THE EASTERN DISTRICT OF OHIO
     3                EASTERN DIVISION
     4                     - - -
     5    IN RE: NATIONAL      : MDL NO. 2804
          PRESCRIPTION OPIATE :
     6    LITIGATION           :
          -----------------------------------------
     7                         : CASE NO.
          THIS DOCUMENT        : 1:17-MD-2804
     8    RELATES TO ALL CASES :
                               : Hon. Dan A.
     9                         : Polster
          ____________________________________________
    10
           SUPREME COURT OF THE STATE OF NEW YORK
    11                COUNTY OF NEW YORK
    12    IN RE OPIOID          : Index No. 400000/2017
          LITIGATION            : Suffolk County
    13    ______________________________________________
                 CIRCUIT COURT OF COOK COUNTY
    14               COOK COUNTY, ILLINOIS
    15    THE PEOPLE OF THE     : Case No. 2017L 013180
          STATE OF ILLINOIS,    : Consolidated with
    16    AND COOK COUNTY       : 2018L 3908(JERSEY COUNTY)
          ILLINOIS              : 2018L 2943(KANE COUNTY)
    17                          : 2018L 2916(MACON COUNTY)
                  V.            : 2018L 2948(MCHENRY
    18                          : COUNTY)
                                : 2018L 3728(LAKE COUNTY)
    19    PURDUE PHARMA, L.P. : 2018L 3909(UNION COUNTY)
          ET AL.                :
    20
                        - - -
    21                JENNIFER ALTIER
                  Thursday, August 2, 2018
    22                     - - -
    23    HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                   CONFIDENTIALITY REVIEW
    24

   Golkow Litigation Services                                            Page: 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further2 of 382. PageID #: 210092
                                                      Confidentiality      Review

     1                            -   -    -
     2                       Videotaped deposition of
     3    JENNIFER ALTIER, taken pursuant to
     4    notice, was held at the law offices of
     5    Carella Byrne Cecchi Olstein Brody & Agnello,
     6    PC, 5 Becker Farm Road, Roseland, New Jersey
     7    07068, beginning at 9:05 a.m., on the above
     8    date, before Amanda Dee Maslynsky-Miller, a
     9    Certified Realtime Reporter.
    10

    11                            -   -    -
    12

    13

    14

    15

                      GOLKOW LITIGATION SERVICES
    16          877.370.3377 ph| 917.591.5672 fax
                           deps@golkow.com
    17

    18

    19

    20

    21

    22

    23

    24

   Golkow Litigation Services                                            Page: 2
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further3 of 382. PageID #: 210093
                                                      Confidentiality      Review

     1    APPEARANCES:
     2
     3              ROBBINS GELLER RUDMAN & DOWD LLP
                    BY: AELISH MARIE BAIG, ESQUIRE
     4              BY: MATTHEW S. MELAMED, ESQUIRE
                    Post Montgomery Center
     5              One Montgomery Street
                    Suite 1800
     6              San Francisco, California 94104
                    (415) 288-4545
     7              aelishb@rgrdlaw.com
                    Mmelamed@rgrdlaw.com
     8              Representing the Plaintiffs
     9
    10
                    KIRKLAND & ELLIS LLP
    11              BY: MARTIN L. ROTH, ESQUIRE
                    BY: ZACHARY A. CUILLO, ESQUIRE
    12              300 North LaSalle
                    Chicago, Illinois 60654
    13              (312) 862-2000
                    martin.roth@kirkland.com
    14              Zac.ciullo@kirkland.com
                    Representing Allergan Finance, LLC
    15
    16
    17              JONES DAY
                    BY: BRANDY HUTTON RANJAN, ESQUIRE
    18              325 John H. McConnell Boulevard
                    Suite 600
    19              Columbus, Ohio 43215
                    (614) 469-3939
    20              branjan@jonesday.com
                    Representing Walmart, Inc.
    21
    22
    23
    24

   Golkow Litigation Services                                            Page: 3
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further4 of 382. PageID #: 210094
                                                      Confidentiality      Review

     1    APPEARANCES:        (Continued)
     2
     3              WILLIAMS & CONNOLLY LLP
                    BY: ANDREW C. MCBRIDE, ESQUIRE
     4              725 Twelfth Street NW
                    Washington, D.C. 20005
     5              (202) 434-5000
                    amcbride@wc.com
     6              Representing Cardinal Health
     7
     8              ALLEGAERT BERGER & VOGEL
                    BY: LAUREN J. PINCUS, ESQUIRE
     9              111 Broadway
                    20th Floor
    10              New York, New York 10006
                    (212) 616-7057
    11              lpincus@abv.com
                    Representing Rochester Drug Cooperative
    12
    13    VIA TELECONFERENCE:
    14
                    REED SMITH LLP
    15              BY: ANNE E. ROLLINS, ESQUIRE
                    Three Logan Square, 1717 Arch Street
    16              Suite 3100
                    Philadelphia, Pennsylvania 19103
    17              (215) 851-8100
                    arollins@reedsmith.com
    18              Representing AmerisourceBergen
    19
    20              MARCUS & SHAPIRA LLP
                    BY: ZACHARY FENSTEMAKER, ESQUIRE
    21              One Oxford Centre
                    35th Floor
    22              Pittsburgh, Pennsylvania 15219
                    (412) 338-3345
    23              Fenstemaker@marcus-shapira.com
                    Representing HBC Service Company
    24

   Golkow Litigation Services                                            Page: 4
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further5 of 382. PageID #: 210095
                                                      Confidentiality      Review

     1    APPEARANCES:        (Continued)
     2
     3              SIMMONS HANLY CONROY LLC
                    BY: JAYNE CONROY, ESQUIRE
     4              112 Madison Avenue
                    7th Floor
     5              New York, New York 10016
                    (212) 784-6400
     6              JConroy@simmonsfirm.com
                    Representing Plaintiffs
     7
     8
     9              JACKSON KELLY PLLC
                    BY: DOUGLAS J. CROUSE, ESQUIRE
    10              500 Lee Street East
                    Suite 1600
    11              Charleston, West Virginia 25301
                    (304) 340-1347
    12              dcrouse@jacksonkelly.com
                    Representing Miami-Luken
    13
    14
    15
                    ARNOLD & PORTER KAYE SCHOLER LLP
    16              BY: JOANNA PERSIO, ESQUIRE
                    601 Massachusetts Ave, NW
    17              Washington, D.C. 20001
                    (202) 942-5000
    18              joanna.persio@arnoldporter.com
                    Representing Endo Pharmaceuticals
    19
    20
    21
    22
    23
    24

   Golkow Litigation Services                                            Page: 5
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further6 of 382. PageID #: 210096
                                                      Confidentiality      Review

     1    APPEARANCES: (Continued)
     2

     3              MORGAN, LEWIS & BOCKIUS LLP
                    BY: TINOS DIAMANTATOS, ESQUIRE
     4              77 West Wacker Drive
                    Chicago, Illinois          60601
     5              (312) 324-1000
                    tinos.diamantatos@morganlewis.com
     6              Representing Teva Pharmaceuticals, Inc.,
                    Cephalon, Inc., Watson Laboratories,
     7              Actavis LLC, and Actavis Pharma, Inc.
     8

     9

    10

    11    ALSO PRESENT:
          David Lane, Videographer
    12

    13

    14

    15

    16

    17

    18

    19

    20

    21

    22

    23

    24

   Golkow Litigation Services                                            Page: 6
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further7 of 382. PageID #: 210097
                                                      Confidentiality      Review

     1                            -  - -
     2                           I N D E X
     3                            - - -
     4
          Testimony of:          JENNIFER ALTIER
     5
     6          By Ms. Baig                                     11
                By Mr. Roth                                     366
     7          By Ms. Pincus                                   371
     8                     - - -
                       E X H I B I T S
     9                     - - -
    10    NO.          DESCRIPTION                                 PAGE
    11    Allergan-Altier
          Exhibit-1    Actavis 799203-9214                          82
    12
          Allergan-Altier
    13    Exhibit-2    Allergan MDL01610520-1060                    99
    14    Allergan-Altier
          Exhibit-3    Actavis 0815204-5206                         133
    15
          Allergan-Altier
    16    Exhibit-4    Actavis 0319280-9282                         154
    17    Allergan-Altier
          Exhibit-5    Actavis 0300588                              167
    18
          Allergan-Altier
    19    Exhibit-6    Actavis 431150-1182                          178
    20    Allergan-Altier
          Exhibit-7    Actavis 255710-5713                          201
    21
          Allergan-Altier
    22    Exhibit-8    Actavis 0252398-2421                         205
    23    Allergan-Altier
          Exhibit-9    Actavis 0389758-9800                         211
    24

   Golkow Litigation Services                                             Page: 7
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further8 of 382. PageID #: 210098
                                                      Confidentiality      Review

     1                     - - -
                       E X H I B I T S
     2                     - - -
     3    NO.          DESCRIPTION                                 PAGE
     4    Allergan-Altier
          Exhibit-10   Actavis 0501884-1893                         232
     5
          Allergan-Altier
     6    Exhibit-11   Actavis 0672638-2645                         237
     7    Allergan-Altier
          Exhibit-12   Actavis 0192957-3028                         245
     8
          Allergan-Altier
     9    Exhibit-13   Actavis 0413235-3321                         252
    10    Allergan-Altier
          Exhibit-14   Actavis 0685080-5122                         269
    11
          Allergan-Altier
    12    Exhibit-15   Actavis 0821336-1339                         280
    13    Allergan-Altier
          Exhibit-16   Actavis 0977980-7998                         292
    14
          Allergan-Altier
    15    Exhibit-17   Actavis 0357036-7057                         296
    16    Allergan-Altier
          Exhibit-18   Actavis 0361608-1653                         311
    17
          Allergan-Altier
    18    Exhibit-19   Actavis 0956746-6747                         315
    19    Allergan-Altier
          Exhibit-20   Actavis 0264936-4949                         320
    20
          Allergan-Altier
    21    Exhibit-21   Actavis 0264950-5018                         332
    22    Allergan-Altier
          Exhibit-22   Actavis 0335906-5914                         341
    23
          Allergan-Altier
    24    Exhibit-23   Actavis 0282841-2843                         344

   Golkow Litigation Services                                             Page: 8
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1974-6 Filed:
                               Subject   to 07/24/19
                                             Further9 of 382. PageID #: 210099
                                                      Confidentiality      Review

     1                              -    -    -
     2                DEPOSITION SUPPORT INDEX
     3                            -     -    -
     4

     5    Direction to Witness Not to Answer
     6    Page      Line            Page Line               Page Line
     7    149       7
     8    151       19
     9

    10    Request for Production of Documents
    11    Page Line          Page Line            Page Line
    12    None
    13

    14

    15    Stipulations
    16    Page Line          Page Line            Page Line
    17    10        1
    18

    19

    20    Question Marked
    21    Page Line          Page Line            Page Line
    22    None
    23

    24

   Golkow Litigation Services                                            Page: 9
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 382. PageID #: 210100
                                                                              Review

      1                             -   -    -
      2                       (It is hereby stipulated and
      3              agreed by and among counsel that
      4              sealing, filing and certification
      5              are waived; and that all
      6              objections, except as to the form
      7              of the question, will be reserved
      8              until the time of trial.)
      9                             -   -    -
     10                       VIDEO TECHNICIAN:           We are
     11              now on the record.           My name is
     12              Henry Marte, I'm a videographer
     13              with Golkow Litigation Services.
     14              Today's date is August 2nd, 2018,
     15              and the time is 9:05 a.m.
     16                       This videotape deposition is
     17              being held in Roseland, New Jersey
     18              in the matter of National
     19              Prescription Opiate Litigation.
     20              The deponent today is Jennifer
     21              Altier.
     22                       Counsel will be noted on the
     23              stenographic record.            The court
     24              reporter is Amanda Miller and will

   Golkow Litigation Services                                             Page: 10
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 382. PageID #: 210101
                                                                              Review

      1              now administer the oath to the
      2              witness.
      3                             -    -   -
      4                       JENNIFER ALTIER, after
      5              having been duly sworn, was
      6              examined and testified as follows:
      7                             -    -   -
      8                          EXAMINATION
      9                             -    -   -
     10    BY MS. BAIG:
     11              Q.       Good morning, Ms. Altier.
     12              A.       Good morning.
     13              Q.       Am I pronouncing your name
     14    correctly?
     15              A.       Altier.
     16              Q.       Altier.
     17                       We met briefly off the
     18    record, but I'm Aelish Baig.                I'll be
     19    taking your deposition today.
     20                       Can you please state your
     21    full name and address for the record?
     22              A.       Yes.      Jennifer Altier.         29
     23    Barnsdale Road in Madison, New Jersey.
     24              Q.       And you are represented here

   Golkow Litigation Services                                             Page: 11
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 382. PageID #: 210102
                                                                              Review

      1    today by whom?
      2              A.       My colleagues here.
      3              Q.       Okay.     And have you ever had
      4    your deposition taken before?
      5              A.       I have not.
      6              Q.       Are you familiar with the
      7    deposition protocol?
      8              A.       Yes.
      9              Q.       So you understand that I'll
     10    be asking you questions, you'll do your
     11    best to answer the questions; it's
     12    important that we not speak over each
     13    other so that we can have a clear record
     14    taken down?
     15              A.       Yes.
     16              Q.       What did you do to prepare
     17    for today's deposition?
     18              A.       I met with my attorneys.
     19              Q.       Okay.     For approximately how
     20    long?
     21              A.       The better part of
     22    yesterday.
     23              Q.       Did you have any prior
     24    meetings?

   Golkow Litigation Services                                             Page: 12
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 382. PageID #: 210103
                                                                              Review

      1              A.       No.
      2              Q.       Any prior calls about the
      3    deposition?
      4              A.       I'm sorry, we met once prior
      5    to that, briefly.
      6              Q.       Okay.     Did you search for
      7    any documents in preparation for today's
      8    deposition?
      9              A.       I did not.
     10              Q.       Were you -- you saw the
     11    deposition notice; is that right?
     12              A.       The subpoena?         Yes.
     13              Q.       Do you recall that the
     14    deposition notice requested that you
     15    produce documents?
     16              A.       Yes.
     17              Q.       Okay.     And --
     18              A.       I had none to produce.
     19              Q.       You had none, okay.
     20                       Are you familiar with the
     21    complaints in this action?
     22              A.       Generally.
     23              Q.       Okay.     And what's your
     24    understanding of what this case is about?

   Golkow Litigation Services                                             Page: 13
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 382. PageID #: 210104
                                                                              Review

      1              A.       An investigation into
      2    pharmaceutical activities promoting
      3    opioids.
      4              Q.       Could you walk us through
      5    your education at the undergrad level or
      6    higher?
      7              A.       Sure.     I went to college at
      8    Miami University in Ohio.              I earned a
      9    degree in political science and mass
     10    communications.          And then I went to
     11    Columbia University Business School where
     12    I earned my MBA.
     13              Q.       And can you briefly walk us
     14    through your work history after you
     15    received your MBA?
     16              A.       Sure.     After I received my
     17    MBA, I believe I was -- started at
     18    Pharmacia, then went to Roche, then to
     19    Actavis, then to Perrigo.              And I'm now
     20    with Amneal.         All in marketing-related
     21    roles.
     22              Q.       And did you have any
     23    pharmaceutical experience before you
     24    received your MBA?

   Golkow Litigation Services                                             Page: 14
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 382. PageID #: 210105
                                                                              Review

      1              A.       I worked for a
      2    pharmaceutical advertising agency for
      3    eight years.
      4              Q.       What company was that?
      5              A.       It's CommonHealth.
      6    CommonHealth.
      7              Q.       And did you have any prior
      8    work experience before CommonHealth?
      9              A.       That was my first job.
     10              Q.       What year did you get -- did
     11    you receive your MBA?
     12              A.       2004.
     13              Q.       And so you worked at
     14    CommonHealth advertising for what years?
     15              A.       1992 to 2000.         Then I went
     16    to a company called R-centric, 2000 to
     17    2001.     Then I went to Pharmacia, 2001 to
     18    2003, I think.         Then Roche, 2003 to --
     19    2004 to 2006 as a full-time employee, and
     20    I consulted for Roche, 2006 to 2010.
     21    Then in 2010, I went to Actavis until
     22    about 2013, '14.          And then I left and
     23    went to Perrigo.          And then left Perrigo
     24    at the end of last year and started with

   Golkow Litigation Services                                             Page: 15
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 382. PageID #: 210106
                                                                              Review

      1    Impax as a consultant, February of this
      2    year.     And then just started last Monday
      3    as an employee -- after the Impax/Amneal
      4    merger, I'm now with Amneal.
      5              Q.       What was your highest
      6    position at CommonHealth advertising?
      7              A.       The vice president account
      8    group supervisor.
      9              Q.       And were you working, in
     10    that capacity, with any opioid drugs?
     11              A.       No.
     12              Q.       And what was your highest
     13    position at Pharmacia?
     14              A.       Let me think back.           Was I
     15    working -- at some point at the agency, I
     16    believe I worked on Fioricet with
     17    codeine, which may fall into that
     18    category.
     19              Q.       Do you know whether that was
     20    a Schedule II or Schedule III drug?
     21              A.       I don't recall.          Just trying
     22    to be -- full disclosure.              That was a
     23    long time ago.
     24              Q.       I appreciate it.

   Golkow Litigation Services                                             Page: 16
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 382. PageID #: 210107
                                                                              Review

      1              A.       True opioid marketing was
      2    fairly limited until my time at Actavis.
      3              Q.       So at Pharmacia, you did not
      4    work with any opioid drugs?
      5              A.       No.
      6              Q.       And what was your highest
      7    position at Pharmacia?
      8              A.       Director of medical
      9    association channels.
     10              Q.       And what other positions did
     11    you hold at Pharmacia?
     12              A.       That was it.
     13              Q.       And what were your
     14    responsibilities in that position?
     15              A.       I worked a project where we
     16    worked with medical associations on an
     17    e-business venture.
     18              Q.       Medical associations such
     19    as?
     20              A.       The California Academy of
     21    Family Physicians, The American
     22    Osteopathic Association.
     23              Q.       Any others that you recall?
     24              A.       There were about 12 or 14.

   Golkow Litigation Services                                             Page: 17
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 382. PageID #: 210108
                                                                              Review

      1    Basically, primary-care type
      2    organizations.         There was Geriatrics
      3    Society.
      4              Q.       Can you list the ones that
      5    you recall?
      6              A.       The Illinois Academy of
      7    Family Physicians, The American
      8    Gastroenterology Society.              Those were the
      9    leading ones.
     10              Q.       And what was the nature of
     11    your work with those associations at
     12    Pharmacia?
     13              A.       Sure.     We offered a portal
     14    where they could come on and get
     15    educational information about areas that
     16    Pharmacia had.         So, you know, generally
     17    around the Cox-2s and Celebrex.
     18              Q.       So you would provide the
     19    associations with education about the
     20    drugs that you were working with at
     21    Pharmacia; is that right?
     22                       MR. ROTH:       Object to the
     23              form.
     24                       THE WITNESS:        If memory

   Golkow Litigation Services                                             Page: 18
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 382. PageID #: 210109
                                                                              Review

      1              serves me right, it was more of
      2              a -- it was either education about
      3              the drugs or just the disease
      4              state.
      5    BY MS. BAIG:
      6              Q.       And what were the drugs that
      7    you were working on at Pharmacia?
      8              A.       I was in the e-business
      9    group, primarily supporting the Cox-2s;
     10    so Celebrex and Bextra.
     11              Q.       No opioids, correct?
     12              A.       Correct.
     13              Q.       And your next job was at
     14    Roche?
     15              A.       Correct.
     16              Q.       And what was -- what were
     17    your positions at Roche?
     18              A.       I was the director of
     19    medical education.
     20              Q.       Was that your only position
     21    there?
     22              A.       It was, as a full-time
     23    employee.
     24              Q.       You worked there as a

   Golkow Litigation Services                                             Page: 19
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 382. PageID #: 210110
                                                                              Review

      1    part-time employee as well?
      2              A.       In 2006, I left and came
      3    back as a consultant.
      4              Q.       Well, what were the nature
      5    of your responsibilities as director of
      6    medical education at Roche?
      7              A.       Sure.     I created the medical
      8    education department there.
      9              Q.       And what exactly did that
     10    involve?
     11              A.       That involved the hiring of
     12    four managers, I believe it was, medical
     13    education managers; two medical education
     14    coordinators who were responsible for
     15    supporting medical education activities
     16    on behalf of the company.
     17              Q.       And can you describe what
     18    you mean by "medical education
     19    activities"?
     20              A.       Continuing medical
     21    education.        So CME grants that were
     22    awarded to academic institutions to put
     23    on educational programs.
     24              Q.       And in that capacity, did

   Golkow Litigation Services                                             Page: 20
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 382. PageID #: 210111
                                                                              Review

      1    you also work with certain medical
      2    associations like you did at Pharmacia?
      3              A.       Personally, none that I
      4    recall.
      5              Q.       And what about your team;
      6    did your team work with medical
      7    associations?
      8              A.       Perhaps they may have given
      9    grants out, but I don't recall.                 A lot of
     10    my time there was building the
     11    department.        And when it actually
     12    launched, for personal reasons, my
     13    daughter was born, so I left the company.
     14              Q.       At Roche you didn't work on
     15    any opioid drugs; is that right?
     16              A.       That's right.
     17              Q.       What drugs did you work on
     18    there?
     19              A.       Primarily, I remember Boniva
     20    for osteoporosis.
     21              Q.       Can you walk us through
     22    generally what the medical education
     23    department did with respect to CME grants
     24    at Roche?

   Golkow Litigation Services                                             Page: 21
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 382. PageID #: 210112
                                                                              Review

      1                       MR. ROTH:       Object to the
      2              form.      Lacks foundation.          Calls
      3              for speculation.
      4                       THE WITNESS:        Can you
      5              rephrase the question?             What
      6              exactly?
      7    BY MS. BAIG:
      8              Q.       Sure.     You testified that
      9    you created a medical education
     10    department and that one of the
     11    responsibilities of that department was
     12    to implement or design or give out CME
     13    grants; is that right?
     14              A.       Uh-huh.
     15              Q.       Can you walk us through
     16    generally what you mean by that?
     17                       MR. ROTH:       Same objections.
     18                       THE WITNESS:        Grants would
     19              be submitted to the company and
     20              they would go through an
     21              evaluation process for funding.
     22    BY MS. BAIG:
     23              Q.       And these would be grants
     24    for what exactly?           For studies of certain

   Golkow Litigation Services                                             Page: 22
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 382. PageID #: 210113
                                                                              Review

      1    drugs or --
      2              A.       Educational programs.
      3              Q.       Okay.     What types of
      4    educational programs?
      5              A.       Any continuing medical
      6    education program.
      7              Q.       And how did you -- were you
      8    the person that was in charge of
      9    selecting which ones to fund and which
     10    ones not to fund?
     11              A.       As I said, at this time -- I
     12    left the company, by the time the
     13    department was up and running.                 So, no, I
     14    was not.
     15              Q.       Your next position after
     16    Roche was at Actavis; is that right?
     17              A.       That's right.
     18              Q.       And you were there from 2010
     19    to 2014.
     20                       And what drugs were you
     21    working with while you were at Actavis?
     22                       MR. ROTH:       Object to the
     23              form.
     24                       THE WITNESS:        Sure.      What

   Golkow Litigation Services                                             Page: 23
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 382. PageID #: 210114
                                                                              Review

      1              drugs was I --
      2    BY MS. BAIG:
      3              Q.       Involved with.
      4              A.       Involved with as a marketing
      5    director?
      6              Q.       Yes.
      7              A.       I started working on Kadian.
      8    And we had a drug in development called
      9    MoxDuo, which was never approved.
     10                       Following the Watson merger,
     11    I stayed with Actavis and worked on kind
     12    of a whole host of products.
     13              Q.       What additional products did
     14    you work on after the Watson merger?
     15              A.       I worked on Androderm.             The
     16    OC business.         Those are the two that jump
     17    out.
     18              Q.       What's the OC business?
     19              A.       Oral contraceptive.
     20                             -   -    -
     21                       (Whereupon, a discussion off
     22              the record occurred.)
     23                             -   -    -
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 24
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 382. PageID #: 210115
                                                                              Review

      1              Q.       And what were your positions
      2    at Actavis?
      3              A.       I was marketing director, as
      4    a consultant.
      5              Q.       So you were a consultant
      6    while you were marketing director?
      7              A.       Right.      I was not a
      8    full-time employee.
      9              Q.       Okay.     And was that your
     10    position for all four years at Actavis?
     11              A.       Correct.
     12              Q.       And did you work on any
     13    other drugs besides the ones that you've
     14    just mentioned while you were at Actavis?
     15                       MR. ROTH:       Object to the
     16              form.
     17                       THE WITNESS:        I'm sure to a
     18              certain extent I sat in meetings
     19              and advised on other drugs.               But
     20              those were my primary
     21              responsibilities.
     22    BY MS. BAIG:
     23              Q.       Can you describe your
     24    responsibilities as marketing director at

   Golkow Litigation Services                                             Page: 25
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 382. PageID #: 210116
                                                                              Review

      1    Actavis?
      2              A.       Sure.     Basically,
      3    responsible for creating promotional
      4    tactics for the products I supported.
      5              Q.       And did you lead a team, as
      6    marketing director?
      7              A.       No.    We were pretty -- a
      8    slim organization.           So the majority of
      9    the time I was at Actavis, I was the
     10    marketing department.             At a later date,
     11    we were able to hire someone else.                  So we
     12    were a team of two.
     13              Q.       And as marketing director,
     14    did you have occasion to train the sales
     15    staff?
     16                       MR. ROTH:       Object to the
     17              form.
     18                       THE WITNESS:        Training the
     19              sales department was not my
     20              responsibility.
     21    BY MS. BAIG:
     22              Q.       Did you have responsibility
     23    for designing training materials for the
     24    sales staff?

   Golkow Litigation Services                                             Page: 26
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 382. PageID #: 210117
                                                                              Review

      1              A.       No.    When I started, there
      2    was a training module already in place
      3    for them.
      4              Q.       Did you have input into that
      5    training module?
      6              A.       I started a year after the
      7    sales force.         So, no, it was already in
      8    place.
      9              Q.       And what sales force are you
     10    referring to?
     11              A.       The Kadian sales force.
     12              Q.       And how large was the Kadian
     13    sales force?
     14              A.       I believe when I started, it
     15    had 18 reps.         And it expanded, I don't
     16    know the number offhand, but I'd say,
     17    perhaps, 48 at its highest.               A very small
     18    organization.
     19              Q.       When you say "very small
     20    organization," you mean the Actavis --
     21    which organization are you referring to?
     22              A.       I guess as a sales
     23    organization, it wasn't one of these, you
     24    know, big companies where you see

   Golkow Litigation Services                                             Page: 27
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 382. PageID #: 210118
                                                                              Review

      1    hundreds and hundreds and hundreds of
      2    reps.
      3              Q.       Which organization are you
      4    referring to, Actavis or Actavis
      5    Elizabeth or which --
      6              A.       Oh, I guess --
      7                       MR. ROTH:       Objection to
      8              form.      And asked and answered.
      9                       You can clarify, if you
     10              understand it.
     11                       THE WITNESS:        When I started
     12              at Actavis, it was Actavis,
     13              pre-Watson.        So the original
     14              Actavis.
     15    BY MS. BAIG:
     16              Q.       Was that the same as Actavis
     17    Elizabeth?
     18              A.       From a legal entity
     19    standpoint, I don't know.              But I believe
     20    so.
     21              Q.       What did you all refer to it
     22    as when you worked there?
     23              A.       Actavis.
     24              Q.       And who did you report to

   Golkow Litigation Services                                             Page: 28
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 382. PageID #: 210119
                                                                              Review

      1    while you were at Actavis?
      2              A.       Nathalie Leitch.
      3              Q.       And do you know who Nathalie
      4    Leitch reported to?
      5              A.       Terry Fullem.
      6              Q.       What was Nathalie Leitch's
      7    position?
      8              A.       I don't recall her title.
      9              Q.       And how about Terry Fullem?
     10              A.       Again, I don't recall his
     11    exact title.
     12              Q.       Do you recall what
     13    department Nathalie Leitch was in?
     14              A.       I know she had some
     15    responsibility for generic products as
     16    well.     Kadian was our only branded
     17    product at Actavis.
     18              Q.       Was Nathalie Leitch in a
     19    marketing department?
     20                       MR. ROTH:       Object to the
     21              form.
     22                       THE WITNESS:        No.     No, she
     23              was not.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 29
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 382. PageID #: 210120
                                                                              Review

      1              Q.       What type of department was
      2    she in?
      3              A.       I'm not an expert to talk
      4    about what her functions were as a
      5    generic.
      6                       When I came in, she was
      7    responsible for Kadian.             But then I came
      8    in to assist.
      9              Q.       So when you came in to
     10    assist, you were reporting to her and she
     11    was responsible for both Kadian and for
     12    generic products; is that right?
     13                       MR. ROTH:       Object to form.
     14              Lacks foundation.           Calls for
     15              speculation.         Mischaracterizes her
     16              testimony.
     17                       THE WITNESS:        Yeah, I
     18              don't -- I don't feel comfortable
     19              talking about what Nathalie's
     20              responsibilities were, outside of
     21              what I dealt with her on.
     22    BY MS. BAIG:
     23              Q.       Did you work with her on a
     24    daily basis?

   Golkow Litigation Services                                             Page: 30
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 382. PageID #: 210121
                                                                              Review

      1              A.       No.
      2              Q.       You reported to her, though?
      3              A.       Right.
      4              Q.       So how often did you work
      5    with her?
      6              A.       I guess it depended on how
      7    much we had going on.
      8              Q.       Did you work with her on a
      9    weekly basis?
     10              A.       Yes.
     11              Q.       Were you in meetings with
     12    her regularly?
     13              A.       Yes.
     14              Q.       Do you have a general idea
     15    of what she was working on?
     16                       MR. ROTH:       Object to form.
     17                       THE WITNESS:        I wouldn't
     18              want to mischaracterize.
     19    BY MS. BAIG:
     20              Q.       When she worked with you,
     21    what was she working on?
     22              A.       Oh.    Fine.     Well, we worked
     23    on the marketing of Kadian.
     24              Q.       And did you also work on the

   Golkow Litigation Services                                             Page: 31
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 382. PageID #: 210122
                                                                              Review

      1    marketing of generics?
      2              A.       I did not.       Other than when
      3    Kadian went generic.            And I may have
      4    advised on some other generic.
      5                       But my responsibilities and
      6    my expertise is in branded marketing.                    I
      7    don't have any expertise in generic
      8    marketing.
      9              Q.       But you may have advised, I
     10    think you said, on certain generic
     11    issues?
     12                       MR. ROTH:       Object to the
     13              form.      Mischaracterizes testimony.
     14                       THE WITNESS:        No, if I said
     15              that, that's not what I meant.
     16                       I may have been in meetings
     17              for generic products, but that was
     18              not my area of expertise.
     19    BY MS. BAIG:
     20              Q.       Were you in meetings for
     21    generic opioids?
     22                       MR. ROTH:       Same objection.
     23                       THE WITNESS:        Perhaps.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 32
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 382. PageID #: 210123
                                                                              Review

      1              Q.       You don't recall any?
      2              A.       Not off the top of my head,
      3    no.
      4              Q.       Do you recall being in
      5    meetings or having discussions about
      6    oxymorphone?
      7              A.       I recall that for a short
      8    period of time our sales force may have
      9    helped promote the availability of that.
     10              Q.       The Kadian sales force
     11    helped promote the availability of
     12    oxymorphone?
     13              A.       I believe so.
     14              Q.       Do you remember being
     15    involved with any other generic opioids?
     16              A.       Just generic Kadian.
     17              Q.       So your understanding is
     18    that Nathalie Leitch reported to Terry
     19    Fullem?
     20              A.       Correct.
     21              Q.       And Terry Fullem worked in
     22    what department?
     23              A.       Sort of headed up commercial
     24    operations, if I'm not mistaken.

   Golkow Litigation Services                                             Page: 33
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 382. PageID #: 210124
                                                                              Review

      1              Q.       Commercial operations for
      2    Actavis?
      3              A.       Yes, that was the company.
      4    But, again, I don't want to say don't
      5    quote me on his title, but I don't recall
      6    what his title is.
      7              Q.       And Terry Fullem reported to
      8    who?
      9              A.       I believe he reported to
     10    Doug Boothe.
     11              Q.       And Doug Boothe, do you know
     12    what his position was?
     13              A.       I believe he was CEO.
     14              Q.       And he was the CEO of what
     15    company?
     16              A.       Actavis.
     17              Q.       And who did he report to?
     18              A.       I don't know, whoever the
     19    chairman of the board was, I guess.
     20              Q.       Did you ever work on a drug
     21    called Norco?
     22              A.       No, not that I recall.
     23              Q.       Do you know who did work on
     24    the drug called Norco?

   Golkow Litigation Services                                             Page: 34
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 382. PageID #: 210125
                                                                              Review

      1              A.       I don't recall ever hearing
      2    about Norco.
      3              Q.       Do you understand that you
      4    were selected as a custodian for whom
      5    documents were produced in this
      6    litigation?
      7                       MR. ROTH:       Object to the
      8              form.      Lacks foundation.
      9                       THE WITNESS:        You'll have to
     10              explain what that means.
     11    BY MS. BAIG:
     12              Q.       Do you understand that your
     13    files, some of your work files, have been
     14    produced as part of this litigation?
     15              A.       I do.
     16              Q.       And did anybody -- did you
     17    have any input as to what types of files
     18    that you would have had at Actavis that
     19    would be relevant to this action?
     20              A.       I don't understand the
     21    question.       Did I have any input?
     22              Q.       In terms of which of your
     23    files would be produced in this action.
     24              A.       All of my files, to my

   Golkow Litigation Services                                             Page: 35
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 382. PageID #: 210126
                                                                              Review

      1    understanding, were produced.
      2              Q.       Did you see the documents
      3    that were produced in this action from
      4    your files?
      5                       MR. ROTH:       Every document in
      6              her files?        I don't understand the
      7              question.
      8                       MS. BAIG:       That were
      9              produced in this action, yes.
     10                       MR. ROTH:       Did we show her
     11              her entire file we produced?
     12                       MS. BAIG:       I'm asking her if
     13              she saw the entire file that was
     14              produced, yes.
     15                       MR. ROTH:       Lacks foundation.
     16              Calls for speculation.
     17                       THE WITNESS:        I don't know
     18              if I've seen the entire file.
     19                       MS. BAIG:       Do you know if
     20              she's seen the entire file of
     21              documents produced?
     22                       MR. ROTH:       I don't.       I'm
     23              sure during her work she did.                 We
     24              produced thousands of documents.

   Golkow Litigation Services                                             Page: 36
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 382. PageID #: 210127
                                                                              Review

      1              I don't think she's seen thousands
      2              of documents.
      3                       THE WITNESS:        Not recently.
      4                       MR. ROTH:       And thousands is
      5              probably an understatement,
      6              frankly.
      7    BY MS. BAIG:
      8              Q.       Did you ever use personal
      9    computers or devices for work purposes?
     10              A.       I don't recall.
     11              Q.       Do you know if there were
     12    any personal computers or other devices
     13    searched for purposes of turning over
     14    responsive documents?
     15              A.       My home computer?
     16              Q.       Yes.
     17              A.       I wouldn't own that anymore,
     18    the one I used back then.
     19              Q.       What year, to your
     20    recollection, was the Watson merger?
     21              A.       2012, I believe.
     22              Q.       And did that impact your
     23    position or reporting structure at all?
     24              A.       Yes.

   Golkow Litigation Services                                             Page: 37
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 382. PageID #: 210128
                                                                              Review

      1              Q.       How so?
      2              A.       I was the only member of the
      3    original team, I believe, who stayed --
      4    or at least my core team, who stayed with
      5    the company after the Watson merger.
      6              Q.       So prior to the Watson
      7    merger, who was on your core team?
      8              A.       So I reported to Nathalie,
      9    reported to Terry.           We had the sales
     10    force.      And then toward the end of my
     11    tenure there, there was a woman named
     12    Lisa Miller who was on the marketing
     13    team.
     14              Q.       So the sales force was on
     15    your core team.
     16                       Is that the sales force of
     17    18 people that you mentioned earlier?
     18                       MR. ROTH:       Object to the
     19              form.
     20    BY MS. BAIG:
     21              Q.       About 18 people that you
     22    mentioned earlier?
     23              A.       Right.      I don't remember the
     24    number.      It was larger by that point.

   Golkow Litigation Services                                             Page: 38
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 382. PageID #: 210129
                                                                              Review

      1    Watson terminated them at the end of
      2    2012.
      3              Q.       Did the sales force report
      4    to you?
      5              A.       No.
      6              Q.       Who did they report to?
      7              A.       They were a contract sales
      8    force that reported up through inVentiv.
      9              Q.       And who at inVentiv oversaw
     10    that sales force?
     11              A.       I don't know.         I just know
     12    the people I worked with.
     13              Q.       Who did you work with at
     14    inVentiv?
     15              A.       The primary contacts, the
     16    heads of sales were Mike Shepherd,                  Mark
     17    Killion, and then later on Chris Hepp and
     18    Patrick Lanahan.
     19              Q.       And what was inVentiv?
     20              A.       A contract sales force
     21    organization.
     22              Q.       So was your entire sales
     23    force, were they all inVentiv employees?
     24              A.       Yes.

   Golkow Litigation Services                                             Page: 39
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 382. PageID #: 210130
                                                                              Review

      1              Q.       And that team was
      2    responsible for marketing Kadian as well
      3    as generic opioids?
      4                       MR. ROTH:       Object to the
      5              form.      Lacks foundation.
      6              Mischaracterizes the record.
      7                       MS. BAIG:       It's a question.
      8              No speaking objections, counsel.
      9                       MR. ROTH:       It's not a
     10              speaking objection.
     11                       MS. BAIG:       It's in the
     12              deposition protocol.
     13                       MR. ROTH:       It's the basis
     14              for my objection.
     15    BY MS. BAIG:
     16              Q.       Did the sales team that we.
     17                       We're -- that we been
     18    talking about, the inVentiv sales team,
     19    were they responsible for marketing
     20    Kadian and generic opioids?
     21                       MR. ROTH:       Object to the
     22              form.
     23                       THE WITNESS:        They were
     24              responsible for promoting.               I was

   Golkow Litigation Services                                             Page: 40
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 382. PageID #: 210131
                                                                              Review

      1              responsible for marketing, they
      2              were responsible for promoting
      3              Kadian almost exclusively; except
      4              when Kadian went generic, they
      5              were responsible for the promotion
      6              of Kadian generic, and as I
      7              mentioned, for a short time
      8              period, the generic oxymorphone.
      9    BY MS. BAIG:
     10              Q.       And that team, I believe you
     11    said, grew from 18 to about what, do you
     12    know?
     13              A.       I mentioned I don't remember
     14    the ceiling number.
     15              Q.       Do you know if it doubled in
     16    size or tripled in size, or if it just
     17    grew slightly from 18?
     18              A.       My best guess, recollection,
     19    is about 48.
     20              Q.       48?
     21              A.       Uh-huh.
     22              Q.       And what time frame was it
     23    about 48 employees?
     24              A.       That, I don't recall.

   Golkow Litigation Services                                             Page: 41
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 382. PageID #: 210132
                                                                              Review

      1              Q.       Some time in the 2010 to
      2    2014 time frame?
      3              A.       Oh, no.      They were
      4    terminated by 2012.            So some time between
      5    2010 and 2012.
      6              Q.       And what happened with the
      7    marketing of Kadian in 2012 when the
      8    sales force was terminated?
      9              A.       Right.      Watson debated what
     10    to do with it for a while.               But,
     11    basically, no longer promoted it, the
     12    promotion wound down.
     13              Q.       And how about, what happened
     14    with marketing of the generic as of 2012,
     15    when that sales force was terminated?
     16              A.       Well, they weren't marketing
     17    the generic, so there was no marketing,
     18    as far as I'm aware.
     19              Q.       Well, the promotion of the
     20    generics?
     21              A.       That's what I mean.            I don't
     22    know.     There was no more sales force.
     23              Q.       Were there any mergers --
     24    were there any other mergers, other than

   Golkow Litigation Services                                             Page: 42
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 382. PageID #: 210133
                                                                              Review

      1    the Watson merger, that you recall during
      2    your tenure?
      3              A.       Yes.
      4              Q.       What other mergers?
      5              A.       They went through a merger
      6    with Warner Chilcott, Forest, and I left
      7    after that.
      8              Q.       When you say "they" went
      9    through a merger with Warner Chilcott,
     10    who are you referring to?
     11              A.       Actavis.
     12              Q.       So Actavis merged with
     13    Warner Chilcott in what year, do you
     14    recall?
     15              A.       I don't recall the year.              It
     16    was after the Watson merger.
     17              Q.       And subsequently went
     18    through a merger with Forest Labs?
     19              A.       (Witness nods.)
     20              Q.       And how did the Warner
     21    Chilcott merger impact your position or
     22    responsibilities, if at all?
     23              A.       It didn't.
     24              Q.       And how did the Forest Labs

   Golkow Litigation Services                                             Page: 43
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 382. PageID #: 210134
                                                                              Review

      1    merger impact your position or
      2    responsibilities, if at all?
      3              A.       It was about that time I was
      4    leaving, so --
      5              Q.       Did you have any work
      6    involvement with Fentanyl products, any
      7    Fentanyl product?
      8              A.       Not that I recall.
      9              Q.       Are you aware that there was
     10    a Fentanyl product that was offered by
     11    Actavis?
     12              A.       What was its name?
     13              Q.       I don't know.         I'm asking
     14    you.
     15              A.       Then I guess not.
     16              Q.       Are you aware of a Fentanyl
     17    patch that was offered by Actavis?
     18              A.       No.    I believe I heard about
     19    it, in terms of Alpharma, but not
     20    Actavis.
     21              Q.       What did you hear about the
     22    Fentanyl patch in terms of Alpharma?
     23              A.       That they had it.
     24              Q.       And Actavis -- what's your

   Golkow Litigation Services                                             Page: 44
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 382. PageID #: 210135
                                                                              Review

      1    understanding of the relationship between
      2    Actavis and Alpharma?             Is it that Actavis
      3    purchased Alpharma in about 2008?
      4                       MR. ROTH:       Objection to
      5              form.      Lacks foundation.          Calls
      6              for speculation.
      7                       THE WITNESS:        That was
      8              before the time I started.               I
      9              don't know the history.
     10    BY MS. BAIG:
     11              Q.       So you have no understanding
     12    of the relationship between Alpharma and
     13    Actavis at all?
     14              A.       Only that there was one.              I
     15    don't know if it was a merger, an
     16    acquisition.
     17              Q.       And is it your understanding
     18    that the Fentanyl product was an Alpharma
     19    product?
     20                       MR. ROTH:       Object to the
     21              form.      Lacks foundation.          Calls
     22              for speculation.
     23                       THE WITNESS:        I really don't
     24              have much information about that

   Golkow Litigation Services                                             Page: 45
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 382. PageID #: 210136
                                                                              Review

      1              patch.
      2    BY MS. BAIG:
      3              Q.       About that -- what patch?
      4              A.       Did you call it a patch?
      5              Q.       Fentanyl patch.
      6              A.       Okay, yes.
      7              Q.       Did you work both on the
      8    generic oxymorphone and the oxymorphone
      9    HCL extended-release tablets?
     10                       MR. ROTH:       Object to the
     11              form.      Mischaracterizes her
     12              testimony.
     13                       MS. BAIG:       It doesn't
     14              mischaracterize any testimony.
     15              It's just a question.
     16    BY MS. BAIG:
     17              Q.       Did you work on both of
     18    those?
     19                       MR. ROTH:       There's an
     20              assumption in there.
     21                       MS. BAIG:       There's no
     22              assumption.
     23    BY MS. BAIG:
     24              Q.       Did you work on oxymorphone

   Golkow Litigation Services                                             Page: 46
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 382. PageID #: 210137
                                                                              Review

      1    HCL extended-release tablets at all while
      2    you were at Actavis?
      3              A.       To the best of my
      4    recollection, I didn't work on either of
      5    those products.          We may have had our
      6    sales force assist in the promotion.
      7                       And, to be honest, I
      8    couldn't tell you the difference between
      9    those two products you just mentioned and
     10    which one we were promoting.                It was for
     11    a very short period of time.
     12              Q.       What do you mean by "short
     13    period of time"?
     14              A.       I don't recall the period of
     15    time, but our primary responsibility was
     16    Kadian.
     17              Q.       I understand that your
     18    primary responsibility was Kadian.
     19                       But your sales force also
     20    promoted generic oxymorphone; is that
     21    right?
     22                       MR. ROTH:       Object to the
     23              form.
     24                       THE WITNESS:        Yeah, and I

   Golkow Litigation Services                                             Page: 47
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 382. PageID #: 210138
                                                                              Review

      1              want to make sure I'm
      2              characterizing this correctly.
      3                       They promoted the
      4              availability, I believe, of -- I
      5              believe it was two strengths,
      6              because the branded supplier had
      7              either a recall or a supply issue
      8              or something.
      9                       So the extent of our
     10              promotion was that it was still
     11              available, the physicians were
     12              prescribing that strength, the
     13              patients would still be able to
     14              get it at the pharmacy.
     15                       So to the extent that that
     16              was the promotion, it was more
     17              around the availability.
     18    BY MS. BAIG:
     19              Q.       And did the sales force also
     20    promote the availability of oxymorphone
     21    hydrochloride extended-release tablets?
     22              A.       I would have to look back at
     23    the promotional materials to determine
     24    which product it was.

   Golkow Litigation Services                                             Page: 48
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 382. PageID #: 210139
                                                                              Review

      1              Q.       Okay.     We'll get there.
      2              A.       I see.
      3              Q.       In your capacity as medical
      4    director at Actavis --
      5              A.       I was marketing director.
      6              Q.       Sorry.
      7                       -- marketing director at
      8    Actavis, did you work with a medical
      9    education department at Actavis?
     10              A.       No.
     11              Q.       Are you aware of a medical
     12    education department at Actavis?
     13              A.       No.
     14              Q.       Is it your understanding
     15    that Actavis had no medical education
     16    department?
     17              A.       That's correct.          We didn't
     18    do any medical education activities.
     19    Kadian was at the very end of its
     20    lifecycle, it was about to go off patent.
     21    This was not a large marketing or
     22    educational initiative.             You know, we
     23    were maintaining a sales force to
     24    maintain the share that we had.

   Golkow Litigation Services                                             Page: 49
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 382. PageID #: 210140
                                                                              Review

      1              Q.       What was Kadian's lifecycle
      2    that you just referred to?
      3              A.       We were at the end of it, we
      4    were about to go off patent.
      5              Q.       What was the lifecycle,
      6    though?      What were the years --
      7              A.       I don't understand your
      8    question.
      9              Q.       -- of the lifecycle?
     10              A.       I don't recall when it was
     11    launched.       I just know the patent, I
     12    believe, expired shortly around the time
     13    I joined in 2010.           And then the generic
     14    was introduced some time between 2010 and
     15    2012.
     16              Q.       All right.       So you're not
     17    aware of any medical education program at
     18    Actavis, is that right, during your
     19    tenure?
     20                       MR. ROTH:       Object to the
     21              form.
     22                       THE WITNESS:        That's
     23              correct.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 50
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 382. PageID #: 210141
                                                                              Review

      1              Q.       Are you aware of a medical
      2    education program at Allergan?
      3                       MR. ROTH:       Object to the
      4              form.      Lacks foundation.          Vague.
      5                       THE WITNESS:        I didn't work
      6              for Allergan.
      7    BY MS. BAIG:
      8              Q.       Are you aware of a medical
      9    education department at Allergan during
     10    your tenure at Actavis?
     11                       MR. ROTH:       Same objections.
     12                       THE WITNESS:        You're asking
     13              about two different companies.                 I
     14              was at Actavis, I was never at
     15              Allergan.       So I have no awareness
     16              of anything at Allergan.
     17    BY MS. BAIG:
     18              Q.       So as marketing director at
     19    Actavis, is it your testimony that you
     20    never worked with any Allergan employees?
     21                       MR. ROTH:       Objection.       Asked
     22              and answered.         Lacks foundation.
     23                       MS. BAIG:       It wasn't asked
     24              and answered.

   Golkow Litigation Services                                             Page: 51
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 382. PageID #: 210142
                                                                              Review

      1                       MR. ROTH:       Calls for
      2              speculation.
      3                       MS. BAIG:       This is a whole
      4              new question.
      5                       THE WITNESS:        That is my
      6              understanding, yes.
      7    BY MS. BAIG:
      8              Q.       Do you have any
      9    understanding of the relationship between
     10    Allergan and Actavis or what that
     11    relationship was during your tenure?
     12              A.       I don't believe the Allergan
     13    merger happened until after I left.
     14                       And, again, I was never
     15    really with the company.              I was a
     16    consultant.        But the last merger I can
     17    recall it going through while I was
     18    consulting there was Forest.
     19              Q.       Do you know what PR firms
     20    Actavis worked with?
     21              A.       I don't recall.
     22              Q.       You don't recall any of
     23    them?
     24              A.       I don't recall if there were

   Golkow Litigation Services                                             Page: 52
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 382. PageID #: 210143
                                                                              Review

      1    any.
      2              Q.       Okay.     You never worked with
      3    any PR firms when you were at Actavis?
      4              A.       We may have started talking
      5    to some, in terms of the MoxDuo launch,
      6    but that would be the extent of it.
      7              Q.       Do you know which firms you
      8    talked to in connection with MoxDuo?
      9              A.       I don't recall.
     10              Q.       Do you know what department
     11    was responsible for drug lobbying at
     12    Actavis?
     13              A.       No, I don't.
     14              Q.       You never worked with
     15    anybody who was part of a drug lobbying
     16    division at Actavis while you were there?
     17              A.       Not that I recall, no.
     18              Q.       During your tenure at
     19    Allergan, were you -- at Actavis, were
     20    you ever aware of a reluctance by
     21    prescribers to prescribe opioid pain
     22    medications?
     23                       MR. ROTH:       Object to the
     24              form.

   Golkow Litigation Services                                             Page: 53
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 382. PageID #: 210144
                                                                              Review

      1                       THE WITNESS:        I'm not sure I
      2              understand the question.
      3    BY MS. BAIG:
      4              Q.       When you worked at Actavis,
      5    were you aware that there was a
      6    reluctance by some prescribers to
      7    prescribe opioids?
      8                       MR. ROTH:       Same objection.
      9                       THE WITNESS:        Yeah, I'm not
     10              sure how I would even answer that.
     11                       I think generally each
     12              healthcare professional needs to
     13              make their own decision about what
     14              they feel is the proper treatment
     15              path for their patient.
     16    BY MS. BAIG:
     17              Q.       So as the marketing director
     18    at Actavis for an opioid, you never had
     19    discussions with anyone on your team
     20    about a general reluctance by prescribers
     21    in terms of prescribing opioids?
     22                       MR. ROTH:       Object to the
     23              form.
     24                       THE WITNESS:        Yeah, I can't

   Golkow Litigation Services                                             Page: 54
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 382. PageID #: 210145
                                                                              Review

      1              say that I never had a
      2              conversation about that, no.
      3    BY MS. BAIG:
      4              Q.       But you don't recall it
      5    being an issue, ever?
      6                       MR. ROTH:       Same objection.
      7                       THE WITNESS:        I mean,
      8              looking back, you know, it's hard
      9              to remember exactly what was
     10              discussed years ago.            I'm not
     11              saying it didn't happen, I don't
     12              recall.
     13    BY MS. BAIG:
     14              Q.       Do you remember being aware
     15    that there were prescribers who had
     16    certain concerns or fears about the
     17    addictive or abusive properties of
     18    certain opioids?
     19                       MR. ROTH:       Object to the
     20              form.
     21                       THE WITNESS:        I don't
     22              remember having that discussion
     23              with any physician in particular.
     24              But I'm sure --

   Golkow Litigation Services                                             Page: 55
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 382. PageID #: 210146
                                                                              Review

      1    BY MS. BAIG:
      2              Q.       Well, that wasn't my
      3    question.
      4              A.       Okay.
      5              Q.       My question is, were you
      6    aware that that was an issue for
      7    prescribers, generally?
      8                       MR. ROTH:       Object to the
      9              form.      Let her finish, because she
     10              was going to answer your question,
     11              I think.
     12                       But go on.
     13                       THE WITNESS:        I was going to
     14              answer the question.
     15                       I believe your question is,
     16              was I aware that there were
     17              concerns about prescribing
     18              opioids.       Is that correct?
     19    BY MS. BAIG:
     20              Q.       Yes.
     21              A.       Again, as with any drug,
     22    there are always concerns with
     23    prescribing for any medication.                 So of
     24    course.

   Golkow Litigation Services                                             Page: 56
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 382. PageID #: 210147
                                                                              Review

      1              Q.       So you're not aware of any
      2    heightened concern for opioids over any
      3    other drug?
      4                       MR. ROTH:       Object to the
      5              form.      Vague.
      6    BY MS. BAIG:
      7              Q.       If you're not, then say
      8    you're not.
      9                       I'm just curious because,
     10    you know, it's widely reported that
     11    there's an opioid epidemic.               So are you
     12    aware that there have been concerns about
     13    the prescribing of opioids, and were you
     14    aware of that at the time that you worked
     15    at Actavis?
     16                       MR. ROTH:       Object to the
     17              form.
     18                       THE WITNESS:        There's all
     19              sorts of objections about the
     20              question.
     21                       But it was something,
     22              obviously, as a controlled
     23              substance, that we took seriously,
     24              yes.

   Golkow Litigation Services                                             Page: 57
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 382. PageID #: 210148
                                                                              Review

      1    BY MS. BAIG:
      2              Q.       Okay.     And did you have
      3    discussions with any members of your team
      4    about how to address the prescribers'
      5    fears or concerns about prescribing
      6    opioid drugs?
      7                       MR. ROTH:       Object to the
      8              form.
      9                       THE WITNESS:        Sure.      All of
     10              our promotional materials, we were
     11              sure to include all of the safety
     12              information that goes along with
     13              opioids.       Obviously, you know,
     14              there's a serious need to treat
     15              pain, but there's also a serious
     16              need to treat it appropriately and
     17              safely and within the FDA
     18              guidelines.
     19                       So we made sure that all of
     20              our marketing materials were fair
     21              balanced so that they could
     22              provide that safety message along
     23              with the efficacy message.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 58
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 382. PageID #: 210149
                                                                              Review

      1              Q.       And did you participate in
      2    any medical advisory boards in addressing
      3    these types of concerns?
      4              A.       We did not have advisory
      5    boards on that particular -- for Kadian,
      6    we didn't have advisory boards.                 Again,
      7    end of product lifecycle, just sort of
      8    maintaining.
      9                       The best of my recollection,
     10    we had one advisory board prior to what
     11    we anticipated was going to be the launch
     12    of MoxDuo.        I believe that probably
     13    happened in May of 2012, just prior to
     14    the complete response letter being
     15    received for MoxDuo.
     16              Q.       And MoxDuo was an opioid
     17    drug that Actavis was intending to
     18    launch, but it did not receive FDA
     19    approval; is that right?
     20                       MR. ROTH:       Object to the
     21              form.
     22                       THE WITNESS:        That's right.
     23    BY MS. BAIG:
     24              Q.       And do you recall who was on

   Golkow Litigation Services                                             Page: 59
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 382. PageID #: 210150
                                                                              Review

      1    that medical advisory board?
      2              A.       The physicians?
      3              Q.       Yes.
      4              A.       I don't.
      5              Q.       Do you recall whether Dr.
      6    Perry Fine was on that medical advisory
      7    board?
      8              A.       His name is familiar.
      9              Q.       Do you recall having -- do
     10    you know who Dr. Perry Fine is?
     11              A.       Like I said, his name is
     12    familiar.       So I guess I wouldn't be
     13    surprised to learn if he was on the
     14    advisory board.
     15              Q.       And do you recall why MoxDuo
     16    was not approved by the FDA?
     17              A.       I don't recall the issues
     18    that they had with the product.                 But I
     19    just know it was never brought to market.
     20              Q.       But you were involved in
     21    preparing the launch documents for
     22    MoxDuo; is that right?
     23              A.       Correct.
     24              Q.       And you don't recall any of

   Golkow Litigation Services                                             Page: 60
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 382. PageID #: 210151
                                                                              Review

      1    the issues that the FDA had with it
      2    before declining to approve it?
      3                       MR. ROTH:       Objection.       Asked
      4              and answered.
      5                       THE WITNESS:        Yeah, I don't
      6              recall.      I just remember that it
      7              was not -- it was not on an
      8              approvable track.
      9    BY MS. BAIG:
     10              Q.       Were you involved in any of
     11    the FDA discussions or correspondence
     12    regarding MoxDuo?
     13              A.       I was not.
     14              Q.       Who would have been involved
     15    in that?
     16              A.       I can only speculate.
     17    Regulatory.
     18              Q.       What's the name of the
     19    department?
     20              A.       Regulatory.
     21              Q.       Okay.     And who was in charge
     22    of the regulatory department at Actavis
     23    when you were there?
     24              A.       I believe it would have been

   Golkow Litigation Services                                             Page: 61
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 382. PageID #: 210152
                                                                              Review

      1    Terri Nataline.
      2              Q.       Did Actavis track or measure
      3    the impact of its marketing efforts in
      4    changing doctors' perceptions and
      5    prescribing of their opioid drugs?
      6                       MR. ROTH:       Objection to
      7              form.
      8                       THE WITNESS:        I don't
      9              believe we did much tracking at
     10              all at Kadian.          Like I said, we
     11              had a very limited budget.               And I
     12              don't recall measuring any -- any
     13              promotion that we did.
     14    BY MS. BAIG:
     15              Q.       Do you know whether Actavis
     16    has a department that tracks that sort of
     17    information?
     18                       MR. ROTH:       Same objection.
     19                       THE WITNESS:        Not that I
     20              recall.      Like I said, we were a
     21              pretty lean organization.               And
     22              Kadian was the only branded
     23              product.       So this was not an
     24              organization that was really built

   Golkow Litigation Services                                             Page: 62
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 382. PageID #: 210153
                                                                              Review

      1              around having the same kind of
      2              departments you'd have at branded
      3              organizations.
      4    BY MS. BAIG:
      5              Q.       So did you have a way of
      6    providing your sales team with certain
      7    targets, in terms of physicians to
      8    contact?
      9              A.       Yes, they had a target list.
     10              Q.       And who generated that
     11    target list?
     12              A.       That, I don't recall.
     13              Q.       Do you know what department
     14    generated that target list?
     15              A.       I would imagine somehow the
     16    sales department.
     17              Q.       And who was in charge of
     18    that department when you were there?
     19                       MR. ROTH:       Object to the
     20              form.
     21                       THE WITNESS:        Yeah, I don't
     22              know who would have -- who would
     23              have had access to the target list
     24              or who would have had that data.

   Golkow Litigation Services                                             Page: 63
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 382. PageID #: 210154
                                                                              Review

      1              Someone at Actavis.
      2    BY MS. BAIG:
      3              Q.       Someone at Actavis, is that
      4    the best that you can --
      5              A.       That's the best of my
      6    recollection.         That would make sense to
      7    me logically, but I wasn't involved in
      8    developing the target list.
      9                       Like I said, I believe
     10    promotions started in 2009 and I didn't
     11    start until 2010, so that was already
     12    established by the time I came on board.
     13              Q.       The target list didn't
     14    change as time went on?
     15              A.       If it did, I was not
     16    involved in that.
     17              Q.       So you're not aware of how
     18    those target lists are developed at all?
     19              A.       I'm not aware of how they
     20    were developed there.
     21              Q.       Are you aware of what
     22    department develops them?
     23              A.       Like I said, it wasn't a
     24    traditional branded organization.                  So my

   Golkow Litigation Services                                             Page: 64
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 382. PageID #: 210155
                                                                              Review

      1    assumption is, you know, whoever the team
      2    was back in 2009 that worked with the
      3    target list developed it.
      4              Q.       And do you know how they
      5    developed it?
      6              A.       No.    Because I was not
      7    involved in that process.
      8              Q.       Okay.     So you have no
      9    understanding of how they would develop
     10    targets of high-prescribing physicians,
     11    for example?
     12              A.       I can speculate, based on,
     13    you know, what would make sense.                  But I
     14    wasn't involved.
     15              Q.       Well, based on your years of
     16    experience in this field, what is your
     17    understanding of how those target lists
     18    are developed generally?
     19              A.       I was going to say, is that
     20    appropriate for me to speculate?                  I could
     21    be wrong, I could be right.
     22              Q.       Based on your many years of
     23    experience in this field, what is your
     24    understanding of how those target lists

   Golkow Litigation Services                                             Page: 65
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 382. PageID #: 210156
                                                                              Review

      1    are generally developed?
      2                       MR. ROTH:       Object to the
      3              form.      Calls for speculation.
      4                       You can answer if you can.
      5                       THE WITNESS:        Not having
      6              any, you know, core knowledge of
      7              how the target list was created,
      8              my assumption would be it was a
      9              product that was inherited from
     10              another company, you would look at
     11              who was already prescribing the
     12              product.       And since the strategy
     13              was to maintain the share, you
     14              would call on those same
     15              prescribers.
     16    BY MS. BAIG:
     17              Q.       And you would call on the
     18    highest prescribers, right?
     19                       MR. ROTH:       Object to the
     20              form.      Lacks foundation.          Vague.
     21                       THE WITNESS:
     22              Hypothetically, sure.
     23    BY MS. BAIG:
     24              Q.       You don't recall ever being

   Golkow Litigation Services                                             Page: 66
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 382. PageID #: 210157
                                                                              Review

      1    involved or seeing sales rep training
      2    manuals telling them to call on
      3    highest-prescribing targets?
      4                       MR. ROTH:       Same objection.
      5              You're still talking generally?
      6                       MS. BAIG:       No, I'm talking
      7              about her recollection.
      8                       MR. ROTH:       Where?
      9                       MS. BAIG:       At Actavis.
     10                       MR. ROTH:       The record is
     11              confusing.
     12                       THE WITNESS:        I recall -- I
     13              recall nothing about Actavis.
     14                       But, I mean, you just
     15              wouldn't say that.           You would say,
     16              here is your target list and they
     17              would be able to, you know, manage
     18              their own business and call on who
     19              they thought were the appropriate
     20              targets.
     21    BY MS. BAIG:
     22              Q.       Oh.    No one would tell the
     23    sales reps to call on high-prescribing
     24    targets?

   Golkow Litigation Services                                             Page: 67
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 382. PageID #: 210158
                                                                              Review

      1              A.       I think that would -- that
      2    would be who they were given.                So if
      3    those were the targets --
      4              Q.       So the sales reps would be
      5    instructed to call on the
      6    higher-prescribing targets; is that
      7    right?
      8                       MR. ROTH:       Object to the
      9              form.
     10                       THE WITNESS:        Like I said,
     11              that's not my role in the company
     12              to determine.
     13    BY MS. BAIG:
     14              Q.       And you had -- you never had
     15    any experience at Actavis that leads you
     16    to believe that your sales reps were told
     17    to call on the highest-prescribing
     18    targets?
     19                       MR. ROTH:       Objection to
     20              form.
     21    BY MS. BAIG:
     22              Q.       You never heard about that?
     23              A.       Not in that -- in that
     24    language.       You would say, here is your

   Golkow Litigation Services                                             Page: 68
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 382. PageID #: 210159
                                                                              Review

      1    target list.         Presumably could you say
      2    those were the highest-volume prescribers
      3    based on the targets provided?
      4    Hypothetically, sure.
      5                       I guess -- you're asking me
      6    to make a fact about something I wasn't
      7    involved in, so I'm just hesitant to put
      8    a statement on that.
      9              Q.       You never saw any training
     10    manuals or any e-mails or any documents,
     11    while you were there, that would have
     12    suggested to you that your sales team was
     13    instructed to call on the
     14    highest-prescribing targets; is that
     15    right?
     16                       MR. ROTH:       Objection to
     17              form.
     18                       THE WITNESS:        I guess it's
     19              just sort of -- it's just not
     20              how -- here is your target list;
     21              you're not saying, here are the
     22              highest-volume prescribers.               Maybe
     23              it's semantics.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 69
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 382. PageID #: 210160
                                                                              Review

      1              Q.       Maybe it is semantics.
      2                       Are you aware of what data
      3    Actavis would have tracked which would
      4    have allowed it to know who were the
      5    highest-prescribing targets?
      6                       MR. ROTH:       Objection.       Lacks
      7              foundation.        Calls for
      8              speculation.
      9                       MS. BAIG:       The question is
     10              "are you aware," it can't lack --
     11                       MR. ROTH:       You're asking
     12              about a topic --
     13                       MS. BAIG:       -- foundation.
     14                       MR. ROTH:       -- she said she
     15              didn't know about.
     16                       MS. BAIG:       I'm going to
     17              object to your repeated objections
     18              peppering the record and wasting
     19              time and coaching the witness.
     20                       MR. ROTH:       They're not
     21              coaching, they're the basis for my
     22              objection.
     23                       MS. BAIG:       You can object to
     24              form.

   Golkow Litigation Services                                             Page: 70
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 382. PageID #: 210161
                                                                              Review

      1                       MR. ROTH:       That's not what
      2              the protocol says.
      3                       You can answer.
      4                       MS. BAIG:       The protocol says
      5              no speaking objections.
      6                       MR. ROTH:       Lacks foundation
      7              is not a speaking objection.
      8                       MS. BAIG:       Asking if she's
      9              aware cannot lack foundation.
     10                       MR. ROTH:       I also said it
     11              calls for speculation.             Let's not
     12              waste time debating.
     13                       MS. BAIG:       Let's not waste
     14              time debating.
     15                       MR. ROTH:       I've made my
     16              objection.
     17                       You can answer.
     18                       THE WITNESS:        I apologize,
     19              what was the question?
     20                       MS. BAIG:       Can you go back
     21              to the question?
     22                       THE WITNESS:        Am I aware of
     23              what data Actavis would have
     24              tracked?       I don't recall if it was

   Golkow Litigation Services                                             Page: 71
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 382. PageID #: 210162
                                                                              Review

      1              IMS or another company.
      2    BY MS. BAIG:
      3              Q.       What other companies are you
      4    aware of, apart from IMS, that tracked
      5    the data, that type of data?
      6              A.       I believe there's one,
      7    Symphony; or it used to be called
      8    Symphony.
      9              Q.       And are you aware that
     10    Actavis worked with IMS to track
     11    high-prescribing target data?
     12              A.       I don't recall which company
     13    was used to track any data.
     14              Q.       Are you aware that Actavis
     15    worked with any company at all to track
     16    high-prescribing data?
     17              A.       I don't recall which
     18    company.
     19              Q.       But are you aware that they
     20    worked with a company to do that?
     21                       MR. ROTH:       Object to the
     22              form.
     23                       THE WITNESS:        Again, I
     24              presume they did, yes.

   Golkow Litigation Services                                             Page: 72
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 382. PageID #: 210163
                                                                              Review

      1    BY MS. BAIG:
      2              Q.       But you never knew what
      3    company it was?
      4              A.       Not that I recall, no.
      5              Q.       So Symphony is a company.
      6                       What is your understanding
      7    of what Symphony did?
      8              A.       I believe they're an IMS
      9    competitor.        Again, that's not really my
     10    area.     I just kind of hear about it.
     11              Q.       And what type of data does
     12    IMS track?
     13                       MR. ROTH:       Objection.       Lacks
     14              foundation.        Calls for
     15              speculation.
     16                       THE WITNESS:        Yeah, I was
     17              going to say, you could probably
     18              go to their website to learn more.
     19                       But IMS, I believe, tracks,
     20              depending on what you purchase,
     21              prescription-level data.
     22    BY MS. BAIG:
     23              Q.       What do you mean by
     24    "prescription-level data"?

   Golkow Litigation Services                                             Page: 73
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 382. PageID #: 210164
                                                                              Review

      1              A.       What prescribers are
      2    prescribing certain products.
      3              Q.       Okay.     And did you ever see
      4    any IMS reports while you were at
      5    Actavis?
      6              A.       I don't recall specifically.
      7    I'm sure it's a possibility.
      8              Q.       So you're not aware, either
      9    way, whether Actavis actually purchased
     10    data from IMS or not; is that right?
     11              A.       Right.      I don't know if they
     12    worked with IMS.
     13              Q.       Who would be aware of that?
     14              A.       Perhaps Nathalie.
     15              Q.       Anyone else that you can
     16    think of?
     17              A.       The sales heads.
     18              Q.       Who were the sales heads for
     19    Kadian?
     20              A.       The same gentlemen I listed
     21    before.
     22              Q.       I don't recall the sales
     23    heads.
     24              A.       Mike Shepherd, Mark Killion,

   Golkow Litigation Services                                             Page: 74
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 382. PageID #: 210165
                                                                              Review

      1    Patrick Lanahan, Chris Hepp.
      2              Q.       Okay.     Those are the
      3    inVentiv employees, okay.
      4                       Are you aware of any speaker
      5    programs that Actavis had with respect to
      6    any of its opioid drugs?
      7              A.       Yeah, again, small company,
      8    small budget, no speaker programs.
      9              Q.       Who at Actavis would have
     10    decided where and how to spend the budget
     11    for opioid medications, for marketing
     12    opioid medications?
     13              A.       I would submit a marketing
     14    proposal, and then Nathalie or Terry
     15    would decide what made sense.
     16                       But, again, I knew that
     17    those kind of programs were not really in
     18    the realm of financial feasibility, given
     19    the lifecycle.
     20              Q.       So you were responsible for
     21    submitting the marketing budget to
     22    Nathalie Leitch?
     23              A.       Uh-huh.
     24              Q.       And what -- roughly, what

   Golkow Litigation Services                                             Page: 75
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 382. PageID #: 210166
                                                                              Review

      1    was your marketing budget?
      2                       MR. ROTH:       Object to the
      3              form.
      4                       THE WITNESS:        I don't recall
      5              specifically.         But I don't even
      6              know that we had a budget.               It was
      7              sort of more like we needed to do
      8              something, so we did it.              And we
      9              basically did the bare bones of
     10              what we needed to do.
     11                       I believe our promotional
     12              materials consisted of a detail
     13              aid, another collateral piece and
     14              co-pay cards.         And that was pretty
     15              much the extent of our promotion.
     16    BY MS. BAIG:
     17              Q.       What's a detail aid?
     18              A.       The brochure that
     19    representatives use to educate physicians
     20    when they're in their office.
     21              Q.       And what other collateral
     22    piece are you referring to?
     23              A.       I believe we had a
     24    conversion guide and co-pay cards.

   Golkow Litigation Services                                             Page: 76
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 382. PageID #: 210167
                                                                              Review

      1              Q.       What's a conversion guide?
      2              A.       That was an educational
      3    piece to instruct physicians if they --
      4    if a patient was on a medication and the
      5    physician was interested in switching
      6    them to Kadian.
      7              Q.       And do you remember roughly
      8    what the dollar amount was for your
      9    marketing budget for opioid medications?
     10              A.       I do not.
     11              Q.       Do you remember if it was
     12    less than $100 million?
     13              A.       Yes.
     14              Q.       So give me your best
     15    guesstimate of what the marketing budget
     16    was for opioid drugs while you were at
     17    Actavis.
     18              A.       $200,000.       I mean, and that
     19    is a pie-in-the-sky guess.               But very,
     20    very small, relative.
     21              Q.       $200,000 per year?
     22              A.       I mean, yeah.         We did not
     23    have a lot of money.
     24              Q.       So does that include what

   Golkow Litigation Services                                             Page: 77
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 382. PageID #: 210168
                                                                              Review

      1    you paid inVentiv to pay the sales force?
      2              A.       No.    That would be a
      3    sales -- that's not a marketing.                  I'm
      4    talking just my budget for marketing
      5    programs.
      6              Q.       So your budget for marketing
      7    programs doesn't include the sales reps
      8    going out to meet with doctors?
      9              A.       I don't -- the sales force,
     10    the sales salaries, did not come out of
     11    my budget.        I don't know how much that
     12    was.
     13              Q.       So what came out of your
     14    budget?
     15              A.       The promotional materials.
     16              Q.       And who would have designed
     17    the budget for the sales reps and their
     18    activities?
     19              A.       I suppose Nathalie and
     20    Terry.
     21              Q.       And do you know what the
     22    rough amount of that budget was?
     23              A.       I do not.
     24              Q.       Do you know what

   Golkow Litigation Services                                             Page: 78
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 382. PageID #: 210169
                                                                              Review

      1    geographical area the inVentiv sales reps
      2    covered for Kadian and any other opioid
      3    drugs?
      4              A.       The United States.           We
      5    obviously had white space areas, but --
      6              Q.       What do you mean by "white
      7    space areas"?
      8              A.       Spaces where we didn't have
      9    reps due to, you know, population just
     10    not justifying it.           Like Montana.         I
     11    don't know, can't say that there was a
     12    rep there.
     13              Q.       So there was no rep in
     14    Montana?
     15              A.       I can't say yes or no.              That
     16    was a hypothetical example.
     17              Q.       Do you remember any of the
     18    white space areas?
     19              A.       No.
     20              Q.       Is it your understanding
     21    that Kadian was promoted as an
     22    extended-release drug?
     23              A.       Yes.
     24              Q.       And did Actavis

   Golkow Litigation Services                                             Page: 79
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 382. PageID #: 210170
                                                                              Review

      1    independently study the length of time
      2    that a single dose of its
      3    extended-release opioid, such as Kadian,
      4    lasted?
      5                       MR. ROTH:       Object to the
      6              form.      Lacks foundation.          Calls
      7              for speculation.
      8                       THE WITNESS:        I'm not aware
      9              of any clinical studies that
     10              Actavis was doing.           I don't
     11              believe there were any done during
     12              my tenure.
     13    BY MS. BAIG:
     14              Q.       So in designing the
     15    marketing materials, how did you get the
     16    information about the drug that you would
     17    use to include in your marketing
     18    materials?
     19              A.       From our prescribing
     20    information.
     21              Q.       What do you mean by "from
     22    your prescribing information"?
     23              A.       The label of the product.
     24              Q.       Just the label?          You didn't

   Golkow Litigation Services                                             Page: 80
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 382. PageID #: 210171
                                                                              Review

      1    get any information, separate and apart
      2    from what's on the label, to use in your
      3    marketing materials?
      4              A.       Yeah, I mean, I joined
      5    Actavis in 2010.          So we had just received
      6    a warning letter.           So our detail aids
      7    were -- I like to refer to them as a
      8    colorful PI.         It was pretty much the
      9    label.
     10                       There may have been, you
     11    know, another supporting reference here
     12    or there that tied into the PI.                 But if
     13    you look at our promotional pieces, it
     14    was a very benign, conservative marketing
     15    campaign that was based on the
     16    prescribing information.
     17                       MS. BAIG:       I think I'm going
     18              to shift to a new area.
     19                       THE WITNESS:        Sure.
     20                       MS. BAIG:       Do you need a
     21              break or are you good?
     22                       THE WITNESS:        I'm fine, if
     23              you're fine.
     24                       MS. BAIG:       Okay.     Let's

   Golkow Litigation Services                                             Page: 81
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 382. PageID #: 210172
                                                                              Review

      1              carry on.
      2                             -    -    -
      3                       (Whereupon, a discussion off
      4              the record occurred.)
      5                           -     -    -
      6                       MS. BAIG:          I'd like to have
      7              this first document marked as
      8              Exhibit-1.         It's Bates stamp
      9              Actavis 799203 through 799214.
     10                             -    -    -
     11                       (Whereupon, Allergan-Altier
     12              Exhibit-1, Actavis 799203-9214,
     13              was marked for identification.)
     14                             -    -    -
     15                       (Whereupon, a discussion off
     16              the record occurred.)
     17                           -     -    -
     18    BY MS. BAIG:
     19              Q.       All right.          For the record,
     20    this is a letter titled, Warning Letter
     21    from the FDA to Doug Boothe, the chief
     22    executive officer at Actavis.
     23                       Is this the warning letter
     24    that you were just referring to?

   Golkow Litigation Services                                             Page: 82
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 382. PageID #: 210173
                                                                              Review

      1              A.       I believe it is.
      2              Q.       And you've seen this letter
      3    before?
      4              A.       I'm sure I have.
      5              Q.       And in what context?
      6              A.       So this was delivered
      7    February 18th, 2010.            I joined in the
      8    summer of 2010.          My job was to create
      9    materials that -- because these were no
     10    longer able to be used.
     11                       So my understanding is this
     12    warning letter was reflective of the
     13    Alpharma materials that Actavis was
     14    using.
     15              Q.       How long had Actavis been
     16    using the Alpharma materials?
     17              A.       I don't know.         I don't
     18    believe they had been promoting the
     19    product all that long prior to this.
     20              Q.       What's your understanding of
     21    what the procedure was at Actavis when a
     22    warning letter like this was received?
     23                       MR. ROTH:       Object to the
     24              form.

   Golkow Litigation Services                                             Page: 83
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 382. PageID #: 210174
                                                                              Review

      1                       THE WITNESS:        I can't
      2              comment, since this was received
      3              before I started.
      4    BY MS. BAIG:
      5              Q.       So you have no understanding
      6    of what procedure was used at Actavis for
      7    the receipt of any types of warning
      8    letters like this from the FDA?
      9              A.       No, no.
     10              Q.       So as a result of this
     11    warning letter, is it -- what actions
     12    were taken, to your knowledge?
     13                       MR. ROTH:       Object to form.
     14              Lacks foundation.           Calls for
     15              speculation.
     16                       THE WITNESS:        What I was
     17              told, although I wasn't there for
     18              it, was the objecting materials
     19              were pulled.         There was corrective
     20              action.      And then when I came in,
     21              new materials were created.
     22    BY MS. BAIG:
     23              Q.       And you were responsible for
     24    creating the new materials?

   Golkow Litigation Services                                             Page: 84
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 382. PageID #: 210175
                                                                              Review

      1              A.       Yes.
      2              Q.       And is it your understanding
      3    that Kadian was approved for moderate to
      4    severe pain only when continuous,
      5    around-the-clock opioid analgesic was
      6    needed for an extended period of time?
      7              A.       That's the indication as
      8    listed in the warning letter, yes.
      9              Q.       And Kadian was not intended
     10    for use as a PRN analgesic, correct?
     11              A.       That's correct.
     12              Q.       And does that mean as -- use
     13    on an as-needed basis?
     14              A.       That's correct.
     15              Q.       And Kadian was also not
     16    indicated for pain in the immediate
     17    postoperative period; is that right?
     18              A.       That's what it says here,
     19    yes.
     20              Q.       And it was not indicated for
     21    mild pain; is that right?
     22              A.       That's what it says here,
     23    yes.
     24              Q.       And is it your understanding

   Golkow Litigation Services                                             Page: 85
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 382. PageID #: 210176
                                                                              Review

      1    of this warning letter, and please take a
      2    moment to read it, if you need to, that
      3    the FDA was finding that the promotional
      4    materials that Actavis was then using for
      5    Kadian were misleading?
      6                       MR. ROTH:       Objection to
      7              form.      Lacks foundation.          Calls
      8              for speculation.          Calls for a
      9              legal conclusion.
     10                       THE WITNESS:        I'm sorry?
     11    BY MS. BAIG:
     12              Q.       Do you want me to read the
     13    question back?
     14              A.       Sure.
     15              Q.       Is it your understanding of
     16    this warning letter that the FDA was
     17    finding that the promotional materials
     18    that Actavis was then using for Kadian
     19    were misleading?
     20                       MR. ROTH:       Same objections.
     21                       THE WITNESS:        I don't know
     22              if I can characterize it as
     23              misleading.        I just know that they
     24              had objections that we had to

   Golkow Litigation Services                                             Page: 86
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 382. PageID #: 210177
                                                                              Review

      1              correct.
      2    BY MS. BAIG:
      3              Q.       Can I direct you to Page 3
      4    of the warning letter?
      5                       Do you see the section that
      6    says, Omission and minimization of risk
      7    information?
      8              A.       I do.
      9              Q.       And do you see the first
     10    sentence that says, Promotional materials
     11    are misleading if they fail to reveal
     12    facts that are material in light of
     13    representations made or with respect to
     14    consequences that may result from the use
     15    of the drug as recommended or suggested
     16    in the materials?
     17              A.       I do.
     18              Q.       And if you turn to the next
     19    page, Page 4, do you see right before the
     20    next heading, it states, The overall
     21    effect of these presentations minimizes
     22    the risks associated with Kadian and
     23    misleadingly suggests that Kadian is
     24    safer than has been demonstrated?

   Golkow Litigation Services                                             Page: 87
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 382. PageID #: 210178
                                                                              Review

      1              A.       Uh-huh.
      2              Q.       Okay.     So is it your
      3    understanding of this FDA letter that the
      4    FDA was telling Actavis that certain of
      5    its marketing materials were misleading?
      6                       MR. ROTH:       Objection.       Calls
      7              for a legal conclusion.              Object to
      8              the form.       Calls for speculation.
      9                       THE WITNESS:        I can say that
     10              the FDA felt that the overall
     11              effect was that the presentation
     12              minimizes the risks associated
     13              with Kadian and misleadingly
     14              suggests that Kadian is safer than
     15              has been demonstrated.
     16    BY MS. BAIG:
     17              Q.       And do you see the next
     18    heading that says, Broadening of
     19    indication and failure to state full
     20    indication?
     21              A.       Yes.
     22              Q.       And do you see that it says
     23    there, again, that, Promotional materials
     24    are misleading if they imply that a drug

   Golkow Litigation Services                                             Page: 88
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 382. PageID #: 210179
                                                                              Review

      1    product is indicated for use in a broader
      2    range of conditions or patients than has
      3    been demonstrated by substantial evidence
      4    or substantial clinical experience?
      5              A.       Yes.
      6              Q.       And the FDA goes on to state
      7    there that, The comparison detailer and
      8    co-pay assistance program brochure failed
      9    to include the complete approved
     10    indication for Kadian and present broad
     11    claims about the drug's use in treating
     12    pain, therefore implying that Kadian is
     13    appropriate for use in a broader range of
     14    patients than it is approved to treat.
     15                       Do you see that?
     16              A.       I do.
     17              Q.       And do you see that it goes
     18    on to list the specific examples of
     19    marketing -- of statements in marketing
     20    materials which it is finding to be
     21    misleading?
     22              A.       I do.
     23                       MR. ROTH:       Object to the
     24              form.

   Golkow Litigation Services                                             Page: 89
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 382. PageID #: 210180
                                                                              Review

      1                       THE WITNESS:        Sorry.
      2                       MR. ROTH:       Mischaracterizes
      3              the document.
      4    BY MS. BAIG:
      5              Q.       And those examples include,
      6    1, Allowing for less breakthrough pain
      7    and more consistent pain relief for
      8    patients.
      9                       Do you see that?
     10              A.       I do.
     11              Q.       So is it your understanding
     12    that the FDA is basically stating here
     13    that any statements about Kadian allowing
     14    for less breakthrough pain and more
     15    consistent pain relief for patients were
     16    misleading?
     17                       MR. ROTH:       Object to the
     18              form.      Calls for a legal
     19              conclusion.        Lacks foundation.
     20              Mischaracterizes the document.
     21                       THE WITNESS:        Other than
     22              reading it, I have no other legal
     23              expertise to add to it.
     24    BY MS. BAIG:

   Golkow Litigation Services                                             Page: 90
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 382. PageID #: 210181
                                                                              Review

      1              Q.       I'm not asking for legal
      2    expertise.
      3              A.       If you're -- if I --
      4              Q.       I'm asking --
      5              A.       -- can read that sentence,
      6    yes, I can --
      7              Q.       I'm asking if your
      8    understanding of this document is that
      9    the FDA was suggesting that these
     10    statements that are bulleted here on Page
     11    4 were used by Actavis in promotional
     12    materials and were misleading?                 Is that
     13    your read of this document?
     14                       MR. ROTH:       Same objection.
     15              Asked and answered.
     16                       THE WITNESS:        Based on
     17              what's in the letter here, the FDA
     18              said that, yes.
     19    BY MS. BAIG:
     20              Q.       Can you turn to Page 5,
     21    please?
     22                       And do you see that there
     23    are three bulleted statements that were
     24    used in Actavis materials?

   Golkow Litigation Services                                             Page: 91
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 382. PageID #: 210182
                                                                              Review

      1              A.       I do.
      2              Q.       And they relate to chronic
      3    pain and pain management?
      4              A.       Yes.
      5              Q.       And that the FDA finds, with
      6    respect to those three statements, that,
      7    The totality of these presentations and
      8    the co-pay assistance program brochure
      9    suggest that patients with broader types
     10    of chronic pain than the drug is
     11    indicated for are appropriate candidates
     12    for Kadian therapy, when this is not the
     13    case.
     14                       Do you see that?
     15              A.       I see that.
     16                       MR. ROTH:       Object to the
     17              form.      Mischaracterizes.
     18    BY MS. BAIG:
     19              Q.       And so is it your
     20    understanding that going forward, Actavis
     21    was going to avoid using these types of
     22    statements in marketing materials?
     23                       MR. ROTH:       Object to the
     24              form.

   Golkow Litigation Services                                             Page: 92
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 382. PageID #: 210183
                                                                              Review

      1                       THE WITNESS:        I don't know
      2              what the response was from Actavis
      3              to the FDA about this.
      4    BY MS. BAIG:
      5              Q.       Did anybody ever tell you to
      6    avoid using these types of statements?
      7              A.       That was what our PRC
      8    committee was for.           So I would put
      9    together marketing materials, it would go
     10    through legal and regulatory review, and
     11    anything that was objected to would be
     12    pulled out at that time.
     13              Q.       What's the PRC committee?
     14              A.       Promotional review
     15    committee.
     16              Q.       And who was on that
     17    committee?
     18              A.       A lawyer and regulatory
     19    representative.
     20              Q.       Who, exactly, do you recall
     21    being on that committee?
     22              A.       The lawyer was Beth Selnick
     23    Kaufman.       And regulatory was Joanne
     24    Stabolt.

   Golkow Litigation Services                                             Page: 93
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 382. PageID #: 210184
                                                                              Review

      1              Q.       Anybody else?
      2              A.       Those were the two main
      3    reviewers I remember.
      4              Q.       And the PRC committee was in
      5    what division at Actavis?
      6              A.       Well, it was a broad -- so
      7    Joanne was from regulatory and Beth was
      8    from legal.
      9              Q.       And who was the head of
     10    regulatory?
     11              A.       I believe it was Terry
     12    Natalin.
     13              Q.       So Joanne reported to Terry
     14    Natalin?
     15              A.       That's my understanding.
     16              Q.       Were there only two people
     17    on that promotional review committee, to
     18    your knowledge?
     19              A.       Only two people -- only one
     20    from each department needed to be, so
     21    yes.
     22              Q.       Were you given any specific
     23    instructions with respect to this FDA
     24    warning letter in terms of your

   Golkow Litigation Services                                             Page: 94
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 382. PageID #: 210185
                                                                              Review

      1    responsibilities for designing marketing
      2    materials?
      3              A.       Basically, like I said, we
      4    went -- we took a very conservative
      5    approach, and as I say, made the colorful
      6    PI.    Our detail pieces were really just
      7    reflective of the information that was in
      8    the PI, sticking with the label,
      9    remaining within the FDA guidelines.
     10              Q.         Do you recall that the FDA
     11    stated that claims that imply that Kadian
     12    is superior to both MS Contin and Avinza,
     13    A-V-I-N-Z-A, because Kadian's dosage
     14    strength availability offers fewer
     15    barriers to prescribing --
     16              A.       Could you let me know what
     17    page you're on, please?
     18              Q.       Sure.     Yes.     Page 9, sorry.
     19    First full paragraph.
     20              A.       Okay.
     21              Q.       If you'd read that first
     22    paragraph.
     23                       Was it your understanding
     24    that the FDA was stating that certain

   Golkow Litigation Services                                             Page: 95
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 382. PageID #: 210186
                                                                              Review

      1    additional claims about there being fewer
      2    barriers to prescribing were misleading?
      3                       MR. ROTH:       Object to the
      4              form.      Mischaracterizes the
      5              document.
      6                       THE WITNESS:        Based on the
      7              sentence written here in the
      8              letter, yes.
      9    BY MS. BAIG:
     10              Q.       And do you see, a couple of
     11    sentences down, it states, However, FDA
     12    is unaware of any substantial evidence or
     13    substantial clinical experience to
     14    support the claim that the above dosing
     15    characteristics allow Kadian to have
     16    fewer barriers to prescribing, the
     17    meaning of which is not clear, as
     18    compared to other extended-release
     19    morphine products.
     20                       Do you see that?
     21              A.       I do.
     22              Q.       Are you aware of any
     23    clinical studies that supported that
     24    statement?

   Golkow Litigation Services                                             Page: 96
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 382. PageID #: 210187
                                                                              Review

      1              A.       Not to my knowledge.
      2                       MR. ROTH:       Object to the
      3              form of the last question.
      4    BY MS. BAIG:
      5              Q.       Can you turn to the next
      6    page, please?
      7                       Do you see the first full
      8    sentence states, Although Kadian may help
      9    treat patients' moderate to severe pain,
     10    we are not aware of substantial evidence
     11    or substantial clinical experience
     12    demonstrating that the magnitude of the
     13    effect the drug has in alleviating pain,
     14    taken together with any drug-related side
     15    effects patients may experience, such as
     16    the common adverse events of drowsiness,
     17    dizziness, constipation and nausea,
     18    result in an overall positive impact on a
     19    patient's work, physical and mental
     20    functioning, daily activities or
     21    enjoyment of life.
     22                       Do you see that?
     23              A.       I do.
     24              Q.       Are you aware of any

   Golkow Litigation Services                                             Page: 97
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 382. PageID #: 210188
                                                                              Review

      1    substantial evidence or substantial
      2    clinical experience that would have
      3    supported those claims?
      4                       MR. ROTH:       Objection to
      5              form.      Lacks foundation.          Calls
      6              for speculation.
      7                       THE WITNESS:        No.     I didn't
      8              work on the material.             So, no, I'm
      9              not.
     10    BY MS. BAIG:
     11              Q.       And so you see under the
     12    conclusion and requested action, it
     13    states, For the reasons discussed above,
     14    the comparison detailer and co-pay
     15    assistance program brochure misbrand
     16    Kadian in violation -- and it states the
     17    law.
     18                       Do you see that?
     19              A.       I do.
     20              Q.       And so you were -- correct
     21    me if I'm misstating your testimony, but
     22    I believe you said that you were then
     23    brought in to come in and develop new
     24    marketing materials after this letter; is

   Golkow Litigation Services                                             Page: 98
Case:Highly
      1:17-md-02804-DAP Doc #:- 1974-6
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 382. PageID #: 210189
                                                                              Review

      1    that right?
      2              A.       That's right.
      3                       MS. BAIG:          All right.    Let's
      4              have this document marked.
      5                       This is Exhibit-2.
      6                       THE WITNESS:          A little light
      7              reading.
      8                       MS. BAIG:          Little light
      9              reading.       This is a big document,
     10              but we're going to just look at
     11              certain parts of it.
     12                             -    -    -
     13                       (Whereupon, Allergan-Altier
     14              Exhibit-2, Allergan
     15              MDL01610520-1060, was marked for
     16              identification.)
     17                           -     -    -
     18                       MR. ROTH:          It's an e-mail
     19              with two giant attachments.
     20    BY MS. BAIG:
     21              Q.       So the document is Bates
     22    stamped Allergan MDL01610520 through
     23    01611060.
     24                       Just take a moment to

   Golkow Litigation Services                                             Page: 99
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 382. PageID #: 210190
                                                                               Review

      1     acquaint yourself with the document,
      2     please.
      3               A.       Can I take these apart or --
      4               Q.       Yeah, just put it on the
      5     end.     We just have to keep it in order,
      6     that's all.
      7               A.       Okay.     I'm trying to figure
      8     out where one begins and one ends.
      9                        MR. ROTH:       I'll help you.
     10               There's an e-mail at the top, and
     11               then it looks like there's the big
     12               training manual behind it.
     13                        THE WITNESS:        But are there
     14               two?     Like, there's one --
     15                        MR. ROTH:       I think it's just
     16               one attachment that's 345 pages.
     17                        THE WITNESS:        It says, Here
     18               are both documents.            I'm trying to
     19               figure out which one --
     20                        MR. ROTH:       There are two,
     21               you're right.
     22     BY MS. BAIG:
     23               Q.       So there's an e-mail
     24     document on top.          And then the first

    Golkow Litigation Services                                            Page: 100
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 382. PageID #: 210191
                                                                               Review

      1     attachment appears to be something
      2     called, The Kadian Learning System.                   And
      3     then if you --
      4               A.       I got the break.          Okay.     Got
      5     it.
      6               Q.       Then at Bates stamp page
      7     01610714, there's a second attachment,
      8     which is entitled, Kadian Learning
      9     Systems.
     10                        Do you see that?
     11               A.       Yep.     I've got them all.
     12               Q.       Have you had an opportunity
     13     to look over the e-mail?
     14               A.       Let me read it.
     15                        Okay.
     16               Q.       Do you have a -- have you
     17     seen these documents before?
     18               A.       I assume I have, since I'm
     19     on the e-mail, yes.
     20               Q.       And you saw them in the
     21     regular course of your business at
     22     Actavis?
     23               A.       These appear to be training
     24     modules that the sales reps would have

    Golkow Litigation Services                                            Page: 101
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 382. PageID #: 210192
                                                                               Review

      1     received.       So I wouldn't have seen them,
      2     but --
      3               Q.       But you see that they were
      4     attached to this e-mail that was sent to
      5     you, correct?
      6               A.       Yes.
      7               Q.       Right.     So you've seen these
      8     documents in the regular course of your
      9     business before?
     10                        MR. ROTH:       Object to the
     11               form.     Asked and answered.
     12                        THE WITNESS:        I don't know
     13               how you define "regular course."
     14               It looks like I first saw them
     15               when we were transitioning to the
     16               new Watson/Actavis, and they
     17               wanted to run them through their
     18               PRC process.
     19                        And it looks like we were
     20               trying to scrounge them up and
     21               find if we had references on file
     22               for them.
     23     BY MS. BAIG:
     24               Q.       And that was in or about

    Golkow Litigation Services                                            Page: 102
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 382. PageID #: 210193
                                                                               Review

      1     2000 -- January 15th of 2013?
      2               A.       Right.
      3               Q.       Have you seen these
      4     documents since then?
      5               A.       No.    I haven't been studying
      6     up on my Kadian.
      7               Q.       So what is your
      8     understanding of what these attachments
      9     were?
     10               A.       My understanding is this
     11     looks like what a rep would have received
     12     upon joining the company, to learn about
     13     Kadian and the pain environment.
     14               Q.       And is one of these versions
     15     an initial version and the second one is
     16     a revised version?           Or what's your
     17     understanding of the relationship between
     18     the two attachments?
     19               A.       Based on the e-mail, as well
     20     as what's written on here, it appears
     21     that there's not a date on the Alpharma
     22     one; but the second one, called, Kadian
     23     Learning Systems, looks like it was
     24     produced by Alpharma.

    Golkow Litigation Services                                            Page: 103
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 382. PageID #: 210194
                                                                               Review

      1                        I'm looking for a date and I
      2     don't see anything, unless I'm not
      3     interpreting the code.             But that would
      4     have been prior, I assume, to Actavis's
      5     acquisition.
      6                        And then The Kadian Learning
      7     System appears to be updated from that,
      8     completed on July 1st, 2010.
      9               Q.       Just to clarify the record,
     10     these documents were produced, actually,
     11     by Allergan in this litigation; produced
     12     in this litigation by Allergan.                 They are
     13     Bates stamped Allergan at the bottom.
     14                        But what you're referring to
     15     is that the second document has an
     16     Alpharma notation on the first page?
     17               A.       Right.
     18               Q.       And the first document has
     19     an Actavis Elizabeth notation on the
     20     first page.
     21               A.       Right.
     22               Q.       Do you see that?
     23               A.       Uh-huh.
     24               Q.       So is it your understanding

    Golkow Litigation Services                                            Page: 104
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 382. PageID #: 210195
                                                                               Review

      1     that the first -- is it fair to call
      2     these training manuals?
      3               A.       That's what they're calling
      4     them here, yes.
      5               Q.       So the first attached
      6     training manual was a revision of the
      7     second attached training manual?
      8                        MR. ROTH:       By "first" you're
      9               referring to the Kadian training
     10               manual PDF, which is the first
     11               attachment?
     12                        MS. BAIG:       The first
     13               attachment.
     14                        MR. ROTH:       And the second is
     15               the Alpharma final PDF, the second
     16               attachment?
     17                        MS. BAIG:       Yes.
     18                        THE WITNESS:        Based on
     19               what's written here in the e-mail,
     20               it says the Actavis module, the
     21               first attached document, was
     22               created based on the Alpharma
     23               module, second attached document.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 105
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 382. PageID #: 210196
                                                                               Review

      1               Q.       And is that your
      2     understanding of what happened with these
      3     documents?
      4               A.       That was my understanding
      5     back in 2013, yes.
      6               Q.       And who would have been
      7     responsible for revising the first
      8     document into the second document?
      9               A.       I don't know.         I probably
     10     just started when this was complete on
     11     July 1st.       So I don't know.
     12               Q.       And who, typically, had
     13     responsibility for creating training
     14     manuals for opioids?
     15               A.       It would have been the sales
     16     training department.            But Actavis didn't
     17     have one, and that's why I don't know who
     18     did it.
     19               Q.       Who was Lisa Miller?
     20               A.       Lisa Miller was the other
     21     woman I mentioned who joined our
     22     marketing team.
     23               Q.       And what was her position?
     24               A.       I don't recall her title.

    Golkow Litigation Services                                            Page: 106
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 382. PageID #: 210197
                                                                               Review

      1     Let's see.       Is it on here anywhere?              But
      2     she was in marketing with me.
      3               Q.       Was she -- did she report to
      4     you?
      5               A.       Yes.
      6               Q.       And when did she join,
      7     about?
      8               A.       That's a great question.              I
      9     don't recall.
     10               Q.       And what did she do, to your
     11     knowledge, in the marketing department?
     12     What were her responsibilities?
     13               A.       Sure.     Assisted me,
     14     especially as, you know, the workload
     15     became heavier with prelaunch activities
     16     related to MoxDuo.
     17               Q.       Do you recall how much this
     18     training manual changed from the original
     19     Alpharma training manual?
     20                        MR. ROTH:       Object to the
     21               form.
     22                        THE WITNESS:        I've never
     23               read either one of them.              I can
     24               just look at the size and say the

    Golkow Litigation Services                                            Page: 107
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 382. PageID #: 210198
                                                                               Review

      1               Actavis one is significantly
      2               smaller.
      3     BY MS. BAIG:
      4               Q.       But you don't know generally
      5     how they changed -- how it changed?
      6               A.       No, no.
      7               Q.       So let's look at the Actavis
      8     one.
      9                        Do you see on Page 8 there's
     10     a section that says, Pain signal
     11     transmission?
     12               A.       Yes.
     13               Q.       So do you see that in this
     14     training manual, the first sentence --
     15     couple of sentences of that section say,
     16     What is pain?         The most commonly used
     17     definition of pain is any sensation the
     18     patient perceives to be uncomfortable.
     19                        Do you see that?
     20               A.       Yes.
     21               Q.       Do you see on Page 28, in
     22     the Actavis training manual, there is a
     23     section entitled, Barriers to effective
     24     pain control?

    Golkow Litigation Services                                            Page: 108
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 382. PageID #: 210199
                                                                               Review

      1               A.       Yes.
      2               Q.       And it lists four bullet
      3     points.      One says, Fear of addiction.
      4     One says, Lack of education about pain
      5     and pain control.           One says, Opioid
      6     phobia.      And one says, Fear of legal or
      7     regulatory action.
      8                        Do you see those?
      9               A.       I do.
     10               Q.       Do you recall having
     11     discussions, in your capacity at Actavis,
     12     regarding fear of addiction being a
     13     barrier to effective pain control?
     14                        MR. ROTH:       Object to the
     15               form.
     16                        THE WITNESS:        No.     These
     17               would have been for background
     18               use, not to be used in promotion.
     19                        I think that's -- yeah,
     20               internal and training purposes
     21               only, not to be distributed.
     22     BY MS. BAIG:
     23               Q.       Training of whom?
     24               A.       The sales representatives.

    Golkow Litigation Services                                            Page: 109
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 382. PageID #: 210200
                                                                               Review

      1               Q.       Right.     Okay.
      2                        Do you remember having any
      3     communications, in your capacity as
      4     marketing director, regarding opioid
      5     phobia?
      6                        MR. ROTH:       Object to the
      7               form.
      8                        THE WITNESS:        No.
      9     BY MS. BAIG:
     10               Q.       You don't remember ever
     11     having any communications regarding the
     12     term "opioid phobia"?
     13                        MR. ROTH:       Asked and
     14               answered.
     15                        THE WITNESS:        No.     Because
     16               that's not in our label, so that
     17               wouldn't have been communicated to
     18               the sales force as a directive to
     19               promote.
     20     BY MS. BAIG:
     21               Q.       But it is included in this
     22     training manual that went to the sales
     23     force, correct?
     24               A.       Right.     So training manuals

    Golkow Litigation Services                                            Page: 110
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 382. PageID #: 210201
                                                                               Review

      1     are designed so that when a
      2     representative walks into an office, they
      3     are educated.         They are also trained what
      4     they can speak on, and that's very
      5     narrow.      This gives them a background.
      6               Q.       Can you turn to Page 74 of
      7     that document?         It's Bates stamped
      8     Allergan MDL01610595.
      9               A.       Yes.
     10               Q.       Do you see where it says in
     11     this training manual, quote, There
     12     remains no question that opioids
     13     effectively reduce the severity of most
     14     types of CBP?
     15               A.       Yes.
     16               Q.       And CBP stands for chronic
     17     benign pain; is that right?
     18               A.       That's my understanding from
     19     the heading.
     20               Q.       And "chronic benign pain"
     21     refers to chronic noncancer pain; is that
     22     your understanding?
     23                        MR. ROTH:       Object to the
     24               form.     Lacks foundation.

    Golkow Litigation Services                                            Page: 111
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 382. PageID #: 210202
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       What's your understanding of
      3     what "chronic benign pain" means?
      4               A.       I would have to -- I would
      5     have to look it up.
      6               Q.       You don't know?
      7               A.       Not chronic nonbenign pain.
      8     It's a --
      9               Q.       Is it your understanding
     10     that "benign" means noncancerous?
     11                        MR. ROTH:       Same objection.
     12               Asked and answered.
     13                        THE WITNESS:        I believe
     14               that's the case, yes.
     15     BY MS. BAIG:
     16               Q.       Were you aware, while you
     17     were at Actavis, of any clinical studies
     18     that supported that opioids effectively
     19     reduced the severity of most types of
     20     chronic benign pain?
     21                        MR. ROTH:       Objection.       Lacks
     22               foundation.        Calls for
     23               speculation.        Form.
     24                        THE WITNESS:        I can say that

    Golkow Litigation Services                                            Page: 112
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 382. PageID #: 210203
                                                                               Review

      1               opioids have been approved by the
      2               FDA to be safe and effective for
      3               treating pain.         So the FDA has
      4               determined that that's true.
      5     BY MS. BAIG:
      6               Q.       Well, here we're talking
      7     about chronic benign pain.
      8               A.       Right.     So any product --
      9               Q.       So my question to you is,
     10     are you aware of any clinical studies
     11     that support that opioids effectively
     12     reduce the severity of most types of
     13     chronic benign pain?
     14                        MR. ROTH:       Objection.       Asked
     15               and answered.         Lacks foundation.
     16                        MS. BAIG:       It's been asked,
     17               but it hasn't been answered.
     18                        MR. ROTH:       She gave you an
     19               answer.      You don't like it.
     20                        She can answer again the way
     21               she feels appropriate.
     22                        THE WITNESS:        Any clinical
     23               study that supports the approval
     24               of any opioid by the FDA would

    Golkow Litigation Services                                            Page: 113
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 382. PageID #: 210204
                                                                               Review

      1               fall into this category.
      2     BY MS. BAIG:
      3               Q.       And are you aware of studies
      4     that support that opioids effectively
      5     reduce the severity of most types of
      6     chronic benign pain?
      7                        MR. ROTH:       Objection.       Asked
      8               and answered.         Lacks foundation.
      9               Calls for speculation.
     10     BY MS. BAIG:
     11               Q.       As you sit here today, are
     12     you aware of those studies that support
     13     this statement?
     14                        MR. ROTH:       Same objections.
     15                        THE WITNESS:        Only to the
     16               extent that they're included in
     17               the labels of the particular
     18               products that are approved.               So,
     19               no, I'm not familiar with every
     20               product's studies and that kind of
     21               thing.
     22     BY MS. BAIG:
     23               Q.       Are you familiar with any
     24     studies that support this statement?

    Golkow Litigation Services                                            Page: 114
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 382. PageID #: 210205
                                                                               Review

      1                        MR. ROTH:       Same objections.
      2               Asked and answered.            I think this
      3               is badgering her at this point.
      4                        MS. BAIG:       This is not
      5               badgering.        I'm just trying to get
      6               an answer to this question.
      7     BY MS. BAIG:
      8               Q.       As you sit here, are you
      9     personally aware of any studies that
     10     support that opioids effectively reduce
     11     the severity of most types of chronic
     12     benign pain?
     13                        MR. ROTH:       Same objections.
     14                        THE WITNESS:        I know that
     15               there were studies in the Kadian
     16               label, and every label of every
     17               opioid product, that supported
     18               that, yes.        I can't give you any
     19               more information than that.
     20     BY MS. BAIG:
     21               Q.       So how do you know?
     22               A.       How do I know what?
     23               Q.       How do you know -- what
     24     studies were they?

    Golkow Litigation Services                                            Page: 115
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 382. PageID #: 210206
                                                                               Review

      1               A.       I don't know their names.              I
      2     know that they are included in our label
      3     that was approved by the FDA.
      4               Q.       Did you ever see the
      5     studies?
      6               A.       Did I ever read the studies?
      7               Q.       Did you ever see them?
      8                        MR. ROTH:       Object to the
      9               form.
     10                        THE WITNESS:        Did I ever see
     11               the article --
     12     BY MS. BAIG:
     13               Q.       You just stated that you
     14     were aware of the studies.
     15                        Did you ever see them?
     16                        MR. ROTH:       Object to the
     17               form.
     18                        THE WITNESS:        I saw what was
     19               listed in our prescribing
     20               information.
     21     BY MS. BAIG:
     22               Q.       Do you recall there being
     23     any studies there that supported that
     24     opioids effectively reduce the severity

    Golkow Litigation Services                                            Page: 116
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 382. PageID #: 210207
                                                                               Review

      1     of most types of chronic benign pain?
      2               A.       The foundation of our label
      3     is based on clinical studies, that's how
      4     a drug gets approved.
      5               Q.       For chronic benign pain?
      6               A.       That was our indication.
      7               Q.       Are you aware of any studies
      8     that support that?
      9               A.       I truly don't know how to
     10     answer the question, other than what I've
     11     been answering.
     12               Q.       You're saying that there
     13     were studies?
     14               A.       I'm saying, by definition, a
     15     drug is approved based on clinical
     16     studies.       There had to have been studies.
     17               Q.       But are you aware of what
     18     they are, is my question.              Do you know
     19     which studies?         Who did the studies?
     20     Have you ever seen the actual studies?
     21                        MR. ROTH:       Objection.       Asked
     22               and answered.
     23                        THE WITNESS:        At the time I
     24               was working on the product, I had

    Golkow Litigation Services                                            Page: 117
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further118Confidentiality
                                                           of 382. PageID #: 210208
                                                                               Review

      1               seen the studies.
      2     BY MS. BAIG:
      3               Q.       You had?
      4               A.       Could I name them?
      5               Q.       Who gave you the studies?
      6               A.       They're listed in the
      7     prescribing information of the product.
      8               Q.       Did you actually see the
      9     studies, though, the reports, the
     10     articles?
     11               A.       If an article was published,
     12     yes, I saw the articles.
     13               Q.       Do you have any recollection
     14     of them?
     15                        MR. ROTH:       Object to the
     16               form.     Asked and answered.
     17                        THE WITNESS:        No.
     18     BY MS. BAIG:
     19               Q.       No.
     20                        If I wanted to get them, do
     21     you know who I would ask, at Actavis, to
     22     receive them?
     23               A.       All you would have to do is
     24     go online and look at the Kadian PI and

    Golkow Litigation Services                                            Page: 118
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further119Confidentiality
                                                           of 382. PageID #: 210209
                                                                               Review

      1     pull them.
      2               Q.       And pull the studies?
      3               A.       Uh-huh.
      4               Q.       That support this statement?
      5               A.       Our indication supports that
      6     statement.       So the FDA has supported
      7     that.
      8               Q.       Okay.     Do you see the next
      9     page, Page 76, please?
     10                        Do you see there's a section
     11     that's called, Substance abuse?
     12               A.       Yes.
     13               Q.       And it says, Substance abuse
     14     will be seen in a few patients in every
     15     chronic benign pain practice.                Perhaps
     16     largely because patients attempting to
     17     obtain opioids will eventually end up at
     18     a pain management practice.
     19                        Do you see that?
     20               A.       I do.
     21               Q.       And do you see how it goes
     22     on, However, despite the continued
     23     unscientific beliefs of some clinicians,
     24     there is no evidence that simply taking

    Golkow Litigation Services                                            Page: 119
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further120Confidentiality
                                                           of 382. PageID #: 210210
                                                                               Review

      1     opioids for a period of time will cause
      2     substance abuse or addiction.                It appears
      3     likely that most substance-abusing
      4     patients in pain management practices had
      5     an abuse problem before entering the
      6     practice.       This topic is so important and
      7     so much misinformation exists that it is
      8     discussed separately in Chapter 6.
      9                        Do you see that?
     10               A.       I do.
     11               Q.       Are you aware of any data
     12     that supports that only a few patients in
     13     every chronic benign pain practice
     14     suffer -- hang on.
     15                        Are you aware of any data
     16     that supports that substance abuse will
     17     be seen in a few patients in every
     18     chronic benign pain practice, perhaps
     19     largely because patients attempting to
     20     obtain opioids will eventually end up at
     21     a pain management practice?
     22                        MR. ROTH:       Objection to
     23               form.     Lacks foundation.           Calls
     24               for speculation.

    Golkow Litigation Services                                            Page: 120
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further121Confidentiality
                                                           of 382. PageID #: 210211
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       Are you aware of the data
      3     that supports that, if there is any?
      4                        MR. ROTH:       Same objections.
      5                        THE WITNESS:        I don't know
      6               what the reference is for that.
      7     BY MS. BAIG:
      8               Q.       Okay.     And the next
      9     sentence, However, despite the continued
     10     unscientific beliefs of some clinicians,
     11     there is no evidence that simply taking
     12     opioids for a period of time will cause
     13     substance abuse or addiction.
     14                        Are you aware of the data
     15     that supports that statement?
     16                        MR. ROTH:       Objection to
     17               form.     Lacks foundation.           Calls
     18               for speculation.
     19                        THE WITNESS:        I don't know
     20               what the reference is for that
     21               statement.
     22     BY MS. BAIG:
     23               Q.       And for the third sentence,
     24     It appears likely that most

    Golkow Litigation Services                                            Page: 121
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further122Confidentiality
                                                           of 382. PageID #: 210212
                                                                               Review

      1     substance-abusing patients in pain
      2     management practices had an abuse problem
      3     before entering the practice, are you
      4     aware of any data that supports that
      5     statement?
      6               A.       I don't know what the
      7     reference is for that.
      8               Q.       And so -- and you're not
      9     aware of who actually drafted this sales
     10     training manual?
     11               A.       That's correct.
     12                        MR. ROTH:       Can we take a
     13               quick break?        I'm told there's
     14               someone trying to dial in.
     15                        MS. BAIG:       I think we should
     16               just get through this document
     17               first.
     18                        MR. ROTH:       How much longer
     19               do you have?        There's --
     20                        MS. BAIG:       Less than two
     21               minutes.
     22                        MR. ROTH:       Totally fine.
     23                        MS. BAIG:       Maybe four
     24               minutes.

    Golkow Litigation Services                                            Page: 122
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further123Confidentiality
                                                           of 382. PageID #: 210213
                                                                               Review

      1                        MR. ROTH:       It can even be
      2               six.
      3     BY MS. BAIG:
      4               Q.       All right.       Do you see the
      5     next page, Page 77?
      6               A.       Uh-huh.
      7               Q.       Actually, let's go back to
      8     Page 76, at the bottom.
      9                        Do you see the statement
     10     that states, Educating clinicians about
     11     these guidelines will help to ease their
     12     fears of prescribing for patients with
     13     chronic benign pain?
     14               A.       I do.
     15               Q.       And was it your
     16     understanding that the sales reps were to
     17     educate clinicians about the guidelines?
     18                        MR. ROTH:       Objection.
     19               Mischaracterizes the document.
     20               Objection to form.
     21                        MS. BAIG:       Let me restate
     22               that question.
     23     BY MS. BAIG:
     24               Q.       Was it your understanding

    Golkow Litigation Services                                            Page: 123
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further124Confidentiality
                                                           of 382. PageID #: 210214
                                                                               Review

      1     that the sales reps were to educate
      2     clinicians about the guidelines so as to
      3     ease prescribers' fears of prescribing
      4     opioids for patients with chronic benign
      5     pain?
      6                        MR. ROTH:       Objection.       Form.
      7                        THE WITNESS:        The only
      8               direction sales reps would have
      9               been given regarding education was
     10               what was in our -- what was in our
     11               promotional materials.
     12     BY MS. BAIG:
     13               Q.       And the sales reps were also
     14     given this training manual, correct?
     15               A.       As background use, not to be
     16     distributed.
     17               Q.       Not to be distributed to
     18     prescribers?
     19               A.       Right.
     20               Q.       But it was distributed to --
     21               A.       It was for their background.
     22               Q.       Correct.      But it was --
     23     understood.
     24                        But it was distributed to

    Golkow Litigation Services                                            Page: 124
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further125Confidentiality
                                                           of 382. PageID #: 210215
                                                                               Review

      1     the sales team, correct?
      2               A.       Right.
      3               Q.       And the next page, it
      4     states, Three national guidelines have
      5     been published concerning the use of
      6     opioids in chronic benign pain.
      7                        It goes on to state, The
      8     American Academy of Pain Medicine and
      9     American Pain Society have published a
     10     consensus statement, quote, The use of
     11     opioids for the treatment of chronic
     12     pain.
     13               A.       Uh-huh.
     14               Q.       Are you aware of the
     15     consensus statement that was issued by
     16     the American Academy of Pain Medicine and
     17     American Pain Society?
     18               A.       I don't believe that was
     19     something we used in our promotional
     20     materials.
     21               Q.       No.    But it's referenced
     22     here in this sales manual.
     23                        So my question is --
     24               A.       No, I was saying --

    Golkow Litigation Services                                            Page: 125
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further126Confidentiality
                                                           of 382. PageID #: 210216
                                                                               Review

      1               Q.       -- are you aware --
      2               A.       -- you're saying am I
      3     personally aware of it?             No, because I
      4     don't think we used it in our promotional
      5     materials.
      6               Q.       Have you ever heard of the
      7     American Academy of Pain Medicine?
      8               A.       I have.
      9               Q.       And what do you know about
     10     the American Academy of Pain Medicine?
     11               A.       Just that they're a medical
     12     society.
     13               Q.       And have you ever had an
     14     occasion to work with the American
     15     Academy of Pain Medicine?
     16               A.       I don't believe so.
     17               Q.       So you've never talked with
     18     anybody from the American Academy of Pain
     19     Medicine?
     20               A.       I'm trying to remember.             I
     21     remember we had initial conversations
     22     with several organizations leading up to
     23     the MoxDuo launch.           But, again, we didn't
     24     launch MoxDuo, so we didn't have any --

    Golkow Litigation Services                                            Page: 126
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further127Confidentiality
                                                           of 382. PageID #: 210217
                                                                               Review

      1     anything more than an initial meeting.
      2                        I don't recall if APM was on
      3     that list or not.
      4               Q.       And do you know if anybody
      5     else from Actavis communicated with the
      6     American Academy of Pain Medicine?
      7               A.       Perhaps our medical
      8     director.
      9               Q.       Who was that, again?
     10               A.       Jeanette Barrett.
     11               Q.       And what department is she
     12     in?
     13               A.       Medical.
     14               Q.       That's the full name of the
     15     department?
     16               A.       It might have been medical
     17     affairs.
     18               Q.       And how large is that
     19     department?
     20               A.       At the time, I believe she
     21     was the only person in it, or she may
     22     have brought on people as it grew.                  I
     23     don't recall.
     24               Q.       And I have the same line of

    Golkow Litigation Services                                            Page: 127
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further128Confidentiality
                                                           of 382. PageID #: 210218
                                                                               Review

      1     questions with respect to the American
      2     Pain Society, the next organization
      3     that's listed there.
      4                        Have you had any
      5     communications with the American Pain
      6     Society, ever?
      7               A.       It would be similar.            I'm
      8     trying to recall.
      9                        This might have been a
     10     society that Jeanette and I attended a
     11     corporate advisory meeting for.                 I recall
     12     doing one for one of the organizations.
     13     It could have been APS.
     14               Q.       Do you recall what the
     15     corporate advisory meeting was about?
     16               A.       Not specifically.           Normally
     17     those, when you attend, it's, you know,
     18     representatives from a multitude of
     19     pharmaceutical companies listening to the
     20     goals of the society, the programs they
     21     are going to produce, that kind of thing.
     22               Q.       Have you been to a number of
     23     those meetings?
     24               A.       I'm trying to remember if

    Golkow Litigation Services                                            Page: 128
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further129Confidentiality
                                                           of 382. PageID #: 210219
                                                                               Review

      1     I've been to -- let's see.
      2                        I attended an introductory
      3     meeting, we're not on the council yet,
      4     but for the American Academy of
      5     Neurology, earlier this year.
      6               Q.       And before this year, have
      7     you attended any of those meetings?
      8               A.       Not that I can recall.
      9               Q.       Apart from the one that you
     10     may have attended with Jeanette Barrett;
     11     is that right?
     12               A.       Correct.
     13               Q.       And that would have been in
     14     your capacity as marketing director at
     15     Actavis; is that right?
     16               A.       Correct.
     17               Q.       The next paragraph starts
     18     with, The Federation of State Medical
     19     Boards.
     20                        Do you see that?
     21               A.       No -- oh, yes.
     22               Q.       And it states, The
     23     Federation of State Medical Boards has
     24     developed model guidelines for the use of

    Golkow Litigation Services                                            Page: 129
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further130Confidentiality
                                                           of 382. PageID #: 210220
                                                                               Review

      1     controlled substances for the treatment
      2     of pain which has, in turn, been adopted
      3     by numerous state medical boards.
      4                        Do you see that?
      5               A.       Uh-huh.
      6               Q.       Have you ever had any
      7     communications with The Federation of
      8     State Medical Boards?
      9               A.       Not to my knowledge, no.
     10               Q.       You've never attended any
     11     meetings with them?
     12               A.       No.
     13               Q.       Are you aware of those model
     14     guidelines?
     15               A.       No.
     16               Q.       You've never reviewed them?
     17               A.       No.
     18               Q.       Can you turn to Page 86,
     19     please?
     20                        Do you see in the last
     21     paragraph -- well, in the section that's
     22     entitled, Definitions of Substance Abuse
     23     and Dependence, do you see that?
     24               A.       What page is that on?

    Golkow Litigation Services                                            Page: 130
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further131Confidentiality
                                                           of 382. PageID #: 210221
                                                                               Review

      1               Q.       The prior page has the
      2     heading.
      3               A.       Yes.
      4               Q.       And do you see on Page 86,
      5     in the last paragraph, it says, Physical
      6     withdrawal generally, but not always,
      7     resolves within five to eight days and is
      8     not considered life-threatening?
      9               A.       Yes.
     10               Q.       Are you aware of any
     11     clinical studies that support that
     12     statement?
     13                        MR. ROTH:       Objection to
     14               form.     Lack of foundation.            Calls
     15               for speculation.
     16                        THE WITNESS:        I don't know
     17               the reference for that statement.
     18     BY MS. BAIG:
     19               Q.       Okay.     The next sentence
     20     states, Nonetheless, these withdrawal
     21     symptoms are uncomfortable and unpleasant
     22     and management of the symptoms is
     23     desirable.
     24                        Are you aware of any

    Golkow Litigation Services                                            Page: 131
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further132Confidentiality
                                                           of 382. PageID #: 210222
                                                                               Review

      1     clinical studies that support or explain
      2     how to manage those symptoms?
      3                        MR. ROTH:          Same objections.
      4                        THE WITNESS:          I'm not aware
      5               of the reference for that
      6               statement.
      7                        MS. BAIG:          Okay.   I have no
      8               further questions about this
      9               document.        So if now is a good
     10               time to take a break?
     11                        MR. ROTH:          Yes.
     12                        MS. BAIG:          How much time
     13               would you like?
     14                        MR. ROTH:          Five minutes.      Is
     15               that okay?
     16                        MS. BAIG:          Sure.
     17                        VIDEO TECHNICIAN:           The time
     18               is 10:59 a.m.           Going off the
     19               record.
     20                              -    -    -
     21                        (Whereupon, a brief recess
     22               was taken.)
     23                            -     -    -
     24                        VIDEO TECHNICIAN:           We are

    Golkow Litigation Services                                            Page: 132
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further133Confidentiality
                                                           of 382. PageID #: 210223
                                                                               Review

      1               back on the record.             The time is
      2               11:15.
      3                        MS. BAIG:          I'd like to have
      4               this next document marked as the
      5               next in order.           It's Bates stamped
      6               Actavis 0815204 through 0815206.
      7               It's an e-mail string.             It begins
      8               as an e-mail string from Nathalie
      9               Leitch to Jennifer Altier.
     10                              -    -    -
     11                        (Whereupon, Allergan-Altier
     12               Exhibit-3, Actavis 0815204-5206,
     13               was marked for identification.)
     14                            -     -    -
     15     BY MS. BAIG:
     16               Q.       If you'd just take a moment
     17     to review the document, please.
     18                        Have you had a chance to
     19     look at the document?
     20               A.       I haven't read it completely
     21     but I get the gist of it.
     22               Q.       Do you recall receiving this
     23     document in the regular course of your
     24     business at Actavis?

    Golkow Litigation Services                                            Page: 133
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further134Confidentiality
                                                           of 382. PageID #: 210224
                                                                               Review

      1               A.       Not offhand.        But clearly I
      2     did.
      3               Q.       Okay.     And this is a weekly
      4     update entitled, Weekly Update, dated
      5     August 26th, 2011; is that right?
      6               A.       That's the subject of the
      7     e-mail.
      8               Q.       Okay.
      9               A.       I believe that references
     10     more the initial e-mail than the content
     11     that followed.
     12               Q.       And at the bottom of the
     13     first page, you see other recipients on
     14     the e-mail string are Doug Boothe,
     15     Terrence Fullem and Bruce Sullivan?
     16               A.       Yes.
     17               Q.       And Doug Boothe, I believe
     18     you testified, was the CEO?
     19               A.       Correct.
     20               Q.       And Terrence Fullem, again,
     21     what was his position?
     22               A.       He reported to Doug.
     23               Q.       And his position was --
     24               A.       I forget titles, but picture

    Golkow Litigation Services                                            Page: 134
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further135Confidentiality
                                                           of 382. PageID #: 210225
                                                                               Review

      1     it as me, Nathalie, Terry and Doug.
      2               Q.       So he's in a marketing
      3     capacity?
      4               A.       No.    He was more overall.            I
      5     think I categorized it as commercial
      6     operations.        I honestly don't remember
      7     what his title was.
      8               Q.       And who is Bruce Sullivan?
      9               A.       Bruce was -- I don't recall
     10     his exact -- sort of a project planner --
     11     that's not right.
     12                        I'm going to have to say I
     13     don't recall.         He was a member of the
     14     team.     I don't remember his exact
     15     function.
     16               Q.       And do you remember what was
     17     happening at the time of this e-mail or,
     18     generally speaking, what you all were
     19     talking about?
     20                        MR. ROTH:       Object to the
     21               form.
     22                        THE WITNESS:        Do you have
     23               anything specifically you want me
     24               to respond to?

    Golkow Litigation Services                                            Page: 135
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further136Confidentiality
                                                           of 382. PageID #: 210226
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       Not yet.
      3                        Just generally do you
      4     understand the gist of the e-mails?
      5               A.       Well, it sounds like Doug
      6     was talking to Nathalie that, scripts
      7     were potentially declining or -- so he
      8     just wanted to see what we were doing.
      9               Q.       Prescriptions for what?
     10               A.       For Kadian.
     11               Q.       So at the bottom of the
     12     first page, do you see where it says,
     13     from Nathalie to Doug, The unit sales out
     14     from wholesalers to retailers does show a
     15     loss of momentum?
     16               A.       Correct.
     17               Q.       It goes on to state, This is
     18     seasonal, to some degree.
     19               A.       Right.     So this was August,
     20     so a lot of people go on vacation, that
     21     kind of thing.
     22               Q.       So is there any -- is there
     23     any other reason that there would be a
     24     seasonal impact on prescriptions for

    Golkow Litigation Services                                            Page: 136
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further137Confidentiality
                                                           of 382. PageID #: 210227
                                                                               Review

      1     Kadian, or any other opioid drugs?
      2               A.       Not that I'm aware of no.
      3                        MS. RANJAN:        Object to the
      4               form of the last question.
      5     BY MS. BAIG:
      6               Q.       The last two sentences on
      7     this page state -- or the last paragraph
      8     states, The team's objective coming out
      9     of the NSM was to maintain target, TRX --
     10     is that prescriptions?
     11               A.       I'm sorry, where are you?
     12               Q.       Last paragraph.
     13                        MR. ROTH:       Bottom of the
     14               page.
     15                        THE WITNESS:        Team's
     16               objective, okay.
     17     BY MS. BAIG:
     18               Q.       It states, The team's
     19     objective coming out of the NSM was to
     20     maintain target TRX at the post Embeda
     21     recall level.
     22                        What is NSM?
     23               A.       National sales meeting.
     24               Q.       And what is the national

    Golkow Litigation Services                                            Page: 137
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further138Confidentiality
                                                           of 382. PageID #: 210228
                                                                               Review

      1     sales meeting?
      2               A.       In our case, once a year, we
      3     would get the sales team together to have
      4     a meeting with them.
      5               Q.       The sales teams from where?
      6               A.       All across the country,
      7     every representative.
      8               Q.       For what drugs?
      9               A.       This would have been for
     10     Kadian.
     11               Q.       So is there -- I'm confused.
     12     I thought you testified earlier that
     13     there was just one sales team, it was
     14     between 18 and 48 people.
     15                        So which sales teams is this
     16     referring to?
     17               A.       Only one.       We only had one.
     18               Q.       So for the national sales
     19     meeting, who attended that?
     20               A.       That sales force.
     21               Q.       The inVentiv sales force of
     22     18 to 48 people, varying at different
     23     times?
     24               A.       Uh-huh.

    Golkow Litigation Services                                            Page: 138
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further139Confidentiality
                                                           of 382. PageID #: 210229
                                                                               Review

      1               Q.       And where was the national
      2     sales meeting generally held?
      3               A.       It varied.       Most times in
      4     Florida somewhere.
      5               Q.       And it goes on to state --
      6     oh, wait.
      7                        What does TRX stand for?
      8     Does that stand for prescriptions?
      9               A.       Total prescriptions, as
     10     opposed to --
     11               Q.       Total prescriptions?
     12               A.       Yes.
     13               Q.       And what does that mean,
     14     maintain target total prescriptions at
     15     the post Embeda level?
     16               A.       I'm assuming we had a target
     17     TRX level that we wanted to maintain.                    So
     18     that's what it refers to.
     19               Q.       What's a post Embeda recall?
     20               A.       Embeda was recalled off the
     21     market, so that created a potential
     22     opportunity for more Kadian
     23     prescriptions.         Doctors would have to
     24     make a choice with their Embeda patients

    Golkow Litigation Services                                            Page: 139
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further140Confidentiality
                                                           of 382. PageID #: 210230
                                                                               Review

      1     what product to now put them on.
      2               Q.       Who had the Embeda product?
      3               A.       Gosh.     Who did Alpharma
      4     become?
      5               Q.       Was it King?
      6               A.       It must have been King.
      7               Q.       So does this suggest that
      8     the targets for the sales reps was
      9     increased when Embeda was recalled, and
     10     here what they're being told is to
     11     maintain that increased level?
     12                        MR. ROTH:       Objection.       Lacks
     13               foundation.        Calls for
     14               speculation.
     15                        THE WITNESS:        Yeah, I don't
     16               recall.      It just says that we're
     17               trying to maintain the target
     18               level.      It goes to say what that
     19               was.
     20     BY MS. BAIG:
     21               Q.       So when it states, This
     22     meant targets needed to write an average
     23     of 13 -- of 1,306 Kadian prescriptions
     24     per day --

    Golkow Litigation Services                                            Page: 140
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further141Confidentiality
                                                           of 382. PageID #: 210231
                                                                               Review

      1               A.       Uh-huh.
      2               Q.       -- for the four months
      3     ending August.
      4               A.       Uh-huh.
      5               Q.       Who needs to write the 1,306
      6     Kadian prescriptions per day?
      7                        MR. ROTH:       Objection.       Lacks
      8               foundation.        Calls for
      9               speculation.
     10                        THE WITNESS:        My assumption,
     11               by reading this, is the cumulative
     12               physicians on our target list.
     13     BY MS. BAIG:
     14               Q.       So this is sort of a sales
     15     goal, a goal for your sales staff to
     16     meet?
     17               A.       That's my interpretation,
     18     yes.
     19               Q.       Okay.     And it's cumulative,
     20     it's for the entire sales staff, but is
     21     it broken down for each sales rep, that
     22     they need to have their target
     23     prescribers write a certain number of
     24     prescriptions per day?

    Golkow Litigation Services                                            Page: 141
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further142Confidentiality
                                                           of 382. PageID #: 210232
                                                                               Review

      1               A.       I don't recall how that was
      2     done.
      3               Q.       Who would have worked with
      4     the sales team in order to set those
      5     goals?
      6               A.       Potentially, Nathalie.
      7               Q.       Anybody else?
      8               A.       Potentially the sales heads.
      9               Q.       The ones you identified
     10     before?
     11               A.       Yep.
     12               Q.       But you did not do that?
     13               A.       No.
     14               Q.       Do you see the next
     15     paragraph, it states, We added new
     16     high-volume generic MS writers to each of
     17     the territories at the end of July?
     18               A.       Uh-huh.
     19               Q.       And it goes on to state, The
     20     response from these writers to our
     21     message has been positive so far.                  We're
     22     looking to this segment to drive growth
     23     over the coming months.
     24                        So does this suggest that

    Golkow Litigation Services                                            Page: 142
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further143Confidentiality
                                                           of 382. PageID #: 210233
                                                                               Review

      1     you're adding high-volume generic
      2     prescription writer doctors to the
      3     targets for the sales reps?
      4                        MR. ROTH:       Objection.       Form.
      5               Lacks foundation.           Calls for
      6               speculation.
      7                        You can answer.
      8                        THE WITNESS:        I believe what
      9               it says is that we added new --
     10               new high-volume generic MS
     11               writers.       So it was specific to
     12               that drug, yes.
     13     BY MS. BAIG:
     14               Q.       What is -- can you just say
     15     what this means in lay person's terms?
     16     What is meant by "generic MS writers"?
     17               A.       I believe it refers to
     18     generic MS-Contin, but I can't be sure.
     19               Q.       And what is generic
     20     MS-Contin?
     21               A.       A drug.
     22               Q.       Is it an opioid?
     23               A.       I believe so.
     24               Q.       So here you're giving your

    Golkow Litigation Services                                            Page: 143
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further144Confidentiality
                                                           of 382. PageID #: 210234
                                                                               Review

      1     sales team high-volume generic opioid
      2     prescribers to target; is that correct?
      3                        MR. ROTH:       Objection to
      4               form.     Lacks foundation.           Calls
      5               for speculation.
      6                        THE WITNESS:        It appears
      7               that high writers of that generic
      8               product were added to the list so
      9               that they could be educated about
     10               our product.
     11     BY MS. BAIG:
     12               Q.       In order to drive segment
     13     growth, correct?
     14                        MR. ROTH:       Object to the
     15               form.
     16     BY MS. BAIG:
     17               Q.       Or in order to drive growth?
     18                        MR. ROTH:       Same objection.
     19                        THE WITNESS:        That's what
     20               the statement says.
     21     BY MS. BAIG:
     22               Q.       Okay.     Do you see the next
     23     paragraph, it states, Again, our focus
     24     once again is on the high-volume generic

    Golkow Litigation Services                                            Page: 144
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further145Confidentiality
                                                           of 382. PageID #: 210235
                                                                               Review

      1     MS writers?
      2               A.       The next paragraph?
      3                        Oh, yes, okay.
      4               Q.       Do you see that?
      5               A.       Yes.
      6               Q.       And it states that you're
      7     adding new territories.
      8                        Do you recall what new
      9     territories were being added?
     10               A.       No.    But that would be what
     11     I alluded to, that we went from 18 to a
     12     certain more number.
     13               Q.       Do you know whether Ohio was
     14     among those territories?
     15               A.       I don't.
     16               Q.       Where would those
     17     territories be identified?
     18               A.       I don't know.
     19               Q.       If you still worked at
     20     Actavis and you wanted to know what
     21     territories your sales reps were going
     22     to, would you have a way of finding out
     23     that information?
     24               A.       Sure.     I would go to the

    Golkow Litigation Services                                            Page: 145
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further146Confidentiality
                                                           of 382. PageID #: 210236
                                                                               Review

      1     sales heads.
      2               Q.       Okay.     Do you see the third
      3     paragraph down, it says, The direct mail
      4     and e-mail campaigns roll out next week.
      5     Main messages here are long history of
      6     safe and efficacious use, favorable
      7     formulary position, and co-pay program.
      8                        Do you see that?
      9               A.       I do.
     10               Q.       Are you aware of the
     11     clinical studies that support that
     12     there's a long history of safe and
     13     efficacious use?
     14                        MR. ROTH:       Objection.       Form.
     15               Asked and answered.
     16                        THE WITNESS:        Same answer as
     17               before.
     18     BY MS. BAIG:
     19               Q.       What was it?        Are you aware
     20     of those clinical studies?
     21               A.       As they are included in our
     22     PI, yes.
     23               Q.       Are you, as you sit here
     24     today, aware of the clinical studies that

    Golkow Litigation Services                                            Page: 146
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further147Confidentiality
                                                           of 382. PageID #: 210237
                                                                               Review

      1     support that there is a long history of
      2     safe and efficacious use for Kadian?
      3                        MR. ROTH:       Objection.       Form.
      4               Lacks foundation.           Calls for
      5               speculation.        Asked and answered,
      6               like five times.
      7                        THE WITNESS:        I don't
      8               understand how -- I'm aware that
      9               there are studies in our
     10               prescribing information that if I
     11               even went to Kadian.com, I could
     12               find out the information.
     13     BY MS. BAIG:
     14               Q.       All right.       But you can't
     15     tell me what those studies are as you sit
     16     here right now; is that right?
     17                        MR. ROTH:       Same objections.
     18                        THE WITNESS:        I was not a
     19               physician in the clinical study,
     20               no.    I'm not a physician.
     21     BY MS. BAIG:
     22               Q.       Okay.     Do you see the next
     23     paragraph?
     24               A.       Uh-huh.      I do.

    Golkow Litigation Services                                            Page: 147
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further148Confidentiality
                                                           of 382. PageID #: 210238
                                                                               Review

      1               Q.       Do you see here it says, We
      2     have looked at speakers programs?
      3               A.       Uh-huh.
      4               Q.       And have made the decision
      5     not to pursue?
      6               A.       Correct.
      7               Q.       And then it states, Legal
      8     and regulatory have been strongly
      9     opposed, plus the cost/benefit very
     10     uncertain, given the complete lack of
     11     clinical data for Kadian.
     12                        Do you see that?
     13               A.       I do.     I know what that's
     14     referencing.        The word that's missing
     15     there is a complete lack of new clinical
     16     data.     We would have nothing new for the
     17     speakers to speak about if we did a
     18     speakers program.
     19               Q.       Nothing new from when?
     20               A.       Nothing new from the -- as
     21     far as I knew, at the approval.                 So,
     22     therefore, when she goes on to say,
     23     generating prescriber interest in a
     24     Kadian program would be challenging,

    Golkow Litigation Services                                            Page: 148
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further149Confidentiality
                                                           of 382. PageID #: 210239
                                                                               Review

      1     given what we are able to talk about, we
      2     had nothing new since the product was
      3     approved.
      4               Q.       Why were legal and
      5     regulatory strongly opposed to using
      6     speakers programs?
      7                        MR. ROTH:       I'm going to
      8               object and instruct you not to
      9               answer anything that would reveal
     10               privileged communications from
     11               your legal department.
     12                        If you can answer that
     13               without revealing privileged
     14               communications, feel free.               But I
     15               think that probably calls for
     16               most, if not all, privileged
     17               communications in response.
     18                        THE WITNESS:        Correct.
     19     BY MS. BAIG:
     20               Q.       Did you ever hear from
     21     anybody, other than a lawyer at Actavis,
     22     as to why they were opposed to using
     23     speakers programs?
     24                        MR. ROTH:       And, again, I'm

    Golkow Litigation Services                                            Page: 149
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further150Confidentiality
                                                           of 382. PageID #: 210240
                                                                               Review

      1               going to caution you.             If you
      2               heard from a nonlawyer about
      3               legal's opposition and legal's
      4               reasons, that's privileged, don't
      5               reveal that.        If some nonlawyer
      6               told you some nonlegal reason for
      7               being opposed to speakers bureaus,
      8               feel free to say.
      9                        THE WITNESS:        Other than
     10               legal, I think cost was just the
     11               only other issue.
     12     BY MS. BAIG:
     13               Q.       Did you ever hear anything
     14     from the regulatory department regarding
     15     why they were not going to use speakers
     16     programs at this particular juncture?
     17                        MR. ROTH:       And, again, to
     18               the extent that the regulatory
     19               group was relying on legal advice,
     20               you should not reveal that.               I'll
     21               instruct you not to answer that.
     22                        But if regulatory had some
     23               other conversations that didn't
     24               relate to legal issues, you can

    Golkow Litigation Services                                            Page: 150
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further151Confidentiality
                                                           of 382. PageID #: 210241
                                                                               Review

      1               reveal that.
      2                        MS. BAIG:       Are you asking --
      3               how is this witness supposed to
      4               know what regulatory is relying on
      5               if they tell her something?
      6                        MR. ROTH:       Well, if it came
      7               from legal and it has to do --
      8                        MS. BAIG:       How does she know
      9               that?
     10                        MR. ROTH:       Then she can't
     11               answer the question.
     12                        MS. BAIG:       The objection
     13               lacks foundation.
     14                        MR. ROTH:       I guess she can't
     15               answer the question.
     16                        MS. BAIG:       Are you
     17               instructing her not to answer the
     18               question?
     19                        MR. ROTH:       I'm instructing
     20               her not to reveal legal advice
     21               about why legal and regulatory
     22               were opposed.
     23                        THE WITNESS:        I'll just
     24               confirm I have nothing additional

    Golkow Litigation Services                                            Page: 151
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further152Confidentiality
                                                           of 382. PageID #: 210242
                                                                               Review

      1               to add.
      2     BY MS. BAIG:
      3               Q.       Okay.     So you see the
      4     sentence that says, Legal and regulatory
      5     have been strongly opposed, plus the
      6     cost/benefit very uncertain given the
      7     complete lack of clinical data for
      8     Kadian.      Generating prescriber interest
      9     in a Kadian program would be very
     10     challenging, given what we are able to
     11     talk about.
     12                        Was it your understanding
     13     that generating prescriber interest in
     14     Kadian was very challenging, given what
     15     you were able to talk about at that time
     16     in terms of marketing?
     17               A.       In terms of a speaker
     18     program, I'm dealing with this in my
     19     current job, it's very difficult to get
     20     physicians to commit their personal time,
     21     you know, away from their families, away
     22     from their practice, you know, to come
     23     out and listen to a speaker program in
     24     general.

    Golkow Litigation Services                                            Page: 152
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further153Confidentiality
                                                           of 382. PageID #: 210243
                                                                               Review

      1                        There has to be, you know,
      2     some new news, some important
      3     information, some educational need that
      4     program is fulfilling to get them away
      5     from their families or their practice or
      6     that sort of thing.
      7                        So that's what that is
      8     referring to.
      9               Q.       And a little further down,
     10     it states, We are losing momentum here.
     11                        Is that -- is that a
     12     reference to losing sales momentum with
     13     Kadian?
     14               A.       I can't speak to -- I don't
     15     know what was in the attachment that he's
     16     referring to.
     17               Q.       And where it says, What can
     18     we do to re-establish our script level
     19     over 26,000 a week, is it your
     20     understanding that that's a sales goal, a
     21     sales target from a sales team?
     22               A.       It's my understanding that
     23     at one point that was our script level,
     24     and it is no longer, evidently.

    Golkow Litigation Services                                            Page: 153
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further154Confidentiality
                                                           of 382. PageID #: 210244
                                                                               Review

      1               Q.       And the last line says, At
      2     the end of the day, is this purely a
      3     brute force direct detail item?
      4                        What's your understanding of
      5     what that means?
      6               A.       I thought you were going to
      7     ask me that, because I'm like, I don't
      8     know what that means.
      9                        Perhaps referring to, is it
     10     a sales force -- but I can't say for
     11     certain what that means.
     12               Q.       All right.
     13                        MS. BAIG:          Let's have this
     14               next document marked as the next
     15               in order, please.             It's Bates
     16               stamped Actavis 0319280 through
     17               Actavis 0319282.
     18                              -    -    -
     19                        (Whereupon, Allergan-Altier
     20               Exhibit-4, Actavis 0319280-9282,
     21               was marked for identification.)
     22                            -     -    -
     23     BY MS. BAIG:
     24               Q.       This is Exhibit-4.           This is

    Golkow Litigation Services                                            Page: 154
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further155Confidentiality
                                                           of 382. PageID #: 210245
                                                                               Review

      1     an e-mail string between yourself and
      2     Nathalie Leitch, the top of which is
      3     dated February 23rd, 2012.               It states,
      4     Proposal for message/concept testing.
      5                        Do you see that?
      6               A.       Uh-huh.      Yes, I'm sorry.
      7               Q.       And do you see on the first
      8     page it lists a number of drugs?
      9               A.       Yes.
     10               Q.       Oxycodone; Oxycodone
     11     Acetaminophen; Tapentadol, which is
     12     Nucynta, it says in parenthesis;
     13     oxymorphone; morphine sulfate; Oxycodone
     14     Ibuprofen; codeine sulfate; and
     15     hydromorphone.
     16                        Do you see that?
     17               A.       Uh-huh.
     18               Q.       And are those all Actavis
     19     drugs?
     20                        MR. ROTH:       Object to the
     21               form.
     22                        THE WITNESS:        I couldn't
     23               comment if those are all Actavis
     24               drugs or not.

    Golkow Litigation Services                                            Page: 155
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further156Confidentiality
                                                           of 382. PageID #: 210246
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       You don't know whether those
      3     are Actavis generic drugs?
      4               A.       I wasn't involved in
      5     generics.       I didn't know their product
      6     line.
      7               Q.       Well, do you know if
      8     hydromorphone was an Actavis drug?
      9               A.       I don't.      They might have --
     10               Q.       Haven't we already talked
     11     about hydromorphone?
     12               A.       No.    Oxymorphone, I
     13     thought -- Oxycodone, I thought we talked
     14     about.
     15               Q.       Do you know if Oxycodone is
     16     an Actavis drug?
     17                        MR. ROTH:       Object to the
     18               form.     Asked and answered.
     19                        THE WITNESS:        Yeah, I'll
     20               just -- I'm not comfortable saying
     21               what the generic pipeline looked
     22               like.
     23     BY MS. BAIG:
     24               Q.       But you did receive this

    Golkow Litigation Services                                            Page: 156
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further157Confidentiality
                                                           of 382. PageID #: 210247
                                                                               Review

      1     e-mail in your regular course of
      2     business, right?
      3               A.       I understand these are
      4     products.       I don't know if they were
      5     Actavis products.
      6               Q.       Are they products that
      7     Actavis was tracking data for?
      8               A.       No.
      9               Q.       Do you see the first
     10     sentence that says, According to the
     11     three months of data that I have
     12     received --
     13               A.       Uh-huh.
     14               Q.       -- 24 months data will be
     15     available February 29th and including the
     16     following product strength -- and then it
     17     lists the drugs?
     18               A.       Uh-huh.
     19               Q.       And then it goes on to
     20     state, The following specialty groups
     21     account for 65 percent of prescriptions
     22     for the above products.
     23               A.       Right.
     24               Q.       Do you see that?

    Golkow Litigation Services                                            Page: 157
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further158Confidentiality
                                                           of 382. PageID #: 210248
                                                                               Review

      1               A.       Yes.
      2               Q.       So is it fair to say that
      3     Actavis was tracking data for these
      4     products?
      5                        MR. ROTH:       And if you need
      6               to look at the whole string.
      7                        THE WITNESS:        Can I do --        I
      8               don't know whether -- just give me
      9               a second.
     10                        It appears we're trying to
     11               determine what specialty groups
     12               prescribe pain products in the
     13               interest of market research.
     14     BY MS. BAIG:
     15               Q.       And the specialty groups
     16     identified as being high prescribers of
     17     pain products are family practice,
     18     internal medicine, anesthesiology,
     19     emergency medicine and orthopedics,
     20     correct?
     21               A.       That's what's listed in the
     22     e-mail, yes.
     23               Q.       So is it your understanding
     24     that Actavis was tracking data for these

    Golkow Litigation Services                                            Page: 158
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further159Confidentiality
                                                           of 382. PageID #: 210249
                                                                               Review

      1     products?
      2                        MR. ROTH:       Object to the
      3               form.     Lacks foundation.           Calls
      4               for speculation.
      5                        THE WITNESS:        Yeah, I can
      6               only comment that the
      7               information that is in this
      8               e-mail, that it said that these
      9               specialties prescribed the
     10               majority of these products.
     11     BY MS. BAIG:
     12               Q.       So they were at least
     13     tracking -- somebody at Actavis was at
     14     least tracking the data that is in this
     15     e-mail?
     16               A.       Correct.
     17               Q.       All right.       And do you see
     18     the next paragraph, it states, If you
     19     think we should cast the net even wider,
     20     I would consider adding general surgeons
     21     and PM&R to the mix, and even neurology,
     22     OB/GYN, dentistry and plastic surgery.
     23                        Do you see that?
     24               A.       I do.

    Golkow Litigation Services                                            Page: 159
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further160Confidentiality
                                                           of 382. PageID #: 210250
                                                                               Review

      1               Q.       And is this suggesting that
      2     these practices ought to be targeted at
      3     Actavis?
      4                        MR. ROTH:       Object to the
      5               form.     Completely mischaracterizes
      6               the document.         You didn't read the
      7               last sentence of the paragraph.
      8                        MS. BAIG:       I'm going to
      9               object to your speaking
     10               objections.
     11                        MR. ROTH:       How many
     12               respondents will be involved?
     13                        MS. BAIG:       You're making
     14               speaking objections to coach the
     15               witness.       And if we need to get
     16               the court on the line, then we
     17               will do that.
     18                        But you're not able to do
     19               that.     You can object to the form.
     20                        MR. ROTH:       I'm going to
     21               object to form and say you're
     22               mischaracterizing the document.
     23                        MS. BAIG:       I'm just reading
     24               the document.

    Golkow Litigation Services                                            Page: 160
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further161Confidentiality
                                                           of 382. PageID #: 210251
                                                                               Review

      1                        MR. ROTH:       And omitting the
      2               last sentence of the same
      3               paragraph.
      4                        MS. BAIG:       You're coaching
      5               the witness.
      6                        MR. ROTH:       I am not coaching
      7               the witness.
      8                        MS. BAIG:       You are coaching
      9               the witness.        These are speaking
     10               objections.        And you're not
     11               entitled to make them, per the
     12               deposition protocol and the local
     13               rules.
     14                        MR. ROTH:       Ask your
     15               question.       I'll make my
     16               objections.
     17                        MS. BAIG:       I already asked
     18               my question.
     19                        Can we go back to the
     20               question, please?
     21     BY MS. BAIG:
     22               Q.       Is this suggesting that
     23     these practices ought to be targeted at
     24     Actavis?

    Golkow Litigation Services                                            Page: 161
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further162Confidentiality
                                                           of 382. PageID #: 210252
                                                                               Review

      1                        MR. ROTH:       Objection to
      2               form.     Mischaracterizes the
      3               document.
      4                        MS. BAIG:       It doesn't
      5               mischaracterize the document.
      6                        THE WITNESS:        It does --
      7                        MS. BAIG:       It's asking about
      8               the document.
      9                        THE WITNESS:        If I can
     10               clarify.
     11                        It's not suggesting that we
     12               are targeting these specialties,
     13               it is suggesting that we reach out
     14               to them for market research
     15               activity.
     16     BY MS. BAIG:
     17               Q.       Where does it say that?
     18               A.       That's what the whole thing
     19     is about.       Proposal for message/concept
     20     testing.       It's from a market research
     21     vendor, Diane Donald, at Campbell
     22     Alliance.       She's asking what specialties
     23     we want to talk to about our messaging
     24     and concepts.         And that's the response.

    Golkow Litigation Services                                            Page: 162
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further163Confidentiality
                                                           of 382. PageID #: 210253
                                                                               Review

      1               Q.       And so did you do the
      2     concept testing?
      3               A.       This was for MoxDuo.            I know
      4     we did market research for MoxDuo;
      5     potentially, yes, we did, with this
      6     vendor.
      7               Q.       And did you do any market
      8     research for opioid drugs in these
      9     general areas, to your knowledge?
     10                        MR. ROTH:       Object to the
     11               form.
     12     BY MS. BAIG:
     13               Q.       Family practice, internal
     14     medicine, anesthesiology, emergency
     15     medicine and orthopedics.
     16               A.       I don't know who the
     17     ultimate audience was.             But the focus
     18     would have been the messages and concepts
     19     from MoxDuo, not those products.
     20               Q.       Did you do any market
     21     research for opioid drugs in these
     22     general areas, to your knowledge?
     23               A.       Which drugs are you
     24     referring to?

    Golkow Litigation Services                                            Page: 163
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further164Confidentiality
                                                           of 382. PageID #: 210254
                                                                               Review

      1               Q.       Any opioid drugs at Actavis.
      2                        MR. ROTH:       Object to the
      3               form.     Vague.
      4                        THE WITNESS:        Our market
      5               research would have been focused
      6               on Kadian and MoxDuo.
      7     BY MS. BAIG:
      8               Q.       Those are the only two drugs
      9     at Actavis, to your knowledge, for which
     10     they did any market research?
     11               A.       Those were the only two we
     12     were interested in.
     13               Q.       So the answer is?
     14               A.       I mean, to my recollection,
     15     those were the only two that we initiated
     16     any market research on.
     17               Q.       You didn't do any market
     18     research for any of your generic drugs?
     19               A.       I wouldn't have been
     20     involved in that.
     21               Q.       So you don't know the answer
     22     to that?
     23               A.       Right.     Correct.
     24               Q.       And do you see here in the

    Golkow Litigation Services                                            Page: 164
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further165Confidentiality
                                                           of 382. PageID #: 210255
                                                                               Review

      1     next paragraph, second-to-last paragraph,
      2     it states, again, Targeting high-volume
      3     prescribers of opioids?
      4               A.       Which paragraph?
      5               Q.       Second-to-last.
      6               A.       Intern -- oh, I think --
      7     yes.
      8                        MR. ROTH:       Object to the
      9               form.
     10                        THE WITNESS:        I see the
     11               sentence, I think we should
     12               absolutely include PCPs who are
     13               high-volume prescribers of opioids
     14               for the market research
     15               initiative.
     16     BY MS. BAIG:
     17               Q.       It doesn't say for the
     18     market research initiative, does it?
     19               A.       No.    But that's what we're
     20     talking about in this message.
     21               Q.       Do you see the last sentence
     22     there that says, Let's set the inclusion
     23     criteria aggressively in terms of opioid
     24     prescriptions written per month?

    Golkow Litigation Services                                            Page: 165
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further166Confidentiality
                                                           of 382. PageID #: 210256
                                                                               Review

      1               A.       Yes.
      2               Q.       And what is that referring
      3     to, to your understanding?
      4               A.       That's just good market
      5     research.       We would want physicians
      6     involved in market research activity that
      7     actually prescribe the products, not, you
      8     know, a family practice that didn't
      9     prescribe the products.
     10               Q.       That are high-volume
     11     prescribers, correct?
     12               A.       Sure.     I mean, market
     13     research is blinded.            The company wasn't
     14     involved, so --
     15               Q.       Who did your market
     16     research?
     17               A.       Campbell Alliance.           Market
     18     research is always a third-party
     19     activity.
     20               Q.       Do you know whether Campbell
     21     Alliance did your market research for
     22     opioid drugs?
     23               A.       If they did this project,
     24     they did.

    Golkow Litigation Services                                            Page: 166
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further167Confidentiality
                                                           of 382. PageID #: 210257
                                                                               Review

      1               Q.       Do you know whether Campbell
      2     Alliance did any market research for any
      3     other opioid drugs other than MoxDuo?
      4               A.       I don't.
      5                        MS. BAIG:          Let's have the
      6               next document marked as Exhibit-5.
      7                              -    -    -
      8                        (Whereupon, Allergan-Altier
      9               Exhibit-5, Actavis 0300588, was
     10               marked for identification.)
     11                            -     -    -
     12                        MS. BAIG:          It's Bates
     13               stamped Actavis 0300588.
     14     BY MS. BAIG:
     15               Q.       This is an e-mail string
     16     dated April 27th, 2012, from you to Joe
     17     Stoffer and Lisa Miller.
     18                        Do you see that?
     19               A.       I do.
     20               Q.       And did you receive this
     21     document in the regular course of your
     22     business at Actavis?
     23               A.       Yes, I did.
     24               Q.       And who is Joe Stoffer?

    Golkow Litigation Services                                            Page: 167
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further168Confidentiality
                                                           of 382. PageID #: 210258
                                                                               Review

      1               A.       He was a consultant we
      2     brought on.        I don't even recall his
      3     role.     I believe -- I can't even remember
      4     who knew him or who brought him into the
      5     organization.
      6               Q.       Do you know who he worked
      7     for?
      8               A.       No.    I mean --
      9               Q.       Do you know what capacity he
     10     worked at Actavis?
     11               A.       It was for a very short
     12     time.     I mean, he advised us, obviously.
     13     He -- it appears he knew people at pain
     14     societies.
     15               Q.       Was he a lobbyist?
     16               A.       No.
     17               Q.       He just knew people at pain
     18     societies?
     19               A.       At the medical associations.
     20               Q.       Like the American Pain
     21     Foundation?
     22               A.       Correct.
     23               Q.       Why would you need to bring
     24     somebody in as a consultant who knew

    Golkow Litigation Services                                            Page: 168
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further169Confidentiality
                                                           of 382. PageID #: 210259
                                                                               Review

      1     people at the American Pain Foundation?
      2               A.       I don't believe that was the
      3     only reason we did.           But as I'm reading
      4     this, you know, I'm curious if he had
      5     contacts there that could facilitate an
      6     introduction for us.
      7                        You know, as of April 2012,
      8     we had not had any dealings with them.
      9               Q.       Meaning you had not had any
     10     dealings with them?
     11                        MR. ROTH:       Object to the
     12               form.
     13                        THE WITNESS:        I personally
     14               had not.       And I believe the
     15               organization did not either.
     16     BY MS. BAIG:
     17               Q.       How do you know that?
     18               A.       Because we were trying to
     19     reach them, and no one in the
     20     organization knew them.
     21               Q.       But you don't have a way of
     22     knowing whether or not the organization
     23     had contributed to funding to them, or do
     24     you?     Do you know the answer to that?

    Golkow Litigation Services                                            Page: 169
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further170Confidentiality
                                                           of 382. PageID #: 210260
                                                                               Review

      1               A.       To my knowledge, we had not.
      2               Q.       And do you see that there
      3     is -- so Joe Stoffer, you brought in, in
      4     order to help you because he had
      5     connections at the American Pain
      6     Foundation; is that right?
      7                        MR. ROTH:       Objection to
      8               form.
      9                        THE WITNESS:        This is --
     10     BY MS. BAIG:
     11               Q.       Why did you bring Joe
     12     Stoffer in?
     13               A.       I have no -- I honestly
     14     can't remember.          I believe our time with
     15     him was very limited.            You know, here he
     16     is in April; we got the complete response
     17     in June; he probably worked with us for a
     18     month or two.         And --
     19               Q.       You got what complete
     20     response?
     21               A.       For MoxDuo.
     22               Q.       The complete response from
     23     the FDA?
     24               A.       Yes.

    Golkow Litigation Services                                            Page: 170
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further171Confidentiality
                                                           of 382. PageID #: 210261
                                                                               Review

      1               Q.       So what was it that you
      2     needed to work with the American Pain
      3     Foundation on before getting the complete
      4     response?
      5               A.       These were the meetings I
      6     alluded to before, that we had some
      7     initial meetings with some medical
      8     associations, you know, to initiate
      9     relationships.
     10                        But then we got the complete
     11     response letter, and we didn't move
     12     forward with anything.
     13               Q.       And do you see down at the
     14     bottom of the document it references
     15     American Pain Society?
     16               A.       Uh-huh.
     17               Q.       Who was the American Pain
     18     Society contact referenced here, do you
     19     know?
     20               A.       I don't know who the contact
     21     person was.
     22               Q.       Do you recall anybody at
     23     American Pain Society that Actavis was
     24     dealing with?

    Golkow Litigation Services                                            Page: 171
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further172Confidentiality
                                                           of 382. PageID #: 210262
                                                                               Review

      1               A.       I don't.      Our dealings were
      2     so minimal.
      3               Q.       And who is Kathy Chissia?
      4               A.       It must have been someone
      5     that Joe knew.
      6               Q.       Who would have had contacts
      7     at the American Pain Society?
      8               A.       Presumably.
      9               Q.       Do you remember anything
     10     about your communications with the
     11     American Pain -- with either one of those
     12     organizations that you haven't already
     13     told me?
     14               A.       No.
     15               Q.       Was Stoffer a frequent
     16     presenter at American Pain Society, do
     17     you know?
     18                        MR. ROTH:       Objection to
     19               form.     Lacks foundation.
     20                        THE WITNESS:        I can't even
     21               remember who he is, so I don't
     22               know.
     23     BY MS. BAIG:
     24               Q.       Is there anybody at Actavis

    Golkow Litigation Services                                            Page: 172
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further173Confidentiality
                                                           of 382. PageID #: 210263
                                                                               Review

      1     that had more communications with Joe
      2     Stoffer than you would have?
      3               A.       I wish I could remember.
      4     I'm sorry.
      5               Q.       If you wanted to know, who
      6     would you ask at Actavis?
      7               A.       That's a great question.              I
      8     can't remember who even knew him to bring
      9     him in.
     10               Q.       At your tenure at Actavis,
     11     did you have any communications with the
     12     Healthcare Distributor Association?
     13               A.       I'm not even sure I know who
     14     that is.       Had, Healthcare --
     15               Q.       Had.
     16               A.       No, I'm not familiar with
     17     that.
     18               Q.       It was formerly known as
     19     Healthcare Distribution Management
     20     Association.
     21               A.       HDMA, that doesn't sound
     22     familiar either.
     23               Q.       Formerly National Wholesale
     24     Drug Association?

    Golkow Litigation Services                                            Page: 173
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further174Confidentiality
                                                           of 382. PageID #: 210264
                                                                               Review

      1               A.       National Wholesale Drug --
      2     no.
      3               Q.       How about had Research
      4     Foundation?
      5               A.       No.
      6               Q.       Center for Healthcare Supply
      7     Chain Research?
      8               A.       No.
      9               Q.       The National Association for
     10     Chain Drugstores?
     11               A.       I've heard of it.           I don't
     12     believe we had -- or I had any contact
     13     with them.
     14               Q.       Anybody from your division
     15     have contact with them?
     16               A.       Not that I'm aware of.
     17               Q.       How about the Federation of
     18     State Medical Boards?
     19               A.       No.
     20               Q.       The Alliance for Patient
     21     Access?
     22               A.       No.
     23               Q.       Are you aware of these
     24     organizations?

    Golkow Litigation Services                                            Page: 174
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further175Confidentiality
                                                           of 382. PageID #: 210265
                                                                               Review

      1               A.       Not the last few you
      2     mentioned.
      3               Q.       You have not heard of them
      4     at all?
      5               A.       The Alliance of -- no.
      6               Q.       The U.S. Pain Foundation?
      7               A.       The U.S. Pain Foundation,
      8     that one does not ring a bell.
      9               Q.       Have you heard of the
     10     American Geriatric Society?
     11               A.       Yes.
     12               Q.       And have you had
     13     communications with them?
     14               A.       Related to my job at
     15     Pharmacia with the Cox-2s but not related
     16     to anything at Actavis.
     17               Q.       Okay.     Are you aware of any
     18     communications between Actavis and the
     19     American Geriatric Society?
     20               A.       I'm not.
     21               Q.       Are you aware of any
     22     communications between Actavis and
     23     Pharmaceutical Research and Manufacturers
     24     of America?

    Golkow Litigation Services                                            Page: 175
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further176Confidentiality
                                                           of 382. PageID #: 210266
                                                                               Review

      1               A.       If I'm thinking of the right
      2     organization, I believe we were probably
      3     a member of it.
      4               Q.       That's the organization
      5     called PhRMA, P-H-R-M-A?
      6               A.       Yes.
      7               Q.       And as a member of PhRMA,
      8     P-H-R-M-A, did you attend -- did you
      9     attend any meetings as a member of PhRMA?
     10               A.       No.    We just followed their
     11     guidelines.
     12               Q.       Do you remember
     13     communicating with anybody from PhRMA?
     14               A.       I personally didn't.
     15               Q.       Are you aware of anybody at
     16     Actavis communicating with PhRMA?
     17               A.       I'm sure Actavis had a
     18     communication with PhRMA, but I don't
     19     know who that would have been.
     20               Q.       Do you know what department
     21     that would have been?
     22               A.       It probably would have been
     23     as high as Doug.
     24               Q.       Doug Boothe?

    Golkow Litigation Services                                            Page: 176
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further177Confidentiality
                                                           of 382. PageID #: 210267
                                                                               Review

      1               A.       Yes.
      2               Q.       Are you familiar with an
      3     organization called the Pain Care Forum?
      4               A.       I don't believe so.
      5               Q.       How about The Cares
      6     Alliance?
      7               A.       No, it doesn't sound
      8     familiar.
      9               Q.       The Chronic Pain Association
     10     of America?
     11               A.       Also not familiar.
     12               Q.       How about The Center for
     13     Practical Bioethics?
     14               A.       No.    Sorry.
     15               Q.       And how about an
     16     organization called STATS?
     17               A.       No.
     18               Q.       Never heard of them?
     19               A.       I don't know what that
     20     stands for.
     21                        MR. ROTH:       It's a sports
     22               statistics.
     23     BY MS. BAIG:
     24               Q.       STATS, S-T-A-T-S.

    Golkow Litigation Services                                            Page: 177
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further178Confidentiality
                                                           of 382. PageID #: 210268
                                                                               Review

      1                        Never heard of them?
      2               A.       No.
      3                        MS. BAIG:          Let's have this
      4               next document be attached as
      5               Exhibit-6.
      6                              -    -    -
      7                        (Whereupon, Allergan-Altier
      8               Exhibit-6, Actavis 431150-1182,
      9               was marked for identification.)
     10                            -     -    -
     11                        MS. BAIG:          It's Bates
     12               stamped Actavis 431150 to 431182.
     13     BY MS. BAIG:
     14               Q.       It starts as an e-mail
     15     string from you to Kelly Gibbs, Steven
     16     Rothschild and Andrea Owen.                And it's
     17     dated June 5th, 2012.
     18                        Can you tell me who Kelly
     19     Gibbs is?
     20               A.       I believe all three of them
     21     worked at the advertising agency we were
     22     using for MoxDuo.
     23               Q.       What advertising agency was
     24     that?

    Golkow Litigation Services                                            Page: 178
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further179Confidentiality
                                                           of 382. PageID #: 210269
                                                                               Review

      1               A.       That's a great question.              I
      2     was hoping their e-mail addresses would
      3     be on there, so I would remember the
      4     name.
      5               Q.       Was it Genesis Associates?
      6               A.       No.    They were not an
      7     advertising agency.           They conducted the
      8     advisory board.
      9               Q.       What is Genesis Associates?
     10               A.       A group that ran the
     11     advisory board, the company.
     12               Q.       It's a company that --
     13               A.       Facilitated the advisory
     14     board for us, recruited the physicians,
     15     did all that.
     16               Q.       And do you see the
     17     transcript that's attached here?
     18               A.       I do.
     19               Q.       And it appears to be the
     20     transcript -- or at least a portion of
     21     the transcript from an advisory board on
     22     MoxDuo; is that right?
     23               A.       I'll check the date.
     24                        The date would line up, yes.

    Golkow Litigation Services                                            Page: 179
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further180Confidentiality
                                                           of 382. PageID #: 210270
                                                                               Review

      1               Q.       And if you page through, and
      2     I might be able to give you a specific
      3     page, does this reflect -- refresh your
      4     recollection that Dr. Perry Fine was a
      5     member of this advisory board?
      6               A.       I see on the first page of
      7     the transcript, at the bottom, he's
      8     quoted.      So he was there.
      9               Q.       And who would have selected
     10     Dr. Fine to be a member of the advisory
     11     board?
     12               A.       Genesis Associates.
     13               Q.       And who would have
     14     communicated to Genesis about what -- the
     15     needs of the advisory board?
     16               A.       The objectives?          That would
     17     have been us.
     18               Q.       That would have been you?
     19               A.       Uh-huh.
     20               Q.       And so did you communicate
     21     with Genesis regarding the needs of this
     22     advisory board?
     23               A.       I imagine I did, yes.
     24               Q.       And what would you have told

    Golkow Litigation Services                                            Page: 180
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further181Confidentiality
                                                           of 382. PageID #: 210271
                                                                               Review

      1     them?
      2               A.       I don't recall what the
      3     objectives were.
      4               Q.       And would they have provided
      5     you a list of the physicians that were
      6     going to participate before the advisory
      7     board?
      8               A.       Yes.     I would have known who
      9     was attending prior to .
     10               Q.       And you attended the
     11     advisory board as well, correct?
     12               A.       I did.
     13               Q.       And was one of the issues
     14     during this advisory board whether or not
     15     to -- to target the chronic pain market
     16     for MoxDuo?
     17                        MR. ROTH:       Object to the
     18               form.
     19                        THE WITNESS:        I don't
     20               recall.
     21     BY MS. BAIG:
     22               Q.       Well, what's your
     23     understanding of why this advisory board
     24     was set up?

    Golkow Litigation Services                                            Page: 181
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further182Confidentiality
                                                           of 382. PageID #: 210272
                                                                               Review

      1               A.       I remember, from my
      2     standpoint, we were, I believe,
      3     presenting creative concepts and messages
      4     that we were going to use in promotion.
      5     And we were getting feedback based on
      6     those.
      7               Q.       And Perry, Dr. Perry Fine
      8     participated, correct?
      9               A.       He did.
     10               Q.       As did Dr. Long, Dr. Hertz,
     11     Dr. Orth, Dr. Kahana; is that right?
     12               A.       I don't know.         Where do you
     13     see those names?
     14               Q.       In the first several pages.
     15               A.       Yes, they are all listed
     16     there.
     17               Q.       If you turn to the page
     18     Bates stamped Actavis 431156.
     19                        And it appears towards the
     20     bottom that you're talking about how to
     21     promote MoxDuo; is that right?
     22                        MR. ROTH:       Object to form.
     23                        THE WITNESS:        Dr. Kahana is
     24               making a statement, uh-huh.

    Golkow Litigation Services                                            Page: 182
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further183Confidentiality
                                                           of 382. PageID #: 210273
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       And do you see where it
      3     states, four lines from the bottom, So
      4     the question is how to promote this
      5     without asking, what is the better way to
      6     do it?     And the answer is simple.               Just
      7     do what Purdue did, is go out to primary
      8     care and infect them.
      9                        Do you see that?
     10               A.       I do.
     11               Q.       And do you see the next
     12     sentence says, And if you have a couple
     13     of centers of orthopedic surgeons,
     14     plastic surgeons, transexual surgeons and
     15     all of the rest, then you can work with
     16     these selective groups and do that as
     17     part of the projects.
     18                        Do you see that?
     19               A.       I do.
     20               Q.       And then do you see a little
     21     further down, there's a statement by Dr.
     22     Kahana?
     23               A.       Uh-huh.
     24               Q.       A continued statement by Dr.

    Golkow Litigation Services                                            Page: 183
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further184Confidentiality
                                                           of 382. PageID #: 210274
                                                                               Review

      1     Kahana?
      2               A.       Uh-huh.      Yes, sorry.
      3               Q.       And it states that, Now the
      4     reality is that medicine is practiced in
      5     the United States by primary care and
      6     that's what carries weight.               And even
      7     though specialty care may make more money
      8     and think they have more clout and think
      9     they have more influence in this, at the
     10     end of the day, in terms of the weight of
     11     the impact that they have on the
     12     healthcare system, it goes back to
     13     primary care.         So if you want to make a
     14     big boom and a splash in sales and all
     15     that, go to the source.
     16                        Do you see that?
     17               A.       Yes.
     18               Q.       Okay.     And so is your
     19     understanding of what Dr. Kahana is
     20     suggesting that you go to primary care in
     21     order to promote MoxDuo?
     22                        MR. ROTH:       Object to the
     23               form.
     24                        THE WITNESS:        That's what he

    Golkow Litigation Services                                            Page: 184
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further185Confidentiality
                                                           of 382. PageID #: 210275
                                                                               Review

      1               seems to be recommending.              And I
      2               don't know that we would have done
      3               that or not.        It's all sort of
      4               hypothetical, since MoxDuo was
      5               never launched.
      6     BY MS. BAIG:
      7               Q.       I understand that.
      8                        It wasn't launched because
      9     the FDA said it was too dangerous, right?
     10                        MR. ROTH:       Object to the
     11               form.
     12                        THE WITNESS:        I don't know
     13               what was in the complete response
     14               letter.      I don't think they made a
     15               comment like it was too dangerous.
     16               I think they needed more
     17               information.
     18     BY MS. BAIG:
     19               Q.       You don't know whether or
     20     not -- do you know whether the FDA made a
     21     comment that the risks outweighed the
     22     benefits?
     23               A.       I don't know if that was in
     24     there.

    Golkow Litigation Services                                            Page: 185
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further186Confidentiality
                                                           of 382. PageID #: 210276
                                                                               Review

      1               Q.       Okay.     But you also don't
      2     know whether it was just rejected because
      3     they needed more information?
      4               A.       Right.     It's all --
      5               Q.       You don't know why it was
      6     rejected?
      7               A.       Right.     It's all kind of a
      8     moot point.
      9               Q.       Okay.     So can you turn to
     10     Page Actavis 0431166?
     11               A.       Uh-huh.
     12               Q.       Actually, let's turn a few
     13     pages later, to 431169.
     14                        And you see at the top
     15     there's a comment, which is a continued
     16     comment of Dr. Barrett -- sorry, of Dr.
     17     Fine and he states, at the top of Page
     18     431169, I think that one of the biggest
     19     complaints, and this is from the people
     20     who are really saber rattling about
     21     opioids in any setting, is that there has
     22     been an apparent, in their word, in their
     23     point of view, an apparent effort to
     24     soft-sell the harms associated with

    Golkow Litigation Services                                            Page: 186
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further187Confidentiality
                                                           of 382. PageID #: 210277
                                                                               Review

      1     opioids and oversell the benefits.
      2                        Do you see that?
      3               A.       I do.
      4               Q.       Do you remember there being
      5     discussions at Actavis about this
      6     so-called saber rattling?
      7                        MR. ROTH:       Object to the
      8               form.     Lacks foundation.
      9                        THE WITNESS:        Actually, when
     10               you read that I wasn't even sure
     11               what that meant, saber rattling.
     12     BY MS. BAIG:
     13               Q.       So you don't recall any
     14     discussions or --
     15               A.       Not about that term, no.
     16               Q.       And do you see, several
     17     lines down, there's a comment by Dr. Long
     18     stating that in the -- that in the
     19     proposed materials for MoxDuo, it states,
     20     You don't mention anything about
     21     dependency or addiction potential.
     22                        Do you see that?
     23               A.       I do.
     24               Q.       Do you remember there being

    Golkow Litigation Services                                            Page: 187
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further188Confidentiality
                                                           of 382. PageID #: 210278
                                                                               Review

      1     disagreement in this session about how to
      2     move forward with marketing should the
      3     drug get approved?
      4                        MR. ROTH:       Object to the
      5               form.
      6                        THE WITNESS:        I remember
      7               there being conversation.              And I'm
      8               sure there were differing
      9               opinions.
     10     BY MS. BAIG:
     11               Q.       Did you ever have occasion
     12     to communicate with pharmacies about the
     13     marketing of any opioids?
     14               A.       Myself personally, I don't
     15     recall speaking with any pharmacies.
     16               Q.       How about your -- are you
     17     aware of Actavis, any Actavis people,
     18     speaking with pharmacies about promoting
     19     opioids?
     20               A.       In what context?
     21               Q.       In any context.
     22               A.       I mean, I know our
     23     representatives made pharmacy calls to
     24     make sure the products were on the

    Golkow Litigation Services                                            Page: 188
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further189Confidentiality
                                                           of 382. PageID #: 210279
                                                                               Review

      1     shelves.       And I'm sure our trade group
      2     had corporate relationships with
      3     pharmacies.
      4               Q.       So that would be your sales
      5     representatives who are making the calls
      6     to the pharmacies?
      7               A.       To the retail pharmacies,
      8     the stores, like, you know, Walgreens
      9     down the street, yes, those would be our
     10     sales reps.
     11               Q.       And did you have scripts for
     12     what the sales reps were supposed to be
     13     saying to the pharmacies when they called
     14     them?
     15               A.       It would be the same
     16     training they received to speak to
     17     physicians, all healthcare professionals.
     18               Q.       Were there actual scripts?
     19               A.       No.
     20               Q.       Do you recall that sales
     21     staff had to reach out to pharmacies to
     22     encourage them to stock new dosages of
     23     Kadian at some point?
     24                        MR. ROTH:       Object to the

    Golkow Litigation Services                                            Page: 189
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further190Confidentiality
                                                           of 382. PageID #: 210280
                                                                               Review

      1               form.
      2                        THE WITNESS:        I don't
      3               recall.      I mean, sales
      4               representatives wouldn't encourage
      5               the -- the pharmacist is going to
      6               do what they want to do.
      7                        The sales representative
      8               would just check to make sure, you
      9               know, that the product was on the
     10               shelf, they didn't have any
     11               problems with ordering, that sort
     12               of thing.
     13     BY MS. BAIG:
     14               Q.       They wouldn't encourage it?
     15               A.       I don't know how they would.
     16     I don't know why the pharmacist would
     17     listen to a sales rep telling them what
     18     to order.
     19               Q.       Well, who gave the direction
     20     to the sales reps to call the pharmacies?
     21               A.       To call on the pharmacies?
     22               Q.       Yes.
     23               A.       That was in their sales call
     24     plan.

    Golkow Litigation Services                                            Page: 190
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further191Confidentiality
                                                           of 382. PageID #: 210281
                                                                               Review

      1               Q.       And where are those sales
      2     call plans?
      3               A.       Their target lists?           I don't
      4     know.
      5               Q.       So it would be the
      6     pharmacist that would be on their target
      7     list, is that it?
      8               A.       I don't -- again, sales
      9     management would know better.                I don't
     10     think they were assigned certain
     11     pharmacies.        But, you know, any good
     12     sales representative, for any company,
     13     wants to make sure the pharmacies in
     14     their area are well stocked with their
     15     product.
     16               Q.       And who trained the sales
     17     reps on what to say to the pharmacies
     18     when they got there?
     19               A.       I guess that would have been
     20     part of their initial training.
     21                        I guess I'm uncomfortable
     22     talking about this, because I wasn't
     23     involved in the sales training.
     24               Q.       I'm not sure I understand

    Golkow Litigation Services                                            Page: 191
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further192Confidentiality
                                                           of 382. PageID #: 210282
                                                                               Review

      1     your answer.
      2                        I think you said it both
      3     ways.     Did you say I would have been
      4     involved and then you weren't involved?
      5               A.       No.    I said I'm
      6     uncomfortable commenting on who would
      7     have said it, because I don't know.                   I
      8     never attended a sales training.                 I never
      9     went through sales training.                I don't
     10     know who delivered those messages.
     11               Q.       You didn't train any of the
     12     sales reps?
     13               A.       Just on marketing materials
     14     only.
     15               Q.       You didn't train any of the
     16     sales reps as to anything that they were
     17     supposed to talk to the pharmacists
     18     about?
     19               A.       Not specifically.           I just --
     20     I would train them on the marketing
     21     materials that they could use with any
     22     healthcare professional.
     23               Q.       And were you the actual
     24     person running the training sessions?

    Golkow Litigation Services                                            Page: 192
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further193Confidentiality
                                                           of 382. PageID #: 210283
                                                                               Review

      1               A.       I don't know that I ran
      2     them.     I participated in them.
      3               Q.       How many -- well, was there
      4     somebody more senior to you also
      5     participating in them?
      6                        MR. ROTH:       Object to the
      7               form.
      8                        THE WITNESS:        I was going to
      9               say, I'm the only person in the
     10               marketing --
     11     BY MS. BAIG:
     12               Q.       Who else --
     13               A.       -- department, so.
     14               Q.       Who else would attend?
     15               A.       Their sales manager would
     16     have been there.
     17               Q.       The sales managers from
     18     inVentiv?
     19               A.       Uh-huh.
     20               Q.       And you.
     21                        And anybody else from
     22     Actavis, or just you?
     23               A.       I don't recall.
     24               Q.       So you were involved in

    Golkow Litigation Services                                            Page: 193
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further194Confidentiality
                                                           of 382. PageID #: 210284
                                                                               Review

      1     their sales training, then, correct?
      2                        MR. ROTH:       Objection.       Asked
      3               and answered.
      4                        MS. BAIG:       It's been
      5               answered both ways.            I just need
      6               clarification.
      7                        MR. ROTH:       That's fine.
      8                        THE WITNESS:        Sure.     I'm
      9               actually trying to envision a
     10               sales training, and I can't.
     11                        So my best recollection is
     12               that it would be a typical
     13               marketing function, I would
     14               present the marketing materials
     15               that they were to use in their
     16               sales promotion.
     17     BY MS. BAIG:
     18               Q.       And would you be the person
     19     to tell them what they can and cannot
     20     say?
     21                        MR. ROTH:       Object to the
     22               form.
     23                        THE WITNESS:        There would be
     24               compliance training.            There would

    Golkow Litigation Services                                            Page: 194
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further195Confidentiality
                                                           of 382. PageID #: 210285
                                                                               Review

      1               be a lot of other trainings that
      2               they would go through that would
      3               explain what they can and cannot
      4               say.
      5                        As an extension of that, I
      6               would provide them with the detail
      7               pieces and say that they were to
      8               say these messages that were in
      9               the approved detail pieces.
     10     BY MS. BAIG:
     11               Q.       Okay.     Who, other than
     12     you -- who, in addition to you, would
     13     provide sales reps with information about
     14     what they can and cannot say to their
     15     targets?
     16               A.       That would probably be --
     17     the inVentiv team would have to answer
     18     that.
     19               Q.       InVentiv would answer that?
     20               A.       Uh-huh.
     21               Q.       How would inVentiv know how
     22     to answer that, because you had told
     23     them?
     24               A.       No.    InVentiv could answer

    Golkow Litigation Services                                            Page: 195
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further196Confidentiality
                                                           of 382. PageID #: 210286
                                                                               Review

      1     that question.         They were inVentiv
      2     employees.       And however they coordinated
      3     the compliance training and all that, I'm
      4     just not familiar with it.
      5               Q.       Right.     How does inVentiv
      6     know what to tell sales reps from
      7     Actavis?       Does inVentiv get its
      8     information from Actavis?              Right?
      9                        MR. ROTH:       Objection.       Lacks
     10               foundation.        Calls for
     11               speculation.
     12                        THE WITNESS:        Yeah, I
     13               guess --
     14     BY MS. BAIG:
     15               Q.       Is that correct or not?
     16               A.       No.    I'm telling you all I
     17     know.     I don't know what the process was,
     18     you know, because it started before I got
     19     there.
     20                        So somewhere along the line,
     21     Actavis and inVentiv met and determined
     22     who was going to do what.              I don't know
     23     who did what.
     24               Q.       When you were there --

    Golkow Litigation Services                                            Page: 196
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further197Confidentiality
                                                           of 382. PageID #: 210287
                                                                               Review

      1               A.       I came in, I gave my
      2     marketing presentation, and I left.                   So I
      3     don't know.
      4               Q.       When you were there, did you
      5     have communications with inVentiv about
      6     what should be told to the sales reps
      7     about how they should be talking to
      8     prescribers about opioids?
      9                        MR. ROTH:       Object to the
     10               form.
     11                        THE WITNESS:        Only as it
     12               pertained to the promotional
     13               pieces I was presenting.
     14     BY MS. BAIG:
     15               Q.       Right.     As to the
     16     promotional pieces, it was your job to
     17     talk to inVentiv about the promotional
     18     pieces that the sales force could then go
     19     out to prescribers and talk about; is
     20     that right?
     21               A.       I guess -- I'm drawing -- I
     22     would train a sales representative; I
     23     didn't train inVentiv, the company.                   So I
     24     trained our sales representatives.

    Golkow Litigation Services                                            Page: 197
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further198Confidentiality
                                                           of 382. PageID #: 210288
                                                                               Review

      1                        InVentiv is a massive
      2     company with many, many people.                 So I
      3     just want to make sure -- I'm not talking
      4     to inVentiv management.             I'm talking to
      5     the sales reps who served on behalf of
      6     Actavis.
      7               Q.       So it would be you in a
      8     room -- in a room with a group of sales
      9     reps?
     10               A.       Right.
     11               Q.       Communicating to them what
     12     the promotional message was?
     13               A.       Correct.
     14               Q.       Okay.     So it's not inVentiv
     15     or somebody from inVentiv that is
     16     communicating to the sales reps what the
     17     promotional message is, it's you that's
     18     communicating to the sales rep what the
     19     promotional message is; is that correct?
     20                        MR. ROTH:       Objection to the
     21               form.
     22                        THE WITNESS:        Yes.
     23     BY MS. BAIG:
     24               Q.       Okay.     And would you

    Golkow Litigation Services                                            Page: 198
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further199Confidentiality
                                                           of 382. PageID #: 210289
                                                                               Review

      1     communicate to the sales staff that they
      2     should offer pharmacies, retail
      3     pharmacies stocking incentives?
      4                        MR. ROTH:       Object to the
      5               form.
      6                        THE WITNESS:        That wasn't my
      7               area.
      8     BY MS. BAIG:
      9               Q.       That wasn't your area?
     10               A.       No.    And I don't believe we
     11     had any stocking incentives.                That's --
     12     if I'm thinking of the right thing,
     13     that's usually associated with a launch
     14     product, and we were at the end of our
     15     lifecycle.       We didn't do any pharmacy
     16     promotions.
     17               Q.       Well, how about the new
     18     Kadian strengths?
     19               A.       At the end.        I believe, if
     20     my timeline is right, they were launched
     21     about the time Watson was coming in.                   So
     22     they were launched, and we didn't really
     23     do much with them.
     24               Q.       Were they launched because

    Golkow Litigation Services                                            Page: 199
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further200Confidentiality
                                                           of 382. PageID #: 210290
                                                                               Review

      1     the existing Kadian strengths were moving
      2     to generic?
      3               A.       I believe so, yes.
      4               Q.       And so were there incentives
      5     that were offered to retail pharmacies to
      6     incentivize them to offer the new
      7     additional strengths of Kadian?
      8               A.       I don't --
      9                        MR. ROTH:       Object to the
     10               form.
     11                        THE WITNESS:        Sorry.
     12                        I don't know.         That would
     13               have been handled by trade.
     14     BY MS. BAIG:
     15               Q.       By trade?
     16               A.       Uh-huh.
     17               Q.       What is trade?
     18               A.       Trade, I believe his name
     19     was Ara Aprahamian.
     20                        MS. BAIG:       Can we mark this
     21               document Exhibit-10 -- I mean it's
     22               Tab 10.      Exhibit-7, please.           Bates
     23               stamp Actavis 255710 through
     24               255713.

    Golkow Litigation Services                                            Page: 200
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further201Confidentiality
                                                           of 382. PageID #: 210291
                                                                               Review

      1                              -   -   -
      2                        (Whereupon, Allergan-Altier
      3               Exhibit-7, Actavis 255710-5713,
      4               was marked for identification.)
      5                              -   -   -
      6                        MS. PERSIO:        For those of us
      7               on the phone, if you're not
      8               reading the full Bates stamp,
      9               Could you please read the full
     10               Bates stamp?
     11                        MS. BAIG:       It's -- I think
     12               I'm reading the full Bates stamp.
     13               Actavis 0255710 to Actavis
     14               0255713.
     15                        MS. PERSIO:        And that has
     16               all the zeros?
     17                        MS. BAIG:       It does.
     18                        MS. PERSIO:        Okay.     Thank
     19               you.
     20     BY MS. BAIG:
     21               Q.       On the first page, do you
     22     see there's an e-mail, halfway down, from
     23     you to Tom and Kristin?
     24               A.       Correct.

    Golkow Litigation Services                                            Page: 201
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further202Confidentiality
                                                           of 382. PageID #: 210292
                                                                               Review

      1               Q.       Who is Tom and Kristin?
      2               A.       They worked at our
      3     advertising agency for Kadian.
      4               Q.       Do you see that you're
      5     telling them, We have an urgent need for
      6     a tactic announcing our offering of new
      7     strengths of Kadian?
      8               A.       I do.
      9               Q.       Does this refresh your
     10     recollection about this process a little
     11     bit?
     12               A.       Not really.        Do I have time
     13     to read through the e-mail?
     14               Q.       Sure.
     15               A.       So this was from Mara.
     16               Q.       Do you see halfway down on
     17     the second page, it says, Retail pharmacy
     18     stocking incentives?
     19               A.       Sorry, on the second page?
     20                        Yes.
     21               Q.       Does that refresh your
     22     recollection that Actavis was offering
     23     retail pharmacies stocking incentives for
     24     new strengths for Kadian?

    Golkow Litigation Services                                            Page: 202
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further203Confidentiality
                                                           of 382. PageID #: 210293
                                                                               Review

      1                        MR. ROTH:       Object to the
      2               form.
      3     BY MS. BAIG:
      4               Q.       Or new dosages for Kadian?
      5               A.       Only to the extent it's
      6     listed here.        I don't remember any more
      7     information about the incentives.
      8               Q.       You don't remember anything
      9     else about it?
     10               A.       No.
     11               Q.       Do you remember that there
     12     were flyers that were created to leave
     13     with the pharmacies announcing the new
     14     strengths of Kadian?
     15               A.       I don't know -- let's see.
     16     It says, The PDF will be e-mailed to
     17     wholesalers.
     18               Q.       Do you recall whether or not
     19     Actavis reached out to pharmacies with
     20     respect to any of its generic opioids?
     21                        MR. ROTH:       Object to the
     22               form.
     23                        THE WITNESS:        I don't --
     24                        MR. ROTH:       Lacks foundation.

    Golkow Litigation Services                                            Page: 203
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further204Confidentiality
                                                           of 382. PageID #: 210294
                                                                               Review

      1               Calls for speculation.
      2                        THE WITNESS:        I wouldn't
      3               really have been involved in
      4               generics.
      5                        MS. BAIG:       It can't really
      6               lack foundation if I ask her, do
      7               you know.
      8     BY MS. BAIG:
      9               Q.       Go ahead.
     10               A.       I wouldn't have been
     11     involved in most of the generic stuff, so
     12     no.
     13               Q.       You didn't have any
     14     involvement in any generic stuff?
     15               A.       I don't want to say I didn't
     16     have any involvement in anything, just in
     17     case, again, something comes up.                 But
     18     that was not my role in the company.
     19               Q.       Do you know who ValueCentric
     20     is?
     21               A.       No.    Is it on the e-mail?
     22               Q.       No, it's not.
     23               A.       Oh, okay.
     24                        No, sorry.

    Golkow Litigation Services                                            Page: 204
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further205Confidentiality
                                                           of 382. PageID #: 210295
                                                                               Review

      1               Q.       You've never heard of
      2     ValueCentric pharmacy data?
      3               A.       ValueCentric pharmacy data.
      4                        What kind of data does it
      5     provide?
      6               Q.       I don't know.          I'm asking
      7     you.
      8               A.       Oh, sorry.          ValueTrak rings
      9     a bell.      Is that the same thing?
     10               Q.       I see -- or I think I've
     11     seen a reference to ValueCentric
     12     unblinding pharmacy data.
     13                        Do you know what that refers
     14     to?
     15               A.       I don't.        I'm sorry.
     16               Q.       All right.
     17                        MS. BAIG:          Let's attach this
     18               document as Exhibit-8, please.
     19                              -    -    -
     20                        (Whereupon, Allergan-Altier
     21               Exhibit-8, Actavis 0252398-2421,
     22               was marked for identification.)
     23                            -     -    -
     24                        MS. BAIG:          The document is

    Golkow Litigation Services                                            Page: 205
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further206Confidentiality
                                                           of 382. PageID #: 210296
                                                                               Review

      1               Bates stamped Actavis 0252398
      2               through Actavis 0252421.
      3     BY MS. BAIG:
      4               Q.       And it appears to be a long
      5     e-mail string with an attachment.                  And
      6     the top e-mail is dated August 20th, 2012
      7     and it's from Jennifer Altier, and the
      8     subject is ValueCentric pharmacy data.
      9                        Do you see that?
     10               A.       Are you asking me?
     11               Q.       Yes.
     12               A.       I thought you were talking
     13     to the people on the phone.
     14                        Yes.     I'm looking through
     15     it.
     16               Q.       Do you see the first
     17     sentence of the first page says -- from
     18     you, states, Please find below the quote
     19     from ValueCentric to unblind the pharmacy
     20     data for all 12 SKUs of Kadian.                 I think
     21     the cost ($10,000 setup fee and $4,000
     22     per month for unblinding the pharmacy
     23     data) is well worth it for the ABMs to
     24     know which pharmacies are stocking the

    Golkow Litigation Services                                            Page: 206
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further207Confidentiality
                                                           of 382. PageID #: 210297
                                                                               Review

      1     new strengths (as well as the current
      2     strengths).
      3                        Do you see that?
      4               A.       I do.
      5               Q.       So did Actavis actually pay
      6     ValueCentric for this unblinding of
      7     pharmacy data?
      8               A.       I don't recall.          I'm
      9     flipping through this here.               This is
     10     ValueTrak data, so that is what I
     11     remembered.
     12               Q.       You referred to it as
     13     ValueTrak, even though it's called
     14     ValueCentric on this particular e-mail?
     15               A.       ValueCentric is the company
     16     and ValueTrak is the product.
     17               Q.       Got it.
     18               A.       According to this.
     19               Q.       Do you see the second
     20     paragraph says, ValueCentric is drafting
     21     the amendment to our contract now.
     22               A.       Uh-huh.
     23               Q.       Does that refresh your
     24     recollection that Actavis did actually

    Golkow Litigation Services                                            Page: 207
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further208Confidentiality
                                                           of 382. PageID #: 210298
                                                                               Review

      1     have a contract with ValueCentric?
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        They may have,
      5               and I may have not been involved
      6               in the data that they received.
      7     BY MS. BAIG:
      8               Q.       Do you understand what's
      9     referred to as the unblinding of pharmacy
     10     data for all 12 SKUs of Kadian?
     11               A.       I believe what it means is
     12     instead of us just seeing that -- I
     13     believe it would identify what pharmacies
     14     were stocking the products by name.
     15               Q.       And that would be used,
     16     then, for your sales reps to target
     17     certain pharmacies?
     18               A.       I think it would be more
     19     used for -- if they were educating a
     20     physician about the new strengths, they
     21     could say, you know, local pharmacies
     22     have it in stock.           Because that's always
     23     a concern with physicians, they don't
     24     want to write a product if the patient

    Golkow Litigation Services                                            Page: 208
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further209Confidentiality
                                                           of 382. PageID #: 210299
                                                                               Review

      1     isn't going to be able to fill the
      2     prescription.
      3               Q.       Can you turn to Actavis
      4     0252421?       I think it's the last page.
      5                        And there's a market
      6     visibility console example.
      7               A.       I'm sorry, on the slides?
      8               Q.       Yes.
      9               A.       Yes.     Okay.
     10               Q.       What is this?         Do you have
     11     an understanding of what this is?
     12               A.       It looks like, if we
     13     purchased the console product, if I'm --
     14     I don't know what the console is.                  It
     15     looks like a dashboard they could
     16     provide.
     17               Q.       To show what?
     18               A.       To show the --
     19                        MR. ROTH:       Object to the
     20               form.     Lacks foundation.           Calls
     21               for speculation.
     22                        THE WITNESS:        To show the
     23               information that's presented in
     24               the page.

    Golkow Litigation Services                                            Page: 209
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further210Confidentiality
                                                           of 382. PageID #: 210300
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       Market penetration?
      3               A.       Yes.
      4               Q.       And it could show you this
      5     information for the top 1 percent of
      6     stores?
      7                        MR. ROTH:       Object to the
      8               form.     Lacks foundation.           Calls
      9               for speculation.
     10     BY MS. BAIG:
     11               Q.       It's the middle, second row
     12     box.     Including Walgreens, Connecticut
     13     CVS pharmacy.
     14               A.       Yeah, I don't --
     15                        MS. RANJAN:        Object to the
     16               form.
     17                        THE WITNESS:        This is an
     18               example of dummy data.             I don't
     19               know what they would have actually
     20               presented.
     21     BY MS. BAIG:
     22               Q.       You never saw any reports
     23     like this from ValueCentric before?
     24               A.       It looks pretty slick.             I

    Golkow Litigation Services                                            Page: 210
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further211Confidentiality
                                                           of 382. PageID #: 210301
                                                                               Review

      1     don't recall this.
      2                        MS. BAIG:       Let's have the
      3               next document marked as Exhibit-9.
      4               It's a document that's Bates
      5               stamped Actavis 0389758 to
      6               0389800.
      7                              -   -   -
      8                        (Whereupon, Allergan-Altier
      9               Exhibit-9, Actavis 0389758-9800,
     10               was marked for identification.)
     11                              -   -   -
     12     BY MS. BAIG:
     13               Q.       It's an e-mail.          It begins
     14     as an e-mail string from you to Lisa
     15     Miller, subject is, presentations and
     16     objection handler.
     17               A.       Yes.
     18               Q.       And then it says, NSM
     19     objection handling tool.
     20                        NSM is national sales
     21     meeting, correct?
     22               A.       Correct.
     23               Q.       So was this an objection
     24     handling tool that you handed out to all

    Golkow Litigation Services                                            Page: 211
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further212Confidentiality
                                                           of 382. PageID #: 210302
                                                                               Review

      1     the sales reps at the national sales
      2     meeting?
      3               A.       Yes, I believe so.
      4               Q.       And this was supposed to
      5     train the sales reps as to what it was
      6     that they were supposed to talk to
      7     pharmacies about; is that right?
      8                        MR. ROTH:       Objection to
      9               form.
     10                        THE WITNESS:        I don't
     11               believe it was focused on
     12               pharmacists.        It would probably be
     13               focused on healthcare
     14               professionals.
     15     BY MS. BAIG:
     16               Q.       So this was to train the
     17     sales reps with respect to all healthcare
     18     professionals, not just pharmacies?
     19               A.       Uh-huh.
     20               Q.       Okay.
     21               A.       Yes.
     22               Q.       And if you turn to the
     23     PowerPoint, Page 3 of the PowerPoint --
     24     well, Page 1 of the PowerPoint has a

    Golkow Litigation Services                                            Page: 212
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further213Confidentiality
                                                           of 382. PageID #: 210303
                                                                               Review

      1     heading that says, Kadian marketing
      2     update, with your name, Jennifer Altier.
      3               A.       That's not what mine says.
      4               Q.       And then September 13th,
      5     2012.
      6               A.       Mine says --
      7               Q.       It's Bates stamped Actavis
      8     0389769.
      9               A.       Mine says something
     10     different.
     11                        MR. ROTH:       We're looking at
     12               a different PowerPoint.              Mine,
     13               too.
     14                        THE WITNESS:        Mine says, New
     15               strengths launched.
     16                        MR. ROTH:       I think they are
     17               different presentations.
     18                        MS. BAIG:       What Bates stamp
     19               number are you looking at?
     20                        MR. ROTH:       389763.
     21                        MS. BAIG:       No, I'm on
     22               389769.
     23                              -   -   -
     24                        (Whereupon, a discussion off

    Golkow Litigation Services                                            Page: 213
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further214Confidentiality
                                                           of 382. PageID #: 210304
                                                                               Review

      1               the record occurred.)
      2                            -    -    -
      3     BY MS. BAIG:
      4               Q.       It says, Marketing update,
      5     your name, Jennifer Altier, and then
      6     September 13th, 2012, correct?
      7               A.       Correct.
      8               Q.       Did you draft this document?
      9               A.       I believe so.
     10               Q.       And you provided this
     11     document to sales reps; is that right?
     12               A.       I did.       I presented the
     13     information in it.
     14               Q.       And the prior document that
     15     you were on, that I skipped over,
     16     entitled, Kadian new strengths launch,
     17     also has your name on it, Jennifer Altier
     18     and dated September 13th, 2012, correct?
     19               A.       Correct.
     20               Q.       And did you draft that
     21     document as well?
     22               A.       I believe so.
     23               Q.       Okay.     And you presented it
     24     to sales reps at the national sales

    Golkow Litigation Services                                            Page: 214
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further215Confidentiality
                                                           of 382. PageID #: 210305
                                                                               Review

      1     meeting?
      2               A.       I believe so.
      3               Q.       Okay.     And do you see on
      4     Page 3 of the second document, which is
      5     Actavis 0389771 --
      6               A.       Yes.
      7               Q.       -- you have market research
      8     feedback?
      9                        Do you see that?
     10               A.       I do.
     11               Q.       And is this market research
     12     feedback with respect to Kadian, correct?
     13               A.       Correct.
     14               Q.       So what market -- market
     15     research feedback was done with respect
     16     to Kadian that informed this slide?
     17               A.       I don't know, because the
     18     other one we looked at was from MoxDuo.
     19     So I don't know the background for this
     20     one, or I can't recall the background for
     21     this one.
     22                        But it seems that, based on
     23     my headline, we did a recent market
     24     research survey, called-on physicians, so

    Golkow Litigation Services                                            Page: 215
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further216Confidentiality
                                                           of 382. PageID #: 210306
                                                                               Review

      1     these are physicians the reps were
      2     calling on; and these are the perceptions
      3     of our product, Kadian, that were listed
      4     back to us.
      5                        So I assume the question
      6     was, you know, what are your perceptions
      7     of Kadian?       And these were the attributes
      8     that were listed.
      9               Q.       And who conducted that
     10     market research survey?
     11               A.       That, I don't know.
     12               Q.       How did you get the
     13     information?
     14               A.       I knew at the time.           I can't
     15     tell you today.
     16               Q.       You don't recall?
     17               A.       Right.
     18               Q.       And would there be a report?
     19     Would it have been a third party that
     20     would have conducted it?
     21               A.       Absolutely.
     22               Q.       So who were the third
     23     parties that you generally worked with to
     24     do these market surveys?

    Golkow Litigation Services                                            Page: 216
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further217Confidentiality
                                                           of 382. PageID #: 210307
                                                                               Review

      1               A.       Let's see.       What's the date?
      2                        I don't know if we were
      3     working with Campbell Alliance at this
      4     time.     There was another group out of
      5     Colorado, I don't remember their name,
      6     like, LPG or something like that.                  It
      7     could have been somebody else.
      8                        But it definitely would have
      9     been a third-party market research group.
     10               Q.       And so would there be a
     11     separate document that sets forth the
     12     market research that you would have
     13     received to aid you in putting together
     14     this material for the sales reps?
     15               A.       There could have been --
     16     there would have been a report produced.
     17               Q.       There would have been a
     18     report from either Campbell Alliance or
     19     LPG or --
     20               A.       XYZ, I don't remember.
     21               Q.       -- anyone you used?
     22               A.       Yes.
     23               Q.       If you wanted to figure out
     24     which entity was used to do this market

    Golkow Litigation Services                                            Page: 217
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further218Confidentiality
                                                           of 382. PageID #: 210308
                                                                               Review

      1     research, who would you ask at Actavis?
      2               A.       Me.
      3               Q.       Well, you're not at Actavis
      4     anymore.
      5               A.       Oh, gosh.       Nobody.
      6               Q.       If you wanted to know today,
      7     who would you ask?
      8               A.       I would -- there's nobody
      9     left that's --
     10               Q.       You don't recall.
     11                        But it should be in your
     12     e-mail, then?
     13               A.       Probably, yes.
     14               Q.       And was it your
     15     understanding, then, when you drafted
     16     this, that there were -- that
     17     prescribers' perceptions were there that
     18     Kadian had a low abuse potential?
     19               A.       That's what they reported
     20     back to us.        That was their perception.
     21               Q.       That's what you understood
     22     from another organization that they
     23     reported to them, correct?               Is that
     24     right?

    Golkow Litigation Services                                            Page: 218
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further219Confidentiality
                                                           of 382. PageID #: 210309
                                                                               Review

      1               A.       Yes.
      2               Q.       And that there was 12- to
      3     24-hour pain control?
      4                        MR. ROTH:       Object to the
      5               form.
      6                        THE WITNESS:        Based on
      7               what's listed here, that's what
      8               the physicians told us, that was
      9               their perception of Kadian.
     10     BY MS. BAIG:
     11               Q.       Okay.     And is that accurate
     12     for Kadian, that there was 12 to 24 hours
     13     of pain control?
     14               A.       I don't recall off the top
     15     of my head if that was a claim.                 That was
     16     just their perception.
     17               Q.       You don't recall whether or
     18     not Kadian was effective for 12 to 24
     19     hours?
     20               A.       I'd have to look back at our
     21     detail pieces.
     22               Q.       Do you see the next page, it
     23     says, What's new with Kadian?
     24               A.       Uh-huh.

    Golkow Litigation Services                                            Page: 219
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further220Confidentiality
                                                           of 382. PageID #: 210310
                                                                               Review

      1               Q.       And it states, in the second
      2     bullet, Much has changed in the
      3     long-acting opioid environment since this
      4     data was initially released, so it is
      5     important to remind healthcare
      6     professionals about the Kadian profile.
      7                        What is that referring to?
      8               A.       I'd have to look at what was
      9     in the detail piece.            It would be the
     10     data that's in our detail aid.
     11               Q.       Well, if I wanted to see the
     12     detail aid, what would I look for?                  What
     13     is the name of that document?
     14               A.       Detail aid.
     15               Q.       It will just say, detail
     16     aid, Kadian, with this date on it?
     17               A.       (Witness nods.)
     18                        I'm sorry, it's in this
     19     presentation.
     20               Q.       Where is it?
     21               A.       Bunch of pages.          Page by
     22     page, it goes through --
     23               Q.       Oh, I see it.         Okay.
     24               A.       So there's clinical data,

    Golkow Litigation Services                                            Page: 220
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further221Confidentiality
                                                           of 382. PageID #: 210311
                                                                               Review

      1     6A.
      2               Q.       What page are you looking
      3     at?
      4               A.       84; clinical data, Page 85,
      5     6B.
      6               Q.       This is a detail aid that is
      7     created by whom?
      8               A.       By the marketing department,
      9     and then put through the promotional
     10     review committee for legal and regulatory
     11     review.
     12               Q.       So this is created -- the
     13     detail aid was created by you?
     14               A.       Correct.
     15               Q.       But there's nothing on the
     16     detail aid that states who provided --
     17     who did the study for you; is that right?
     18                        MR. ROTH:       Object to the
     19               form.
     20     BY MS. BAIG:
     21               Q.       Or would that be in here?
     22                        MR. ROTH:       Lacks foundation.
     23                        THE WITNESS:        This is from
     24               our prescribing information.

    Golkow Litigation Services                                            Page: 221
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further222Confidentiality
                                                           of 382. PageID #: 210312
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       So you put together this
      3     detail aid based on prescribing
      4     information that you received from who?
      5     IMS?
      6                        MR. ROTH:       Object to the
      7               form.
      8                        THE WITNESS:        I don't
      9               think --
     10     BY MS. BAIG:
     11               Q.       From who?
     12               A.       Maybe I'm -- maybe I'm
     13     misjudging your understanding of
     14     prescribing information.
     15                        So prescribing information
     16     is the package insert, the label that is
     17     attached to our product.
     18               Q.       Okay.
     19               A.       That is our Bible.
     20               Q.       No, I was thinking of
     21     prescribing data.
     22               A.       Because you keep asking me
     23     what are the studies?            What are the
     24     studies?       It's what is in our label.              And

    Golkow Litigation Services                                            Page: 222
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further223Confidentiality
                                                           of 382. PageID #: 210313
                                                                               Review

      1     that's what I'm referring to.                I don't
      2     mean to frustrate you.
      3               Q.       So you just take the label
      4     and you provide --
      5               A.       Correct.
      6               Q.       -- you create the marketing
      7     information from the label?
      8               A.       Correct.
      9               Q.       Using only the label?
     10               A.       Correct.      The label is
     11     referred to as prescribing information, a
     12     PI, package insert.           Those are all
     13     synonymous.
     14               Q.       Okay.     So if you go to the
     15     second-to-last page of this document, it
     16     says, Objection handling for pharmacists.
     17               A.       Yes.
     18               Q.       So this is a document that's
     19     provided to the sales reps in order to
     20     help train them?
     21               A.       It was presented to them,
     22     yes.
     23               Q.       In terms of their
     24     discussions with pharmacists?

    Golkow Litigation Services                                            Page: 223
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further224Confidentiality
                                                           of 382. PageID #: 210314
                                                                               Review

      1               A.       Uh-huh.
      2               Q.       And is this, sort of, the
      3     script that they're supposed to be using
      4     when they talk to pharmacists?
      5                        MR. ROTH:       Object to the
      6               form.
      7                        THE WITNESS:        These were the
      8               talking points, the training, yes.
      9     BY MS. BAIG:
     10               Q.       Okay.     What is Technekes?
     11               A.       That was our telemarketing
     12     firm.
     13               Q.       And what involvement did
     14     they have with opioids -- with opioids at
     15     Actavis?
     16               A.       They supplemented our field
     17     sales force efforts.            So, for example,
     18     white space, if we didn't have a physical
     19     rep in the territory, they would make
     20     phone calls to that office.
     21               Q.       And it's spelled Technekes,
     22     T-E-C-H-N-E-K-E-S.
     23               A.       Yeah.
     24               Q.       And who oversaw Technekes,

    Golkow Litigation Services                                            Page: 224
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further225Confidentiality
                                                           of 382. PageID #: 210315
                                                                               Review

      1     from Actavis?
      2               A.       I did.
      3               Q.       Was this part of -- but
      4     Technekes was not part of your budget?
      5               A.       Yes, they would have been.
      6               Q.       So they were a part of the
      7     $200,00?
      8               A.       I said don't quote me on
      9     $200,000.       I was just putting it in
     10     context of it wasn't $100 million.
     11               Q.       But Technekes --
     12               A.       Correct.
     13               Q.       Technekes --
     14               A.       Would have been a part of
     15     the marketing budget.
     16               Q.       And how many sales -- what
     17     do you call the people through Technekes?
     18     Sales reps?
     19               A.       Sales representatives.
     20                        I don't recall.          Perhaps two
     21     to four.
     22               Q.       Full time?
     23               A.       I believe they were FTE,
     24     yes.

    Golkow Litigation Services                                            Page: 225
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further226Confidentiality
                                                           of 382. PageID #: 210316
                                                                               Review

      1               Q.       What is "FTE"?
      2               A.       Full-time equivalent.
      3               Q.       And who would train the
      4     sales reps that came to you through
      5     Technekes?
      6               A.       They would go through our
      7     sales rep training.           So they received the
      8     same training as a physical field rep.
      9               Q.       So they would have been at
     10     the national sales meeting?
     11               A.       I don't know that for sure.
     12     They did attend our sales meetings.                   I
     13     don't know if they were on board at the
     14     time of this sales meeting.
     15               Q.       Okay.     So you trained them?
     16                        MR. ROTH:       Object to the
     17               form.
     18                        THE WITNESS:        They went
     19               through sales training.              I would
     20               have presented the marketing
     21               pieces, sales training, long
     22               agenda.      I would have been
     23               responsible for the marketing
     24               piece.

    Golkow Litigation Services                                            Page: 226
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further227Confidentiality
                                                           of 382. PageID #: 210317
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       And who is Anda?
      3               A.       Anda?
      4               Q.       Yes.
      5               A.       ANDA is a new drug
      6     application.
      7                        Oh, Anda is a -- down in
      8     Florida.       I think Watson owned them.
      9     They were a pharmacy distributor.
     10                        I'm not exactly sure.            I
     11     remember doing a program with them.
     12               Q.       I see something here, and I
     13     could attach it, but it might -- it might
     14     not be too much to it.
     15                        But it says, I see you have
     16     engaged Anda to contact pharmacies.
     17                        Is Anda another organization
     18     like Technekes?
     19               A.       No, Anda is like a -- I
     20     don't think they're a wholesaler.
     21     They're -- maybe a pharmacy distributor.
     22     We did a small project with them.                  I
     23     don't really recall.
     24               Q.       So Technekes is telesales?

    Golkow Litigation Services                                            Page: 227
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further228Confidentiality
                                                           of 382. PageID #: 210318
                                                                               Review

      1               A.       Correct.
      2               Q.       And Anda is?
      3               A.       TBD.
      4               Q.       Can you talk to me a little
      5     bit about the negotiations that you would
      6     have with pharmacies, in terms of
      7     stocking?
      8               A.       No.    I wasn't involved in
      9     that.
     10               Q.       But you would receive
     11     information about it; is that right?
     12               A.       Correct.
     13               Q.       So what is your general
     14     understanding of how that process worked?
     15               A.       Our contracting department
     16     would speak with pharmacies.
     17               Q.       About proactive stocking?
     18               A.       I imagine.
     19                        MR. ROTH:       Object to the
     20               form.     Lacks foundation.           Calls
     21               for speculation.
     22     BY MS. BAIG:
     23               Q.       About stocking?
     24               A.       It's not my area.           I don't

    Golkow Litigation Services                                            Page: 228
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further229Confidentiality
                                                           of 382. PageID #: 210319
                                                                               Review

      1     really know what they talked about.
      2               Q.       Who is Ara Aprahamian?
      3               A.       I referenced him earlier.
      4     He was our -- I referred to him as our
      5     trade person.         I don't know what his
      6     exact title is.
      7               Q.       What division?
      8               A.       I think you have this
      9     mischaracterization of our organization.
     10     Like, he was the trade person.                 I was the
     11     marketing person.           We didn't have this
     12     massive organization.            So he was trade.
     13               Q.       So he would be the person
     14     that would be negotiating, for example,
     15     with Walmart regarding stocking of
     16     opioids?
     17               A.       I believe so.
     18                        MS. RANJAN:        Object to the
     19               form.
     20                        THE WITNESS:        I believe so.
     21     BY MS. BAIG:
     22               Q.       And who would provide target
     23     pharmacies?        You would get that
     24     information and then provide it, or

    Golkow Litigation Services                                            Page: 229
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further230Confidentiality
                                                           of 382. PageID #: 210320
                                                                               Review

      1     how -- how would Actavis communicate what
      2     pharmacies ought to be targeted?
      3                        MR. ROTH:          Objection.    Lacks
      4               foundation.
      5                        THE WITNESS:          This would
      6               have to be confirmed by sales, but
      7               my understanding was that was up
      8               to the reps.
      9     BY MS. BAIG:
     10               Q.       The sales reps would decide
     11     what pharmacies to target?
     12               A.       That's my understanding.
     13     But, again, that's not my expert -- my
     14     area.
     15                        MR. ROTH:          Can we go off the
     16               record for a second?
     17                        MS. BAIG:          Sure.
     18                        VIDEO TECHNICIAN:           The time
     19               is 12:42 p.m.           Off the record.
     20                              -    -    -
     21                        (Whereupon, a brief recess
     22               was taken.)
     23                            -     -    -
     24                        VIDEO TECHNICIAN:           The time

    Golkow Litigation Services                                            Page: 230
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further231Confidentiality
                                                           of 382. PageID #: 210321
                                                                               Review

      1               is 12:45 p.m.         We are back on the
      2               record.
      3     BY MS. BAIG:
      4               Q.       What are e-mail blast
      5     campaigns?
      6               A.       Generally, they were just
      7     marketing materials that would be
      8     delivered via e-mail.
      9               Q.       To whom?
     10               A.       It could be physicians, it
     11     could -- anybody you could buy a list for
     12     of e-mail addresses.
     13               Q.       Who would you buy that list
     14     from?
     15               A.       Generally, whomever the
     16     vendor was that we were working with on
     17     the campaign.
     18               Q.       Who were the vendors that
     19     you worked with, with respect to the
     20     opioids?
     21               A.       I don't recall.          I mean,
     22     sometimes companies would come to you and
     23     offer that service, or we would prepare
     24     it and our advertising agency would

    Golkow Litigation Services                                            Page: 231
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further232Confidentiality
                                                           of 382. PageID #: 210322
                                                                               Review

      1     procure a list.          It all depended.
      2               Q.       You don't recall any of
      3     them?
      4               A.       No.
      5               Q.       Do you know who Practical
      6     Pain Management is?
      7               A.       I believe it was a medical
      8     journal.
      9               Q.       I'm sorry?
     10               A.       I believe it's a medical
     11     journal.
     12               Q.       All right.
     13                        MS. BAIG:       Let's mark this
     14               as the next exhibit, 9.              It's
     15               Bates stamped Actavis 0501884
     16               to --
     17                        MR. ROTH:       You've got a 9,
     18               so we're on 10.
     19                        MS. BAIG:       Sorry, we're on
     20               Exhibit-10.        To Actavis 0501893.
     21                              -   -   -
     22                        (Whereupon, Allergan-Altier
     23               Exhibit-10, Actavis 0501884-1893,
     24               was marked for identification.)

    Golkow Litigation Services                                            Page: 232
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further233Confidentiality
                                                           of 382. PageID #: 210323
                                                                               Review

      1                              -    -    -
      2     BY MS. BAIG:
      3               Q.       This is an e-mail from you
      4     to Nathalie Leitch --
      5               A.       Uh-huh.
      6               Q.       -- on August 12th, 2011.
      7                        Do you see that?
      8               A.       I do.
      9               Q.       And it's referring to a
     10     Kadian e-mail blast.
     11               A.       Uh-huh.
     12               Q.       What was this?
     13               A.       I don't know.         I'll have to
     14     read through it.
     15               Q.       Take a look.
     16               A.       Oh, gosh.        Nice copy.
     17               Q.       I know.        That's how it was
     18     produced, though.            It's just the first
     19     page that's blurred.
     20               A.       It looks like a five-wave
     21     campaign of marketing messages to be
     22     e-mailed out.
     23               Q.       To be e-mailed out to whom?
     24               A.       I would assume physicians.

    Golkow Litigation Services                                            Page: 233
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further234Confidentiality
                                                           of 382. PageID #: 210324
                                                                               Review

      1               Q.       And did you create these
      2     marketing materials?
      3               A.       Yes.
      4               Q.       You did?
      5               A.       Not me personally, but an
      6     advertising agency on our behalf, yes.
      7               Q.       So you worked with the
      8     advertising agency to create them?
      9               A.       Correct.
     10               Q.       Can you tell, from looking
     11     at these materials now, what advertising
     12     agency you worked with?
     13               A.       For Kadian, it would have
     14     been Zuchelli & Johnson.
     15               Q.       How do you spell that?
     16               A.       Z-U-C-H-E-L-L-I and Johnson.
     17     Unless this company Vertical Health,
     18     here, created them.
     19                        Most likely what may have
     20     happened is Zuchelli & Johnson would have
     21     created the files, we would have put them
     22     through our legal/regulatory review and
     23     then provided them to Vertical Health to
     24     e-mail out.

    Golkow Litigation Services                                            Page: 234
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further235Confidentiality
                                                           of 382. PageID #: 210325
                                                                               Review

      1               Q.       What is Vertical Health?
      2               A.       That's a great question.              I
      3     don't recall.         Obviously, a company that
      4     we worked with to e-mail these out.
      5               Q.       Why did you need to do that?
      6               A.       Why did I need to work
      7     with --
      8               Q.       Why didn't Actavis just send
      9     the e-mails out itself?             Do you know --
     10               A.       We didn't have e-mail
     11     addresses for physicians.
     12               Q.       I see.     So you contracted
     13     with Vertical Health to get the messages
     14     out to the --
     15               A.       Uh-huh.
     16               Q.       -- e-mail addresses for the
     17     physicians?
     18               A.       That's my assumption, yeah.
     19               Q.       What is Tegra Analytics?
     20               A.       Tegra Analytics was a
     21     company we worked with that would, I
     22     guess, do analytics for us.
     23                        How can I explain what they
     24     do?    They're really smart people.                They

    Golkow Litigation Services                                            Page: 235
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further236Confidentiality
                                                           of 382. PageID #: 210326
                                                                               Review

      1     look at data, so I know -- say we were
      2     doing the territory expansion, they would
      3     propose, here are the areas where you
      4     should, you know, divide the territories,
      5     if you're going from 18 to 30; based on
      6     the data you have, this is where those
      7     territories should be located.                 I think
      8     they also analyzed sales data.
      9               Q.       And did you work directly
     10     with Tegra Analytics?
     11               A.       I did not.       I obviously was
     12     on calls with them, though.
     13               Q.       Who worked most directly
     14     with Tegra Analytics?
     15               A.       I believe Nathalie managed
     16     them.
     17               Q.       And would they provide to
     18     you telemarketing targets?
     19               A.       Perhaps.      I mean, we
     20     wouldn't get the data from them, but they
     21     may have analyzed the data and said, you
     22     know, these targets fall out of your
     23     territory, out of where your field
     24     coverage is, and here is your white

    Golkow Litigation Services                                            Page: 236
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further237Confidentiality
                                                           of 382. PageID #: 210327
                                                                               Review

      1     space, so --
      2                        MS. BAIG:       Let's have this
      3               document marked as Exhibit-11.
      4                              -    -   -
      5                        (Whereupon, Allergan-Altier
      6               Exhibit-11, Actavis 0672638-2645,
      7               was marked for identification.)
      8                              -    -   -
      9                        MS. BAIG:       And you see this
     10               document is Bates stamped Actavis
     11               0672638 --
     12                        THE WITNESS:        So this would
     13               have been --
     14                        MS. BAIG:       -- through --
     15               hang on -- Actavis 0672645.
     16                        And it begins as an e-mail
     17               string from Matthew Hutcheson to
     18               Jennifer Altier, July -- January
     19               7th, 2013.         Subject, telemarketing
     20               targets.
     21     BY MS. BAIG:
     22               Q.       Is Matt Hutcheson the
     23     contact at Tegra Analytics?
     24               A.       Yes.

    Golkow Litigation Services                                            Page: 237
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further238Confidentiality
                                                           of 382. PageID #: 210328
                                                                               Review

      1               Q.       And you communicated
      2     directly with him regarding analytics
      3     that they were performing for Actavis
      4     opioids?
      5               A.       Right.     If I'm reading the
      6     context of this, this is January 2013, so
      7     Watson had just let the sales force go.
      8     Technekes was theoretically still on
      9     contract and we were trying to figure
     10     out, I guess, if we could maybe just
     11     continue telesales for Kadian.
     12               Q.       And you see here in the
     13     e-mail, halfway down, from you to him,
     14     you state, Our telemarketing team had
     15     additional bandwidths to add more targets
     16     to their call list.           Could you please
     17     send us the next names that would be on
     18     the list, with the following breakdown?
     19                        Do you see that?
     20               A.       Uh-huh.
     21               Q.       And you have two breakdowns.
     22     One, the next 1,000 generic morphine
     23     sulfate ER writers that are not sales
     24     team targets.

    Golkow Litigation Services                                            Page: 238
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further239Confidentiality
                                                           of 382. PageID #: 210329
                                                                               Review

      1                        Correct?
      2               A.       Uh-huh.
      3               Q.       And you have the next 1,000
      4     Kadian writers that are not sales team
      5     targets.
      6                        Correct?
      7               A.       Yes.
      8                        And you know what, just -- I
      9     don't know if I'm allowed to do this, but
     10     before, in the previous message when we
     11     were talking about generic MS and I made
     12     up -- I said it was MS-Contin.                 I believe
     13     it was probably generic morphine sulfate
     14     is what that was referring to.
     15                        So, I'm sorry, I interrupted
     16     your question.
     17               Q.       So here you're getting 1,000
     18     generic morphine sulfate extended release
     19     writers that the telemarketing team can
     20     target, and you're getting that from
     21     Tegra Analytics, correct?
     22               A.       Yes.     It sounds like he's
     23     pulling that data for us, yes.
     24               Q.       And you're also getting a

    Golkow Litigation Services                                            Page: 239
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further240Confidentiality
                                                           of 382. PageID #: 210330
                                                                               Review

      1     thousand Kadian writers that were not, at
      2     that point, sales team targets so that
      3     your sales team could target them,
      4     correct?
      5               A.       It looks like so that the
      6     Technekes team could target them, yes.
      7               Q.       Which was part of your sales
      8     team, right?
      9               A.       Telesales.
     10               Q.       Telesales.
     11                        Do you see on Page Actavis
     12     0672643, halfway down, it says, Technekes
     13     has had the following physicians state
     14     that they have Kadian reps.               I'm
     15     wondering if we can verify that we are no
     16     longer calling on them.             Perhaps they
     17     were drops.
     18                        Do you see that?
     19               A.       I do.
     20               Q.       Okay.     Can you tell me what
     21     that's referring to?            Were there certain
     22     targets that would be dropped for some
     23     reason?
     24               A.       Sure.     If we realign the

    Golkow Litigation Services                                            Page: 240
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further241Confidentiality
                                                           of 382. PageID #: 210331
                                                                               Review

      1     territories and that was no longer being
      2     covered by somebody, that sort of thing.
      3                        So, basically, what was
      4     happening here is Technekes called the
      5     office and the doctor said, oh, I have a
      6     rep that comes and sees me, and we didn't
      7     want both.       So the protocol was they
      8     would tell us.         I wanted to verify that a
      9     rep actually was calling on them.
     10               Q.       And the list that's
     11     attached, is that the sample target list?
     12               A.       Kadian telesales listing,
     13     supplemental.
     14                        I'll have to read the e-mail
     15     to see what this might refer to.                 Based
     16     on -- if this is correct, there's a
     17     message that says, Please see the
     18     attached target list going to Aaron at
     19     Technekes.
     20                        So perhaps this was
     21     Technekes's target list.
     22               Q.       And do you see at the top of
     23     the very first page, it says, Kadian
     24     telesales listing, supplemental, January

    Golkow Litigation Services                                            Page: 241
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further242Confidentiality
                                                           of 382. PageID #: 210332
                                                                               Review

      1     7th, 2013.       And it says, Next 1,100
      2     generic morphine sulfate ER and next
      3     1,100 Kadian writers, correct?
      4               A.       Uh-huh.
      5               Q.       So it appears that these
      6     were the next 1,100 for your telesales
      7     team to then target, correct?
      8               A.       Okay.
      9                        MR. ROTH:       Object to the
     10               form.
     11     BY MS. BAIG:
     12               Q.       Would you agree?
     13               A.       Based on what he's writing,
     14     we did the next 1,100 to account for
     15     potential overlaps.           Yes.     So I asked for
     16     1,000, he gave me 1,100.
     17               Q.       And these are names of
     18     targets for your sales teams?
     19                        MR. ROTH:       Object to the
     20               form.
     21     BY MS. BAIG:
     22               Q.       Is that right?
     23               A.       These --
     24               Q.       For your telesales teams?

    Golkow Litigation Services                                            Page: 242
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further243Confidentiality
                                                           of 382. PageID #: 210333
                                                                               Review

      1               A.       These appear to be a list of
      2     targets for telesales, yes.
      3               Q.       Do you know what a negative
      4     call disposition is?
      5               A.       No.
      6               Q.       If somebody is talking to
      7     you about targets with a negative call
      8     that dispositioned, do you know what that
      9     means?
     10                        MR. ROTH:       Object to the
     11               form.     Asked and answered.
     12                        THE WITNESS:        Yeah, I don't.
     13     BY MS. BAIG:
     14               Q.       Would there be any reason
     15     that any targets would be removed from a
     16     call list like the one we just looked at?
     17               A.       For field sales or
     18     telesales?
     19               Q.       Either.
     20               A.       If they asked not to be
     21     called on.
     22               Q.       Any other reason that you
     23     can think of?
     24               A.       We always said, moved, died

    Golkow Litigation Services                                            Page: 243
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further244Confidentiality
                                                           of 382. PageID #: 210334
                                                                               Review

      1     or retired; if they moved out of the
      2     area, if they died or they retired, they
      3     would be removed.
      4               Q.       Was anybody ever removed, to
      5     your knowledge, for suspicious sales,
      6     suspicious orders?
      7                        MR. ROTH:       Object to the
      8               form.     Lacks foundation.           Calls
      9               for speculation.
     10                        THE WITNESS:        Who would be
     11               placing orders?          We don't call
     12               physicians --
     13     BY MS. BAIG:
     14               Q.       Let's say you're going to
     15     target a physician.
     16               A.       Right.
     17               Q.       To your knowledge, was any
     18     physician ever removed from one of these
     19     lists because it had a suspicious
     20     prescribing?
     21                        MR. ROTH:       Objection.       Form.
     22               Lacks foundation.           Calls for
     23               speculation.
     24                        THE WITNESS:        I don't even

    Golkow Litigation Services                                            Page: 244
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further245Confidentiality
                                                           of 382. PageID #: 210335
                                                                               Review

      1               know how we would know -- I mean,
      2               suspicious prescribing.
      3     BY MS. BAIG:
      4               Q.       So you've never -- you've
      5     never heard of any targets being removed
      6     from the list, other than for the reasons
      7     that you just gave me?
      8               A.       Those were the most common
      9     reasons I had heard of, yes.
     10               Q.       Can you think of any other
     11     reasons?
     12               A.       I'm sure there are others,
     13     but nothing comes to mind.
     14                        MS. BAIG:          Let's have this
     15               document marked as Exhibit-12,
     16               please.      Bates stamped Actavis
     17               0192957 through 0193028.
     18                              -    -    -
     19                        (Whereupon, Allergan-Altier
     20               Exhibit-12, Actavis 0192957-3028,
     21               was marked for identification.)
     22                            -     -    -
     23                        MS. BAIG:          It begins as an
     24               e-mail string from Jennifer Altier

    Golkow Litigation Services                                            Page: 245
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further246Confidentiality
                                                           of 382. PageID #: 210336
                                                                               Review

      1               to Nathalie Leitch, dated August
      2               13th, 2013.
      3     BY MS. BAIG:
      4               Q.       Just take a moment to
      5     acquaint yourself with the document.
      6               A.       Okay.
      7               Q.       If you look at the
      8     PowerPoint on the third page, is this the
      9     launch document that you created for the
     10     new strengths of Kadian?
     11                        MR. ROTH:       Which PowerPoint
     12               are you talking about and what's
     13               the Bates number?
     14                        MS. BAIG:       The first page
     15               of -- it's the third page of the
     16               document.
     17                        MR. ROTH:       The one that
     18               says -- okay.         192960?
     19                        MS. BAIG:       Correct.
     20                        THE WITNESS:        It appears
     21               this was given by Mike Shepherd.
     22     BY MS. BAIG:
     23               Q.       He is the marketing director
     24     for Kadian?

    Golkow Litigation Services                                            Page: 246
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further247Confidentiality
                                                           of 382. PageID #: 210337
                                                                               Review

      1               A.       Yeah, no.       He was the sales
      2     director.
      3               Q.       Because you were the
      4     marketing director for Kadian?
      5               A.       Correct.
      6               Q.       Okay.     So that's an error on
      7     the first page?
      8               A.       It seems like it.           Maybe I
      9     was supposed to give it and then it
     10     changed, and we just threw his name on it
     11     and didn't change the title.
     12               Q.       Did you help draft this
     13     document?
     14               A.       It appears to be something I
     15     would work on, yes.
     16               Q.       And this was the new
     17     strengths launch.
     18                        So what was this used for?
     19               A.       This was to introduce the
     20     new strengths to the field.
     21               Q.       To the field.
     22                        By "the field," you mean by
     23     the sales reps?
     24               A.       Yes.

    Golkow Litigation Services                                            Page: 247
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further248Confidentiality
                                                           of 382. PageID #: 210338
                                                                               Review

      1               Q.       So was this a document that
      2     was provided to the sales reps?
      3                        MR. ROTH:       Objection.       Form.
      4               Mischaracterizes the document.
      5                        THE WITNESS:        It appears it
      6               references a cancelled meeting.
      7               This was around the time that the
      8               Watson merger was happening, and I
      9               know that meetings were cancelled.
     10                        And when I read Nathalie's
     11               e-mail, she's asking, would you
     12               happen to have any agenda draft
     13               materials available from the
     14               cancelled meeting?
     15                        So I don't know for sure if
     16               this was given or not.
     17     BY MS. BAIG:
     18               Q.       Would there have been a new
     19     strengths launch document, though,
     20     provided to the sales reps?
     21                        MR. ROTH:       Objection.       Form.
     22                        THE WITNESS:        Would there
     23               have been, I'm sorry, what?
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 248
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further249Confidentiality
                                                           of 382. PageID #: 210339
                                                                               Review

      1               Q.       A launch document like this
      2     presented to the sales reps?
      3               A.       It would have been
      4     presented, it wouldn't have been
      5     provided.       Everything would have been
      6     stamped for internal purposes only.
      7               Q.       So they wouldn't get a copy
      8     of it?     The sales reps would not receive
      9     a copy?
     10               A.       Not normally.         It was not
     11     normally approved to get distributed to
     12     the sales force, no.
     13               Q.       You would just present it to
     14     them via PowerPoint?
     15               A.       Uh-huh.
     16               Q.       Can you turn to Bates stamp
     17     page Actavis 0192973?
     18               A.       Is that in the PowerPoint?
     19               Q.       It is, yes.        It's Page 3 of
     20     the PowerPoint, I believe.
     21               A.       Got it.
     22               Q.       At the top, it says, New
     23     strength recommendations.
     24               A.       Correct.

    Golkow Litigation Services                                            Page: 249
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further250Confidentiality
                                                           of 382. PageID #: 210340
                                                                               Review

      1               Q.       And so was the strategy to
      2     target top existing prescribers initially
      3     with current strengths along with the
      4     addition of new strengths?
      5                        MR. ROTH:       Object to the
      6               form.
      7                        THE WITNESS:        Based on
      8               what's here, yes.
      9     BY MS. BAIG:
     10               Q.       And to look for new
     11     prescriber audiences?
     12               A.       It says, Expand to a new
     13     prescriber audience, look for new
     14     prescribers.
     15               Q.       Prescriber --
     16               A.       Niches.
     17                        And the goal was to develop
     18     a medically compelling story prior to
     19     reaching new prescribers; is that right.
     20                        MR. ROTH:       Object to the
     21               form.     Mischaracterizes the
     22               document.
     23     BY MS. BAIG:
     24               Q.       Well, does the sentence say,

    Golkow Litigation Services                                            Page: 250
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further251Confidentiality
                                                           of 382. PageID #: 210341
                                                                               Review

      1     Develop a medically compelling story
      2     prior to reaching new prescribers?
      3               A.       I think what that would
      4     refer to is you can't go in to someone
      5     who's never prescribed Kadian and say,
      6     hey, we have new strengths.               They're not
      7     going to care, because they've never
      8     written it.
      9                        So you have to talk about
     10     the medical data before you can talk
     11     about new strengths.
     12               Q.       You have to provide them
     13     with a medically compelling story,
     14     correct?
     15                        MR. ROTH:       Object to the
     16               form.
     17     BY MS. BAIG:
     18               Q.       Well, is that what the
     19     document says, Develop a medically
     20     compelling story?
     21               A.       It does.
     22               Q.       Okay.     And does it also
     23     state that new strengths will be launched
     24     the week of September 10th?

    Golkow Litigation Services                                            Page: 251
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further252Confidentiality
                                                           of 382. PageID #: 210342
                                                                               Review

      1               A.       It does.
      2               Q.       And that's 2012, correct?
      3               A.       Yes.
      4               Q.       Okay.     And it further states
      5     that pharmacy stocking strategy would
      6     need to be a key priority, correct?
      7               A.       I'm sorry, I lost my page
      8     here.     It was slide number what?
      9               Q.       Slide number 3.
     10                        MR. ROTH:       973 is the Bates
     11               stamp.
     12                        THE WITNESS:        Got it.      Okay.
     13                        Yes.
     14     BY MS. BAIG:
     15               Q.       Do you know why this meeting
     16     was cancelled?
     17               A.       Watson did not want to spend
     18     any more money on the sales force, with
     19     their plans to terminate it.
     20                        MS. BAIG:       Let's have this
     21               document marked as Exhibit-13.
     22               It's Actavis 0413235 to 0413321.
     23                              -   -   -
     24                        (Whereupon, Allergan-Altier

    Golkow Litigation Services                                            Page: 252
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further253Confidentiality
                                                           of 382. PageID #: 210343
                                                                               Review

      1               Exhibit-13, Actavis 0413235-3321,
      2               was marked for identification.)
      3                            -    -   -
      4     BY MS. BAIG:
      5               Q.       It's an e-mail from Mark
      6     Killion to you, dated July 10th, 2012,
      7     attaching a Kadian training meeting
      8     marketing presentation, correct?
      9               A.       I don't believe it's a
     10     marketing presentation.             But -- it's
     11     called marketing -- one of them is called
     12     marketing presentation.             The other one is
     13     called training meeting, Somerset.
     14               Q.       So there's two attachments,
     15     two PowerPoints, right?
     16               A.       Correct.      I believe so.         Let
     17     me -- let me find --
     18               Q.       Take a look at it.
     19               A.       -- where one starts and --
     20     okay.
     21                        Yes.
     22               Q.       And what was the Kadian
     23     training meeting in Somerset in October
     24     of 2011?       Do you recall?

    Golkow Litigation Services                                            Page: 253
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further254Confidentiality
                                                           of 382. PageID #: 210344
                                                                               Review

      1               A.       Somerset was, I believe,
      2     inVentiv's headquarters.              So perhaps we
      3     were training new reps.
      4               Q.       Where is Somerset?
      5               A.       New Jersey.
      6               Q.       And if you turn to Page 5 of
      7     that first attachment, it says, LAO
      8     formulary status for top 25 U.S.
      9     commercial health plans.
     10                        Do you see that?
     11               A.       I do.
     12               Q.       What is -- what does LAO
     13     stand for?
     14               A.       Long-acting opioid.
     15               Q.       So here is the formulary
     16     status for long-acting opioids.
     17                        And it shows -- what does
     18     this show?
     19               A.       It shows formulary status
     20     for those products.
     21               Q.       So, for example, for United
     22     Health Group, which is Number 1 -- so
     23     these are all the top 25 U.S. commercial
     24     health plans, right?

    Golkow Litigation Services                                            Page: 254
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further255Confidentiality
                                                           of 382. PageID #: 210345
                                                                               Review

      1               A.       Uh-huh.
      2               Q.       So we take the top one,
      3     United Health Group, and what is Kadian's
      4     formulary status?
      5               A.       Not covered.
      6               Q.       It's not covered.           Okay.
      7                        And what is tier 2 in a
      8     formulary status?           What does that mean?
      9               A.       So tier 1 is generic.            Tier
     10     2 is preferred.          Tier 3 is on formulary.
     11     And, I mean, this is -- you know, back in
     12     the dark ages.
     13                        Now there's, like, tier 8s
     14     and all this.         But at this time, tier 1
     15     was generic, tier 2 was preferred, tier 3
     16     was covered.        They don't even go into
     17     tier 4, so then it would just be not
     18     covered.
     19               Q.       And what was the goal?             I
     20     mean, what would your preference be for
     21     your company's drugs?
     22                        MR. ROTH:       Object to the
     23               form.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 255
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further256Confidentiality
                                                           of 382. PageID #: 210346
                                                                               Review

      1               Q.       Tier 1?
      2               A.       It would depend on your
      3     strategy.       Only generics would be tier 1.
      4     If you were willing to pay for, you know,
      5     privileged or higher tiering, you got
      6     tiering.
      7               Q.       So, for example, for Aetna,
      8     Kadian is listed as tier 2, correct?
      9               A.       Correct.
     10               Q.       And would that be the result
     11     of negotiations between Actavis and
     12     Aetna?
     13                        MR. ROTH:       Objection.       Form.
     14               Lacks foundation.           Calls for
     15               speculation.
     16                        THE WITNESS:        That could
     17               have been any number of reasons;
     18               contracting between Actavis and
     19               Aetna, previous dealings with
     20               Alpharma and Aetna, just because
     21               Aetna liked it, the medical
     22               director on the staff liked it.
     23               There's a number of reasons.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 256
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further257Confidentiality
                                                           of 382. PageID #: 210347
                                                                               Review

      1               Q.       Could it also be because
      2     Actavis is paying more to be at a higher
      3     tier level?
      4                        MR. ROTH:       Objection to
      5               form.     Calls for speculation.
      6                        THE WITNESS:        That's a
      7               potential.        This is not my area of
      8               expertise.        I've never been
      9               involved in managed care
     10               contracting.
     11     BY MS. BAIG:
     12               Q.       So where would you get this
     13     information from when you're creating a
     14     presentation like this?
     15               A.       There are companies that
     16     provide this information.              MMIT is a big
     17     one.
     18               Q.       Which one?
     19               A.       MMIT.
     20               Q.       Do you know what that stands
     21     for?     Do you know?
     22               A.       Managed Markets Information
     23     something.
     24               Q.       And where would you get this

    Golkow Litigation Services                                            Page: 257
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further258Confidentiality
                                                           of 382. PageID #: 210348
                                                                               Review

      1     information, from what department at
      2     Actavis, or what person?
      3               A.       Whoever was handling managed
      4     care.     I don't -- I don't know that we
      5     had anybody at this time -- oh, here.
      6     I'm sorry, it's at the bottom.
      7                        Fingertip Formulary.            And
      8     that's an online tool.             So that's just
      9     publicly available.
     10                        And the AIS directory of
     11     health plans, 2001 -- 2011.
     12               Q.       So this information was
     13     publicly available and you just pulled it
     14     and put it in the PowerPoint?
     15               A.       I didn't put this particular
     16     PowerPoint together.            I put the other one
     17     together.
     18               Q.       Okay.     And do you see on
     19     Page 17, there's a slide that's titled,
     20     Kadian Territory Expansion?
     21               A.       Uh-huh.      I do.
     22               Q.       And are the shaded areas,
     23     are those the areas where you were
     24     expanding, or do you know?

    Golkow Litigation Services                                            Page: 258
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further259Confidentiality
                                                           of 382. PageID #: 210349
                                                                               Review

      1               A.       I'm looking.        I'm trying to
      2     look at the code here.
      3                        I believe so.         So the code
      4     there, the legend, seems to correspond to
      5     the territories that are listed on the
      6     side.
      7               Q.       So does that mean what's
      8     white was your existing territories?
      9                        MR. ROTH:       Object to form.
     10                        THE WITNESS:        No.     I don't
     11               believe you can make that
     12               assumption, because I don't
     13               believe that these new territories
     14               meant we were now covering the
     15               entire United States.
     16     BY MS. BAIG:
     17               Q.       So this chart does not
     18     reflect -- does not show your existing
     19     territories; is that correct?
     20               A.       Correct.      Correct.
     21               Q.       And who would make the
     22     decision as to the territory expansion?
     23               A.       Who would make the decision?
     24     Ultimately, I guess, Terry Fullem, with

    Golkow Litigation Services                                            Page: 259
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further260Confidentiality
                                                           of 382. PageID #: 210350
                                                                               Review

      1     input from Nathalie and the sales team.
      2               Q.       Can you turn to Page 18?
      3                        It starts, Background, and
      4     it talks about --
      5               A.       Oh, 18 in that same
      6     presentation?
      7               Q.       It's Actavis 0413298.
      8               A.       Oh, okay.       I was on -- so
      9     you're in a different presentation now?
     10               Q.       Yes.
     11               A.       Page 18?
     12               Q.       Yes.
     13                        MR. ROTH:       Page 18 of the
     14               second presentation.
     15                        THE WITNESS:        Background.
     16     BY MS. BAIG:
     17               Q.       It's Actavis 0413298.
     18               A.       Yep.
     19               Q.       Okay.     And you have
     20     background and it states, Telephone
     21     interviews with pain medicine specialists
     22     were conducted from December 10th to the
     23     24th, 2010.
     24                        Do you see that?

    Golkow Litigation Services                                            Page: 260
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further261Confidentiality
                                                           of 382. PageID #: 210351
                                                                               Review

      1               A.       Yes.     I'm just flipping
      2     back.     If you note the page before, these
      3     are, again, market research results.                   So
      4     this would have been conducted by a third
      5     party.
      6               Q.       Does it say here who
      7     conducted the market research?
      8               A.       It does not.
      9               Q.       The title of this one is,
     10     Marketing Overview, right?
     11               A.       Yes.     I'm sorry, the slide
     12     17, it says, Market research results.
     13               Q.       Got it.      Okay.
     14                        So Slide 18, you've got the
     15     background.        So you didn't generally put
     16     who conducted the market research in
     17     here?
     18               A.       No.
     19               Q.       But it would have been a
     20     third party?
     21               A.       Correct.
     22               Q.       Possibly Campbell Alliance
     23     or LPG?
     24               A.       Correct.

    Golkow Litigation Services                                            Page: 261
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further262Confidentiality
                                                           of 382. PageID #: 210352
                                                                               Review

      1               Q.       And it appears that they
      2     contacted 29 physicians; is that right?
      3               A.       Correct.
      4               Q.       What does loyalist mean?
      5               A.       They were Kadian
      6     prescribers.
      7               Q.       Competitors mean they were
      8     prescribing a competitive drug?
      9               A.       Correct.
     10               Q.       What are spreaders?
     11               A.       Both, they prescribe both.
     12               Q.       Oh, okay.       And this was a
     13     study that was done on morphine sulfate
     14     extended-release capsules, correct?
     15                        MR. ROTH:       Object to the
     16               form.
     17                        THE WITNESS:        I don't think
     18               so, based on the --
     19     BY MS. BAIG:
     20               Q.       I'm just looking at the top
     21     right corner.
     22               A.       Top right where?
     23               Q.       On that same page.
     24               A.       Telephone interviews with

    Golkow Litigation Services                                            Page: 262
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further263Confidentiality
                                                           of 382. PageID #: 210353
                                                                               Review

      1     pain medicine specialists were
      2     conducted --
      3               Q.       The top right in small
      4     print.
      5               A.       That's our logo, Kadian.
      6               Q.       And then morphine sulfate.
      7               A.       That's what Kadian is.
      8               Q.       Yes, okay.
      9                        On the next page, it says,
     10     Physicians prefer to write branded
     11     products.
     12               A.       Uh-huh.
     13               Q.       Why was that?         Do you know?
     14               A.       I don't know.         No, they
     15     didn't -- there's no probing here.
     16               Q.       That's not a general
     17     proposition, but specific to this?
     18               A.       That was based on the 29
     19     physicians.
     20               Q.       And so based on that study
     21     of 29 physicians, one of the findings, as
     22     reported here, anyway, was that OxyContin
     23     overwhelmingly has the most potential for
     24     abuse; is that right?

    Golkow Litigation Services                                            Page: 263
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further264Confidentiality
                                                           of 382. PageID #: 210354
                                                                               Review

      1               A.       That was --
      2                        MR. ROTH:       Objection to the
      3               form.
      4                        THE WITNESS:        According to
      5               the bullet there, the new
      6               formulation of OxyContin is
      7               perceived to be better, but
      8               physicians are still learning
      9               about it.       So that was -- that was
     10               their perception.
     11     BY MS. BAIG:
     12               Q.       So their perception was that
     13     OxyContin overwhelmingly has the most
     14     potential for abuse?
     15               A.       According to the 29 doctors,
     16     yes.
     17               Q.       On Slide 22, do you see that
     18     it says, All doctors are concerned with
     19     safety, abuse potential and diversion?
     20               A.       Yes.
     21               Q.       Do you recall what you
     22     trained the sales reps to say with
     23     respect to Kadian, regarding safety
     24     abuse, potential diversion?

    Golkow Litigation Services                                            Page: 264
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further265Confidentiality
                                                           of 382. PageID #: 210355
                                                                               Review

      1               A.       Yes.
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        I'm sorry.
      5                        They had to deliver all the
      6               safety information that was
      7               included in the detail aids.
      8     BY MS. BAIG:
      9               Q.       Were these marketing studies
     10     or were these -- what do you call this
     11     document?
     12               A.       Market research.
     13               Q.       Market research study.
     14                        You paid a third-party
     15     entity to conduct it, correct?
     16               A.       Correct.
     17               Q.       And did that come out of
     18     your budget?
     19               A.       Yes.
     20               Q.       It came out of the marketing
     21     budget?
     22               A.       It would, yes.
     23               Q.       And on Page 33, do you see
     24     there's a heading -- or on 32, there's a

    Golkow Litigation Services                                            Page: 265
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further266Confidentiality
                                                           of 382. PageID #: 210356
                                                                               Review

      1     section called, Objection Handling?
      2               A.       Yes.
      3               Q.       So is this the marketing
      4     research part that essentially advises
      5     you on how to handle objections?
      6               A.       This has nothing to do with
      7     market research.          This would have been
      8     prepared by us.
      9               Q.       So you prepared this based
     10     on the information that you got from the
     11     market research study?
     12                        MR. ROTH:       Object to the
     13               form.
     14                        THE WITNESS:        Or just
     15               information we had in general.
     16     BY MS. BAIG:
     17               Q.       Based on -- okay.
     18                        And on Page 40, profile 3 --
     19               A.       Yes.
     20               Q.       -- it says, Dr. Evil is a
     21     low-volume prescriber of Kadian.
     22                        Do you see that?
     23               A.       I do.
     24               Q.       Did you prepare that slide?

    Golkow Litigation Services                                            Page: 266
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further267Confidentiality
                                                           of 382. PageID #: 210357
                                                                               Review

      1               A.       I don't recall.
      2               Q.       It goes on to state, He
      3     serves a low-income population of
      4     patients and feels that generic morphine
      5     sulfate is the best option for them.
      6               A.       Uh-huh.
      7               Q.       He has not been called on by
      8     a Kadian representative in over two
      9     years.
     10                        Why would he have been
     11     referred to as Dr. Evil?
     12               A.       I think we were just picking
     13     names.     There's -- you know, Dr. No was
     14     the previous one.           Dr. Blofeld -- these
     15     were just meant to be made-up names.                   I
     16     think -- God, what's the movie?
     17                        MR. ROTH:       Austin Powers.
     18                        THE WITNESS:        Austin Powers
     19               was popular that year.
     20     BY MS. BAIG:
     21               Q.       Are you familiar with The
     22     Journal of Pain?
     23               A.       No.    If there is one, I'll
     24     believe you.        But, usually, there's

    Golkow Litigation Services                                            Page: 267
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further268Confidentiality
                                                           of 382. PageID #: 210358
                                                                               Review

      1     Journal of Pain Management, Journal of
      2     Pain Medicine.         Just The Journal of Pain,
      3     I'm not --
      4               Q.       Put out by the American Pain
      5     Society?
      6               A.       Okay.      I'm not super
      7     familiar.       But I'll take your word for
      8     it.
      9               Q.       There's one called Clinical
     10     Guidelines for the Use of Chronic Opioid
     11     Therapy.
     12                        Are you familiar with that?
     13               A.       No.
     14                        MS. BAIG:          Let's have this
     15               document marked as Exhibit-14.
     16                        MR. ROTH:          Before we do
     17               that, can we go off for a second?
     18                        VIDEO TECHNICIAN:           The time
     19               is 1:25 p.m.           Off the record.
     20                              -    -    -
     21                        (Whereupon, a luncheon
     22               recess was taken.)
     23                            -     -    -
     24                        VIDEO TECHNICIAN:           The time

    Golkow Litigation Services                                            Page: 268
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further269Confidentiality
                                                           of 382. PageID #: 210359
                                                                               Review

      1               is 2:22 p.m.           Back on the record.
      2                        MS. BAIG:          I'd like to have
      3               the next document marked as
      4               Exhibit-14, please.
      5                              -    -    -
      6                        (Whereupon, Allergan-Altier
      7               Exhibit-14, Actavis 0685080-5122,
      8               was marked for identification.)
      9                            -     -    -
     10                        MS. BAIG:          This is a
     11               document that's Bates stamped
     12               Actavis 0685080 to Actavis
     13               0685122.
     14     BY MS. BAIG:
     15               Q.       It starts with an e-mail
     16     string from Lisa Miller to you, Jennifer
     17     Altier, on October 25th, 2012.
     18                        Do you see that?
     19               A.       Yes.
     20               Q.       Okay.      And the subject is
     21     Chou and update.           Chou, 2009, opioid
     22     treatment guidelines are shown as
     23     attached.
     24                        Do you see that?

    Golkow Litigation Services                                            Page: 269
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further270Confidentiality
                                                           of 382. PageID #: 210360
                                                                               Review

      1               A.       Yes.     I'm just reading what
      2     I wrote down here.
      3               Q.       Do you know what Chou stands
      4     for?     C-H-O-U.
      5               A.       I believe it's the author of
      6     the article attached.            Yeah, it's the
      7     lead author.
      8               Q.       And the article attached is
      9     an article entitled, Opioid Treatment
     10     Guidelines, Clinical Guidelines for the
     11     Use of Chronic Opioid Therapy in Chronic
     12     Noncancer Pain.
     13                        Do you see that?
     14               A.       I do.
     15               Q.       And that's an article that
     16     was published by The Journal of Pain in
     17     February of 2009.
     18                        Do you see that?
     19               A.       I do.
     20               Q.       The funding came from the
     21     American Pain Society, do you see that,
     22     in the very bottom --
     23               A.       Yes.
     24               Q.       -- quarter?

    Golkow Litigation Services                                            Page: 270
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further271Confidentiality
                                                           of 382. PageID #: 210361
                                                                               Review

      1               A.       2009.
      2               Q.       It says, Funding from the
      3     American Pain Society?
      4                        MR. ROTH:       Okay.
      5     BY MS. BAIG:
      6               Q.       Well, it says, This article
      7     is based on research conducted at the
      8     Oregon Evidence-Based Practice Center
      9     with funding from the American Pain
     10     Society, APS.
     11                        Do you see that?
     12               A.       I do.
     13               Q.       Now, do you recall why it
     14     was that you were being sent this
     15     article?
     16               A.       It looks like we were using
     17     it as a reference for the statement in
     18     bold that I have there.
     19               Q.       The statement, In patients
     20     who are opioid naive or have modest
     21     previous opioid exposure, opioids should
     22     be started at a low dose and titrated
     23     slowly to decrease risk of opioid-related
     24     adverse effects.

    Golkow Litigation Services                                            Page: 271
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further272Confidentiality
                                                           of 382. PageID #: 210362
                                                                               Review

      1                        Is that the statement?
      2               A.       Correct.
      3               Q.       So you were looking for
      4     support for that, and you found it in the
      5     Pain Society funded article --
      6                        MR. ROTH:       Object to form.
      7     BY MS. BAIG:
      8               Q.       -- called Opioid Treatment
      9     Guidelines?
     10               A.       I don't know that I found
     11     it.    I seemed to be looking for it.
     12               Q.       You were looking for it.
     13     Okay.
     14                        And who is Ivan Shaw?
     15               A.       He was a part of the medical
     16     team supporting the prelaunch for MoxDuo.
     17               Q.       What department was Ivan
     18     Shaw in?
     19               A.       Medical affairs.
     20               Q.       And is that the team that
     21     you would typically reach out to if you
     22     needed support for something that you
     23     were going to use in a marketing
     24     material?

    Golkow Litigation Services                                            Page: 272
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further273Confidentiality
                                                           of 382. PageID #: 210363
                                                                               Review

      1                        MR. ROTH:       Object to the
      2               form.
      3                        THE WITNESS:        I mean, there
      4               are a lot of resources.              If I were
      5               looking for medical information, I
      6               would go to medical affairs.
      7     BY MS. BAIG:
      8               Q.       And do you see, on the first
      9     page of the article, the list of authors?
     10               A.       I do.
     11               Q.       And do you see Perry Fine is
     12     listed there?
     13               A.       Yes.
     14               Q.       And are any of the other --
     15     do you see that Russell K. Portenoy is
     16     also listed there?
     17               A.       I do.
     18               Q.       And Perry Fine was on the
     19     medical advisory board that we discussed
     20     earlier, right?
     21               A.       Correct.
     22                        MR. ROTH:       Object to the
     23               form.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 273
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further274Confidentiality
                                                           of 382. PageID #: 210364
                                                                               Review

      1               Q.       Are any of the other people
      2     that are listed here, do you recognize
      3     them as being on medical advisory boards
      4     at Allergan?
      5                        MR. ROTH:       Object to the
      6               form.
      7                        THE WITNESS:        I wasn't at
      8               Allergan.       I was at Actavis.
      9                        None of the other names, off
     10               the top of my head, are familiar,
     11               no.
     12     BY MS. BAIG:
     13               Q.       Did you have any other
     14     communications with Perry Fine, other
     15     than the medical advisory board that we
     16     already talked about?
     17               A.       Not that I recall, no.
     18               Q.       How about Russell Portenoy?
     19               A.       No, not that I recall.
     20               Q.       Do you recall using this
     21     article for any other purposes?
     22               A.       No.    It looks like we wanted
     23     it for the MoxDuo detail aid; but since
     24     that product wasn't launched, we didn't

    Golkow Litigation Services                                            Page: 274
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further275Confidentiality
                                                           of 382. PageID #: 210365
                                                                               Review

      1     use it.
      2               Q.       Are you familiar with any
      3     speakers bureaus run by Actavis?
      4               A.       We did none, no.
      5               Q.       If you go to Page Actavis
      6     0685100, you'll see there's a reference
      7     to -- you see there's another reference
      8     to Perry Fine there?
      9               A.       I do.
     10               Q.       And it indicates that he was
     11     serving on advisory boards related to
     12     opioid analgesics for Alpharma, Cephalon,
     13     Endo Pharmaceuticals, GlaxoSmithKline,
     14     Lilly, Merck, NIH, Ortho-McNeil, J&J,
     15     Purdue Pharma and Wyeth.
     16                        Do you see that?
     17               A.       I do.
     18               Q.       And do you see further down
     19     there's a reference to Jeremy Adler?
     20               A.       Yes.
     21               Q.       And he's identified as
     22     serving on speakers bureaus for Alpharma,
     23     Elan, Endo, Pfizer and Victory
     24     Pharmaceutical Companies.

    Golkow Litigation Services                                            Page: 275
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further276Confidentiality
                                                           of 382. PageID #: 210366
                                                                               Review

      1                        Do you see that?
      2               A.       I do.
      3               Q.       Did you ever have any
      4     communications with Jeremy Adler?
      5               A.       No, not that I recall.
      6               Q.       And do you see the next one
      7     is Pamela Davies, on the next page?
      8               A.       Yes.
      9               Q.       And it's indicated there
     10     that she receives honorarium patients
     11     from Alpharma and Endo Pharmaceuticals
     12     for work as a clinical advisor.
     13                        Do you see that?
     14               A.       I do.
     15               Q.       And the last name on that
     16     page, Jeffrey Fooden.
     17               A.       Uh-huh.
     18               Q.       And do you see there that it
     19     indicates that he was on speakers bureaus
     20     for advisory boards for Abbott, Alpharma,
     21     Calloway Labs, Janssen and PriCara?
     22               A.       I do.
     23               Q.       Did you have any
     24     communication with either of those

    Golkow Litigation Services                                            Page: 276
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further277Confidentiality
                                                           of 382. PageID #: 210367
                                                                               Review

      1     individuals?
      2               A.       No, not that I recall.
      3               Q.       Do you know if this
      4     article -- what it was used to support in
      5     terms of Kadian marketing?
      6                        MR. ROTH:       Object to the
      7               form.
      8                        THE WITNESS:        I don't know
      9               that it was used for Kadian at
     10               all.
     11                        My -- you know, this is
     12               2012.     We were, you know, winding
     13               down operations at this point.                 I
     14               don't know that it was used at
     15               all.
     16     BY MS. BAIG:
     17               Q.       You don't know whether it
     18     was or it was not, right?
     19               A.       Right.     My assumption was
     20     that it was actually pulled for MoxDuo
     21     just because Ivan was involved in it.
     22                        But I don't know.           I don't
     23     know what it was used for.
     24               Q.       If you'd turn to Actavis

    Golkow Litigation Services                                            Page: 277
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further278Confidentiality
                                                           of 382. PageID #: 210368
                                                                               Review

      1     0685103.
      2               A.       Yes.
      3               Q.       And you see Russell Portenoy
      4     is listed there?
      5               A.       Yes.
      6               Q.       And it's indicated that he
      7     has consulting agreements with an
      8     extensive list of pharmaceutical
      9     companies?
     10               A.       Yes.
     11               Q.       And then further down it has
     12     Nox H. Todd?
     13               A.       Yes.
     14               Q.       And you see there there's
     15     consulting payments indicated from
     16     Johnson & Johnson, Alpharma and others?
     17               A.       Yes.
     18               Q.       So other than the advisory
     19     board for MoxDuo, did you have any other
     20     participation with any other advisory
     21     boards?
     22               A.       No.
     23               Q.       Are you aware of any other
     24     advisory boards for any of the opioid

    Golkow Litigation Services                                            Page: 278
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further279Confidentiality
                                                           of 382. PageID #: 210369
                                                                               Review

      1     drugs at Actavis?
      2               A.       No.
      3                        MR. ROTH:       Object to the
      4               form.     Asked and answered.
      5                        THE WITNESS:        Sorry, no.
      6     BY MS. BAIG:
      7               Q.       So you're not aware of any
      8     Kadian advisory board?
      9                        MR. ROTH:       Objection.       Asked
     10               and answered.
     11                        THE WITNESS:        I'm not.
     12     BY MS. BAIG:
     13               Q.       Are you aware of whether any
     14     Kadian advisory board was ever
     15     considered?
     16               A.       I believe a host of programs
     17     and tactics were considered, and an
     18     advisory board could have possibly been
     19     considered.
     20               Q.       Okay.
     21                        MS. BAIG:       So this document
     22               we'll have marked as Exhibit-15.
     23               And it's Bates stamped Actavis
     24               0821336 through 0821339.

    Golkow Litigation Services                                            Page: 279
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further280Confidentiality
                                                           of 382. PageID #: 210370
                                                                               Review

      1                              -    -    -
      2                        (Whereupon, Allergan-Altier
      3               Exhibit-15, Actavis 0821336-1339,
      4               was marked for identification.)
      5                            -     -    -
      6     BY MS. BAIG:
      7               Q.       The title is, Actavis U.S.
      8     Kadian Advisory Board, 2011.                Submitted
      9     to Jennifer Altier, marketing director,
     10     it says on the front cover.
     11                        Do you see that?
     12               A.       I do.
     13               Q.       And this was, as noted on
     14     the front cover, submitted to you by
     15     Genesis Associates?
     16               A.       Yes.
     17               Q.       And do you see on the first
     18     page, it states, Project scope and
     19     objectives?
     20               A.       Yes.
     21               Q.       And it states that, Actavis
     22     has solicited the support of Genesis
     23     Associates, Inc., in the development of a
     24     Kadian advisory board to be convened,

    Golkow Litigation Services                                            Page: 280
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further281Confidentiality
                                                           of 382. PageID #: 210371
                                                                               Review

      1     ideally, in August or September of 2011.
      2               A.       Yes.
      3               Q.       Do you see that?
      4               A.       I do.
      5               Q.       Does this refresh your
      6     recollection that there was an advisory
      7     board, or at least one contemplated for
      8     Kadian?
      9                        MR. ROTH:       Objection.       Form.
     10               Mischaracterizes the document.
     11                        THE WITNESS:        This says that
     12               there was a proposal submitted.                 I
     13               don't believe this was ever held.
     14     BY MS. BAIG:
     15               Q.       Okay.     So it was something
     16     that was maybe considered?
     17               A.       Yes.
     18               Q.       Okay.     And it states that,
     19     the third paragraph, that, The proposed
     20     meeting is a one-day, 8:00 a.m. to 4:00
     21     p.m., with 12 key experts in pain
     22     management.
     23                        Do you see that?
     24               A.       I do.

    Golkow Litigation Services                                            Page: 281
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further282Confidentiality
                                                           of 382. PageID #: 210372
                                                                               Review

      1               Q.       And amongst some of the
      2     advisors identified there are Scott
      3     Fishman.
      4                        Do you see that?
      5               A.       I see that name.
      6               Q.       And, to your knowledge, did
      7     this advisory board ever take place?
      8               A.       I'm just looking.           I'm
      9     looking at the venue in Jersey City.                   I
     10     remember a Hoboken meeting, but I don't
     11     recall what it was.           I'm thinking that
     12     was the MoxDuo advisory board, but I
     13     could be getting my locations mixed up.
     14               Q.       Well, you see the first
     15     page, the title says, Kadian Advisory
     16     Board?
     17               A.       No, no, I know.          I'm just
     18     trying to remember if there was -- if
     19     this came to be.          I don't recall.
     20               Q.       You don't recall --
     21               A.       I don't recall if it got
     22     past the proposal stage.
     23               Q.       So do you see on the second
     24     page of the document, not counting the

    Golkow Litigation Services                                            Page: 282
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further283Confidentiality
                                                           of 382. PageID #: 210373
                                                                               Review

      1     title page, it says, Fees and payment
      2     terms?
      3               A.       Yes.
      4               Q.       And it provides preliminary
      5     estimates of total costs.
      6               A.       Yes.
      7               Q.       Do you see that?
      8               A.       I do.
      9               Q.       And it states that, Budget
     10     assumptions include honorarium, hotel and
     11     travel expenses for 12 consultants.
     12               A.       Correct.
     13               Q.       At $3,000 honorarium and
     14     chair honorarium of $3,500?
     15               A.       Yes.
     16               Q.       So you don't recall, one way
     17     or another, as to whether or not this
     18     Kadian advisory board actually took place
     19     or not?
     20                        MR. ROTH:       Object to the
     21               form.     Asked and answered.
     22                        THE WITNESS:        I know that
     23               sounds crazy, I don't.             I don't
     24               believe we would have had one for

    Golkow Litigation Services                                            Page: 283
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further284Confidentiality
                                                           of 382. PageID #: 210374
                                                                               Review

      1               Kadian.      I don't recall ever
      2               holding a meeting for Kadian like
      3               this.
      4     BY MS. BAIG:
      5               Q.       If it did take place, who
      6     else would have been involved?
      7                        MR. ROTH:       Objection.       Calls
      8               for speculation.          Form.
      9                        THE WITNESS:        Based on who
     10               attended the MoxDuo meeting, I
     11               would say Nathalie would have been
     12               there.
     13     BY MS. BAIG:
     14               Q.       Was Nathalie at the MoxDuo
     15     meeting?
     16               A.       I believe -- yes.
     17               Q.       So it would just be -- if it
     18     had gone forward, it would likely have
     19     been you, Nathalie and --
     20               A.       Nathalie, yes.
     21               Q.       -- and the medical advisors
     22     who --
     23               A.       I don't know if they were on
     24     board in 2011 at that time.

    Golkow Litigation Services                                            Page: 284
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further285Confidentiality
                                                           of 382. PageID #: 210375
                                                                               Review

      1               Q.       No.    I meant the clinicians
      2     identified on the first page.
      3               A.       Oh, I'm sorry.         Yes.
      4               Q.       In your capacity as
      5     marketing director, did you receive
      6     adverse reports?
      7               A.       No.
      8               Q.       You never received any
      9     adverse incident reports?
     10               A.       That would have been
     11     pharmacovigilance.
     12               Q.       And who headed the
     13     pharmacovigilance department?
     14               A.       I don't know.         I believe it
     15     falls under regulatory, but I'm not sure.
     16               Q.       Do you know anybody that was
     17     in the pharmacovigilance department when
     18     you were there?
     19               A.       I don't.
     20               Q.       You never had any occasion
     21     to talk with anybody from
     22     pharmacovigilance?
     23               A.       Not that I'm aware of, no.
     24               Q.       And you never had any

    Golkow Litigation Services                                            Page: 285
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further286Confidentiality
                                                           of 382. PageID #: 210376
                                                                               Review

      1     occasion to see any adverse reports?
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        No.
      5     BY MS. BAIG:
      6               Q.       Did you ever have -- did you
      7     ever receive any information about
      8     adverse reports?
      9                        MR. ROTH:       Object to form.
     10                        THE WITNESS:        Specifically,
     11               any reports that came in --
     12     BY MS. BAIG:
     13               Q.       Or generally.
     14                        You testified that you
     15     didn't ever actually see the reports --
     16               A.       Right.     Right.
     17               Q.       -- or talk with anybody from
     18     the pharmacovigilance department.
     19               A.       Right.
     20               Q.       But my question now is a
     21     little bit broader.
     22                        Did you ever receive any
     23     summary information or any information
     24     about adverse reports?

    Golkow Litigation Services                                            Page: 286
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further287Confidentiality
                                                           of 382. PageID #: 210377
                                                                               Review

      1               A.       Not that I recall.
      2               Q.       Who is Cardinal Health
      3     Specialty Pharmaceutical Services?
      4               A.       I believe they are a major
      5     wholesaler.
      6               Q.       So just -- that's the same
      7     as Cardinal Health?
      8               A.       It's a subsidiary, I
      9     believe.
     10               Q.       And did you work directly
     11     with Cardinal Health at all?
     12               A.       Every once in a while they
     13     would offer marketing programs to us,
     14     based on, you know, business.                So a very
     15     tertiary role with their marketing team.
     16               Q.       So their marketing team
     17     would reach out directly to you, or how
     18     would that work?
     19               A.       No.    It would come through a
     20     trade.
     21               Q.       So can you give me an
     22     example of how that happened in the past
     23     when you were there?
     24               A.       Sure.     They would run

    Golkow Litigation Services                                            Page: 287
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further288Confidentiality
                                                           of 382. PageID #: 210378
                                                                               Review

      1     programs where you would earn a certain
      2     amount of points, you know, earn three
      3     marketing points and you could do --
      4     select from different programs they had
      5     for marketing.
      6                        So Ara, in trade, would
      7     alert me, hey, we have three marketing
      8     points, what would you like to do.
      9               Q.       So the person whose name is
     10     Ara in the trade department would alert
     11     you that Cardinal --
     12               A.       Cardinal was offering --
     13               Q.       Three marketing points?
     14               A.       That we had earned three
     15     marketing points with Cardinal.                 So we
     16     could send an e-mail blast or a flyer or
     17     that kind of thing.
     18               Q.       Oh, I see.       And how do you
     19     go about earning the marketing points?
     20               A.       I don't know the specifics
     21     of that.
     22               Q.       Generally.
     23               A.       We sell product through
     24     Cardinal.

    Golkow Litigation Services                                            Page: 288
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further289Confidentiality
                                                           of 382. PageID #: 210379
                                                                               Review

      1               Q.       So is it like a rebate?
      2                        MR. ROTH:       Object to the
      3               form.     Lacks foundation.           Calls
      4               for speculation.
      5                        MR. McBRIDE:        Object to
      6               form.
      7                        THE WITNESS:        I don't know.
      8               I don't believe it's a rebate.
      9     BY MS. BAIG:
     10               Q.       So if you sell a certain
     11     amount of product, in return you're
     12     awarded a certain number of points?
     13               A.       I don't know that.
     14                        MR. McBRIDE:        Objection.
     15     BY MS. BAIG:
     16               Q.       Is that your general
     17     understanding of how it works?
     18               A.       I don't know how we earn the
     19     points.      I would just get an e-mail
     20     saying we've earned points.
     21               Q.       And you would get that from
     22     Ara in the trade department?
     23               A.       Right.
     24               Q.       Do you know how he learned

    Golkow Litigation Services                                            Page: 289
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further290Confidentiality
                                                           of 382. PageID #: 210380
                                                                               Review

      1     that you received the points?
      2               A.       Through Cardinal.
      3               Q.       And what would you do with
      4     those points, as a marketing director?
      5               A.       Like I said, a flyer, an
      6     e-mail campaign, those kinds of things.
      7               Q.       So what would happen?            If
      8     you had three marketing points that could
      9     be used for purposes of a flyer, what
     10     does that mean?          You could then --
     11               A.       A Kadian flyer would go out
     12     to --
     13               Q.       To who?
     14               A.       That's a great question.              It
     15     was physicians, perhaps, or pharmacists,
     16     depending on the program.
     17               Q.       And who would send -- so
     18     Cardinal would send it out for you?
     19               A.       Yes.
     20               Q.       Did you receive similar
     21     sorts of points from any other
     22     distributors?
     23                        MR. ROTH:       Object to the
     24               form.

    Golkow Litigation Services                                            Page: 290
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further291Confidentiality
                                                           of 382. PageID #: 210381
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       For example,
      3     AmerisourceBergen?
      4               A.       I don't recall.
      5               Q.       Or from McKesson?
      6               A.       I don't recall points from
      7     them either.
      8               Q.       And where would the
      9     information be regarding how you can earn
     10     points from Cardinal Health?                Would that
     11     be in a contract --
     12               A.       I don't know.
     13               Q.       -- that Actavis has with
     14     Cardinal Health?
     15               A.       I don't know.
     16               Q.       You've never -- you've never
     17     seen any information about how Actavis
     18     can earn points from Cardinal Health?
     19               A.       No.    I don't recall seeing
     20     that, no.
     21                        MS. BAIG:       Let's have this
     22               document marked as the next
     23               exhibit.       It's going to be Exhibit
     24               Number 16.

    Golkow Litigation Services                                            Page: 291
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further292Confidentiality
                                                           of 382. PageID #: 210382
                                                                               Review

      1                              -    -    -
      2                        (Whereupon, Allergan-Altier
      3               Exhibit-16, Actavis 0977980-7998,
      4               was marked for identification.)
      5                            -     -    -
      6                        MS. BAIG:          This document is
      7               Bates stamped Actavis 0977980
      8               through 0977998.
      9     BY MS. BAIG:
     10               Q.       And if you turn to the
     11     second page, do you see it begins, Dear
     12     Erica, and it's dated April 20th, 2011?
     13               A.       Yes.
     14               Q.       And in the first full
     15     paragraph, under customer service, it
     16     states, Actavis contracts all customer
     17     service support for Kadian to a
     18     third-party vendor, Cardinal Health
     19     Specialty Pharmaceutical Services,
     20     Cardinal SPS.
     21                        Do you see that?
     22               A.       I do.
     23               Q.       It goes on to state that,
     24     Cardinal SPS provides a dedicated phone

    Golkow Litigation Services                                            Page: 292
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further293Confidentiality
                                                           of 382. PageID #: 210383
                                                                               Review

      1     and fax line for Kadian customers to
      2     phone in purchase orders and general
      3     inquiries.       Kadian customers that
      4     Cardinal SPS interacts with are primarily
      5     wholesalers and distributors.
      6                        Do you see that?
      7               A.       I do.
      8               Q.       Okay.     And do you think it's
      9     through this sort of contract that the
     10     points would be negotiated and awarded?
     11                        MR. ROTH:       Objection to
     12               form.     Lacks foundation.           Calls
     13               for speculation.
     14                        MR. McBRIDE:        Objection.
     15     BY MS. BAIG:
     16               Q.       Do you know?
     17               A.       I don't have any idea, no.
     18               Q.       Okay.     Do you know who Erica
     19     is?
     20               A.       No.    It doesn't -- the
     21     e-mail says Erica Barillo, but I don't
     22     know -- it doesn't say where she's
     23     located.
     24               Q.       Did you ever do any training

    Golkow Litigation Services                                            Page: 293
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further294Confidentiality
                                                           of 382. PageID #: 210384
                                                                               Review

      1     for -- with your sales reps regarding
      2     adverse event reporting?
      3                        MR. ROTH:       Object to the
      4               form.
      5                        THE WITNESS:        I know there
      6               was always training, in terms of
      7               if they were made aware of an
      8               adverse event, there was a phone
      9               number to call, which was the
     10               pharmacovigilance line.              And there
     11               was training around the timing
     12               that that had to be done by.
     13     BY MS. BAIG:
     14               Q.       Were you part of training
     15     the sales reps in that area?
     16               A.       No, I was not responsible
     17     for that.
     18               Q.       Who did that?
     19               A.       I don't know.         It looks like
     20     it was -- there were sign-off sheets
     21     here.     It just says inVentiv commercial
     22     services, healthcare compliance training
     23     roster.      I don't know who conducted the
     24     training.

    Golkow Litigation Services                                            Page: 294
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further295Confidentiality
                                                           of 382. PageID #: 210385
                                                                               Review

      1                        But these were the sign-in
      2     sheets that showed that the training was
      3     conducted.       And the details about that
      4     training is in the PowerPoint attached.
      5               Q.       So in the first page of that
      6     PowerPoint, it says, inVentiv healthcare
      7     compliance training interactions with
      8     healthcare professionals.              And then it
      9     says, Actavis.
     10                        Do you see that?
     11               A.       Not yet.
     12                        The first page of this
     13     PowerPoint?
     14                        MR. ROTH:       What Bates stamp
     15               are you on?
     16     BY MS. BAIG:
     17               Q.       Actavis 0977986.
     18               A.       Oh, the first one.
     19                        So right there it says it
     20     was presented by Tricia Glover and Scott
     21     Miller, who, I believe, were at inVentiv.
     22               Q.       And did you work with Tricia
     23     Glover and Scott Miller at all?
     24               A.       I don't think I know them.

    Golkow Litigation Services                                            Page: 295
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further296Confidentiality
                                                           of 382. PageID #: 210386
                                                                               Review

      1               Q.       Have you ever seen this
      2     document before?
      3               A.       It doesn't look familiar.
      4     But I used to say they all look the same.
      5     Everybody's AE product complaints are
      6     essentially the same.
      7                        MS. BAIG:          Can we have this
      8               document marked as Exhibit-17?
      9                              -    -    -
     10                        (Whereupon, Allergan-Altier
     11               Exhibit-17, Actavis 0357036-7057,
     12               was marked for identification.)
     13                            -     -    -
     14                        MS. BAIG:          The document is
     15               Bates stamped Actavis 0357036 to
     16               Actavis 0357057.             It starts as an
     17               e-mail string from Nathalie Leitch
     18               to Jennifer Altier, dated July
     19               22nd, 2011.
     20     BY MS. BAIG:
     21               Q.       And it appears to attach a
     22     PowerPoint entitled, Introduction of
     23     oxymorphone hydrochloride
     24     Extended-Release Tablets.

    Golkow Litigation Services                                            Page: 296
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further297Confidentiality
                                                           of 382. PageID #: 210387
                                                                               Review

      1               A.       Yes.
      2               Q.       And it states it's a sales
      3     training class.
      4                        Do you see that?
      5               A.       I do.
      6               Q.       Do you recall this sales
      7     training class?
      8               A.       I believe this, so this was
      9     put together by David Myers, who was the
     10     generic marketing person.
     11                        And I believe this was
     12     developed with -- our sales force briefly
     13     helped create awareness about the
     14     product, that it was available.
     15               Q.       What was David Myers's
     16     position?
     17               A.       He was in the generic
     18     marketing group.          It says he was senior
     19     manager, products and communications.
     20               Q.       Did he report to Nathalie
     21     Leitch?
     22               A.       No.    I think he would have
     23     reported to Jinping McCormick, who headed
     24     up generic marketing.

    Golkow Litigation Services                                            Page: 297
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further298Confidentiality
                                                           of 382. PageID #: 210388
                                                                               Review

      1               Q.       How do you spell Jin --
      2               A.       It's a woman.
      3     J-I-N-P-I-N-G, Jinping.
      4               Q.       And where does Nathalie
      5     Leitch fit in that -- in that report
      6     line?
      7               A.       She didn't.
      8                        MR. ROTH:       Object to the
      9               form.
     10                        THE WITNESS:        She wasn't in
     11               marketing for generics.
     12     BY MS. BAIG:
     13               Q.       Oh, okay.        I thought you
     14     told me Nathalie Leitch was responsible
     15     for generic products earlier?
     16               A.       She had responsibility for
     17     generic products, but I don't believe the
     18     marketing of them.
     19               Q.       So what responsibility did
     20     she have for generic products?
     21               A.       That's why I said I couldn't
     22     really comment what she did.                I believe
     23     she handled the injectables, but I don't
     24     know to what -- I can't, with any degree

    Golkow Litigation Services                                            Page: 298
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further299Confidentiality
                                                           of 382. PageID #: 210389
                                                                               Review

      1     of accuracy, convey what her
      2     responsibilities were for them.
      3               Q.       So she did not handle
      4     marketing for generics?
      5               A.       No, I don't believe she did.
      6               Q.       That would be Jinping
      7     McCormick?
      8               A.       Yes.
      9               Q.       And David Myers?
     10               A.       David Myers reported to her.
     11               Q.       Anybody else?
     12               A.       There were other people.              I
     13     just don't remember who right now.                  There
     14     might have been one or two others.
     15     Rachel Galiant.          I think she and David
     16     split the products.
     17               Q.       So Rachel Galiant and David
     18     Myers split the products in the generic
     19     marketing unit and both reported to
     20     Jinping McCormick; is that correct?
     21               A.       I believe so.
     22               Q.       And did you have occasion to
     23     work with Rachel Galiant and David Myers?
     24               A.       Not very often at all.

    Golkow Litigation Services                                            Page: 299
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further300Confidentiality
                                                           of 382. PageID #: 210390
                                                                               Review

      1     David, obviously, put this slide
      2     presentation together for us.
      3               Q.       And this is an oxymorphone
      4     sales training, correct?
      5               A.       Correct.
      6               Q.       So it's a generic drug sales
      7     training, correct?
      8               A.       It was about a generic
      9     product, yes.
     10               Q.       Okay.     And do you see in the
     11     second e-mail, halfway down, it says, Hi
     12     Ara, the attached slide deck is approved
     13     for use in Monday's presentation to the
     14     Kadian sales team.
     15                        Do you see that?
     16               A.       I do.
     17               Q.       So this slide deck was
     18     provided or presented to the Kadian sales
     19     team, correct?
     20               A.       Yes.
     21               Q.       And oxymorphone was the
     22     generic for Opana ER; is that right?
     23                        MR. ROTH:       Object to the
     24               form.

    Golkow Litigation Services                                            Page: 300
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further301Confidentiality
                                                           of 382. PageID #: 210391
                                                                               Review

      1                        THE WITNESS:        Yes.
      2               According to the presentation,
      3               it's AB rated to Opana ER.
      4     BY MS. BAIG:
      5               Q.       And are you aware whether
      6     Opana ER was subsequently pulled from the
      7     market?
      8               A.       I don't know if it was
      9     subsequently pulled.            It's just at this
     10     point in time, Endo had discontinued the
     11     7.5 and 15 mg strengths.
     12               Q.       Do you know why?
     13               A.       It just says, Endo did not
     14     withdraw these strengths due to safety
     15     reasons.
     16               Q.       Do you know whether Opana ER
     17     was later withdrawn from the market by
     18     the FDA?
     19               A.       I don't.
     20               Q.       You don't know one way or
     21     another?
     22               A.       No.
     23               Q.       Do you see on the page
     24     entitled, Key Messages, which is Actavis

    Golkow Litigation Services                                            Page: 301
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further302Confidentiality
                                                           of 382. PageID #: 210392
                                                                               Review

      1     057042 --
      2               A.       Yes.
      3               Q.       -- and it provides an
      4     example script --
      5               A.       Uh-huh.
      6               Q.       -- for the Kadian sales
      7     force to use when introducing Actavis's
      8     generic oxymorphone?
      9               A.       Exactly.
     10               Q.       And at the end it states,
     11     Please -- as part of the script to the
     12     doctor, Please consider prescribing these
     13     generic strengths for the appropriate
     14     patients.
     15                        Do you see that?
     16                        MR. ROTH:       Object to the
     17               form.
     18                        THE WITNESS:        I do.
     19     BY MS. BAIG:
     20               Q.       And the next page is a sell
     21     sheet, it says, front and back?
     22               A.       Yes.
     23               Q.       Is that something that's
     24     left with the doctors by the sales force?

    Golkow Litigation Services                                            Page: 302
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further303Confidentiality
                                                           of 382. PageID #: 210393
                                                                               Review

      1               A.       If it was designed to --
      2     it's designed to be used with the
      3     doctors.       If it was designed to be left,
      4     I can't tell from this.
      5               Q.       Well, what is a sell sheet?
      6                        MR. ROTH:       Object to the
      7               form.     Lacks foundation.           Calls
      8               for speculation.
      9                        THE WITNESS:        They would use
     10               it to present the information to
     11               the doctor.
     12     BY MS. BAIG:
     13               Q.       Meaning they would --
     14               A.       It says, Please see attached
     15     for full prescribing information.                  If the
     16     full PI was attached, the full
     17     prescribing information was attached, it
     18     would be appropriate as a leave-behind.
     19               Q.       So this was likely a
     20     leave-behind?
     21               A.       It could have been, yes.
     22               Q.       And then do you see on the
     23     next page that's identified marketing
     24     support --

    Golkow Litigation Services                                            Page: 303
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further304Confidentiality
                                                           of 382. PageID #: 210394
                                                                               Review

      1               A.       Yes.
      2               Q.       -- it discusses a two-wave
      3     direct mail campaign to the top 10,000
      4     prescribing doctors.
      5                        Do you see that?
      6               A.       I do.
      7               Q.       And it also references
      8     journal advertising?
      9               A.       I do.
     10               Q.       And an e-mail campaign,
     11     correct?
     12               A.       Yes.
     13               Q.       So is it your understanding
     14     that the sales reps were being told about
     15     the direct mail campaign, the general
     16     advertising and the e-mail campaign for
     17     oxymorphone here?
     18                        MR. ROTH:       Object to the
     19               form.     Lacks foundation.           Calls
     20               for speculation.
     21                        THE WITNESS:        Yes.     If it
     22               was in the slide presentation,
     23               they were informed that that was
     24               happening.

    Golkow Litigation Services                                            Page: 304
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further305Confidentiality
                                                           of 382. PageID #: 210395
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       And then after that, it
      3     shows, if you flip through the next few
      4     pages, that the Kadian sales force was
      5     provided with the indications and usage,
      6     as well as the oxymorphone boxed
      7     warning --
      8               A.       They were trained on the
      9     safety information.
     10               Q.       -- and the safety
     11     information of oxymorphone, correct?
     12               A.       Yes.
     13               Q.       And then they were given a
     14     list of dos in terms of what to discuss
     15     regarding the generic product
     16     availability; is that right?
     17               A.       Dos?
     18                        MR. ROTH:       Object to the
     19               form of the question.
     20     BY MS. BAIG:
     21               Q.       It's on page Actavis 05 --
     22     sorry.     0357051.
     23               A.       They were given dos, and
     24     then on the next page don'ts.

    Golkow Litigation Services                                            Page: 305
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further306Confidentiality
                                                           of 382. PageID #: 210396
                                                                               Review

      1               Q.       Right.     So they were given
      2     dos and don'ts with respect to the
      3     generic --
      4               A.       Yes.
      5               Q.       -- oxymorphone, which is the
      6     generic product for Opana ER, correct?
      7               A.       Correct.
      8               Q.       And these are dos in terms
      9     of what they should discuss or mention
     10     with prescribers?
     11               A.       Correct.
     12               Q.       And then where you see
     13     compensation and incentives, it's at Page
     14     Actavis 0357054 -- do you see that?
     15               A.       I do.
     16               Q.       And it states, A team award,
     17     an individual award -- and an individual
     18     award.
     19                        Do you see that?
     20               A.       I do.
     21               Q.       And it states, The top
     22     regional team with the highest cumulative
     23     prescription written for the period of
     24     August through October 2011.

    Golkow Litigation Services                                            Page: 306
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further307Confidentiality
                                                           of 382. PageID #: 210397
                                                                               Review

      1                        Is that suggesting that the
      2     top regional team will receive an award?
      3               A.       Yes.
      4               Q.       And each member of the team
      5     would win $500?
      6               A.       That's what the bullet says,
      7     yes.
      8               Q.       And for the individual
      9     awards, it suggests that each individual
     10     award is $1,000; is that right?
     11               A.       That's right.
     12               Q.       So according to this, the
     13     Kadian sales force would be receiving
     14     awards if they achieved the highest
     15     cumulative prescriptions written for the
     16     generic oxymorphone, correct?
     17                        MR. ROTH:       Objection.       Lacks
     18               foundation.        Calls for
     19               speculation.
     20                        THE WITNESS:        I'm sorry,
     21               could you repeat the question?
     22     BY MS. BAIG:
     23               Q.       So according to this, the
     24     Kadian sales force would be receiving

    Golkow Litigation Services                                            Page: 307
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further308Confidentiality
                                                           of 382. PageID #: 210398
                                                                               Review

      1     awards if they achieved the highest
      2     cumulative prescriptions written for the
      3     generic oxymorphone, correct?
      4                        MR. ROTH:       Object to the
      5               form.     Lacks foundation.           Calls
      6               for speculation.
      7                        THE WITNESS:        Members of the
      8               team, yes.
      9     BY MS. BAIG:
     10               Q.       Yes, okay.
     11                        The next page is called,
     12     Prescription Data.           It says, Average
     13     monthly --
     14               A.       TRX.
     15               Q.       TRX.     What does TRX stand
     16     for?
     17               A.       Total prescriptions.
     18               Q.       Total.
     19                        And are these sales targets
     20     for the Kadian sales force team?
     21               A.       No.    It appears that's
     22     historical data.
     23               Q.       Okay.     And that's historical
     24     data that would just be tracked by

    Golkow Litigation Services                                            Page: 308
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further309Confidentiality
                                                           of 382. PageID #: 210399
                                                                               Review

      1     Actavis, correct?
      2               A.       I imagine so.         I don't know
      3     what the source is.
      4               Q.       But you wouldn't need an
      5     outside vendor to track -- is this data
      6     for the Actavis sales team?
      7                        MR. ROTH:       Objection to the
      8               form.     Lacks foundation.           Calls
      9               for speculation.
     10     BY MS. BAIG:
     11               Q.       What does this slide show,
     12     to your knowledge?
     13               A.       I can't tell by the slide.
     14     The average monthly TRX, just of the
     15     strengths.
     16               Q.       So it says, Average monthly
     17     total prescriptions.
     18                        Right?
     19               A.       Uh-huh.
     20               Q.       And then it says, January
     21     through March 2011, average total
     22     prescriptions.
     23                        Right?
     24               A.       Right.

    Golkow Litigation Services                                            Page: 309
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further310Confidentiality
                                                           of 382. PageID #: 210400
                                                                               Review

      1               Q.       And then it lists, for 15
      2     milligrams, the average total
      3     prescriptions from January through March
      4     of 2011 were 5,760, right?
      5               A.       I think what you're asking
      6     is, is that just Actavis or the total
      7     market; I don't know.
      8               Q.       What is KGC, do you know?
      9               A.       KGC.      I'm sorry, I don't.
     10               Q.       Qualitative -- there's a
     11     document I see called, KGC, Kadian
     12     long-acting opioid decision-making
     13     process, qualitative research review
     14     interviews prepared for Actavis.
     15                        Do you know what that is?
     16               A.       It sounds like a market
     17     research study, but I couldn't be sure.
     18                        MS. BAIG:       Let's have this
     19               document marked as Exhibit-17.
     20               It's Actavis 0361608 through
     21               Actavis 0361653.            And it begins as
     22               an e-mail from Nathalie Leitch to
     23               you, dated June 28th, 2011.
     24                              -    -   -

    Golkow Litigation Services                                            Page: 310
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further311Confidentiality
                                                           of 382. PageID #: 210401
                                                                               Review

      1                        (Whereupon, Allergan-Altier
      2               Exhibit-18, Actavis 0361608-1653,
      3               was marked for identification.)
      4                              -   -   -
      5     BY MS. BAIG:
      6               Q.       It states under,
      7     attachments, October 30th, Kadian final
      8     report.
      9                        Do you see that?
     10               A.       I do.     This is the company I
     11     mentioned, I think I called them LPG.
     12     It's KGC.
     13               Q.       Okay.     Do you know what KGC
     14     stands for?
     15               A.       I don't.
     16               Q.       So this was what type of
     17     company?
     18               A.       A market research vendor.
     19               Q.       And thumbing through this,
     20     do you have a notion of what document
     21     this is, what market research project
     22     this was?
     23               A.       Based on the project
     24     objectives listed on, I don't know, the

    Golkow Litigation Services                                            Page: 311
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further312Confidentiality
                                                           of 382. PageID #: 210402
                                                                               Review

      1     third page, this could have been the 29
      2     physicians, it seems like kind of a
      3     coincidental number, that we talked about
      4     earlier.
      5               Q.       Okay.     So this was the study
      6     that was performed to determine what
      7     prescribers' opinions were with respect
      8     to the use of Kadian?
      9                        MR. ROTH:       Object to the
     10               form.
     11     BY MS. BAIG:
     12               Q.       Where they interviewed, the
     13     29 physicians?
     14               A.       It appears to be the report
     15     that that was based on, yes.
     16               Q.       And do you see in the
     17     executive overview, on Actavis 0361615,
     18     it states, Physicians are mostly
     19     satisfied with Kadian because they
     20     believe Kadian is a safe, efficacious,
     21     clean drug?
     22               A.       I do.
     23               Q.       What actions were taken as a
     24     result of this study, do you know, with

    Golkow Litigation Services                                            Page: 312
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further313Confidentiality
                                                           of 382. PageID #: 210403
                                                                               Review

      1     respect to marketing?
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        The results
      5               were presented at the sales
      6               meeting that you saw.
      7     BY MS. BAIG:
      8               Q.       Okay.     And so, for example,
      9     on the next page, it says, Kadian has no
     10     known current messaging or position
     11     strategy.
     12               A.       Uh-huh.
     13               Q.       How was that communicated to
     14     sales reps?
     15               A.       I don't remember what the
     16     slide said.        It might have said that
     17     exact thing, or not said that at all.                    I
     18     don't recall if we shared that.                 I'd have
     19     to look back.
     20               Q.       Is that a message that you
     21     would communicate to sales reps to have
     22     them step up their messaging to
     23     prescribers?
     24                        MR. ROTH:       Objection to the

    Golkow Litigation Services                                            Page: 313
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further314Confidentiality
                                                           of 382. PageID #: 210404
                                                                               Review

      1               form.     Calls for speculation.
      2                        THE WITNESS:        No.     It would
      3               be more, I would say, a reflection
      4               on marketing, in terms of
      5               messaging.
      6                        But, like I said, especially
      7               after the warning letter, colorful
      8               PI, very benign, conservative
      9               message strategy.           So I'm not
     10               surprised that that comes back.
     11     BY MS. BAIG:
     12               Q.       So this is one year after
     13     the FDA warning letter, correct?
     14               A.       Yes.
     15               Q.       And this was presented to --
     16     just presented to or actually provided to
     17     sales reps, do you know?
     18               A.       This document itself would
     19     have just been provided to, say, myself
     20     and Nathalie.
     21               Q.       And no one else?
     22               A.       No.    We were the main
     23     contacts for the market research.
     24                        MS. BAIG:       Let's have the

    Golkow Litigation Services                                            Page: 314
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further315Confidentiality
                                                           of 382. PageID #: 210405
                                                                               Review

      1               next document marked as
      2               Exhibit-19, please.
      3                              -    -    -
      4                        (Whereupon, Allergan-Altier
      5               Exhibit-19, Actavis 0956746-6747,
      6               was marked for identification.)
      7                            -     -    -
      8                        MS. BAIG:          This is just a
      9               two-page document, Bates stamped
     10               Actavis 0965746 to Actavis
     11               0965747.       And it's a field contact
     12               form.
     13     BY MS. BAIG:
     14               Q.       What's a field contact form?
     15                        MR. ROTH:          Object to the
     16               form.     Lacks foundation.           Calls
     17               for speculation.
     18                        THE WITNESS:          I don't know.
     19               It must have been something the
     20               sales force used.
     21     BY MS. BAIG:
     22               Q.       You've never seen a field
     23     contact form before?
     24               A.       I have not.

    Golkow Litigation Services                                            Page: 315
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further316Confidentiality
                                                           of 382. PageID #: 210406
                                                                               Review

      1               Q.       Do you know who Kristie
      2     Robinson is?
      3               A.       I can just assume she was
      4     the area manager, based on the form.
      5               Q.       So she would be an inVentiv
      6     employee?
      7               A.       I believe so.
      8               Q.       And how about Chris Hepp?
      9               A.       Yes, so he was the regional
     10     director.
     11               Q.       So he was an inVentiv
     12     employee?
     13               A.       I believe, yes.
     14               Q.       And their territory is
     15     indicated as Phoenix, correct?
     16               A.       Yes.
     17               Q.       And it appears that this is
     18     a document that provides sales reps with
     19     observations on their performance.
     20                        Would you agree?
     21                        MR. ROTH:       Object to the
     22               form.     Lacks foundation.           Calls
     23               for speculation.
     24                        THE WITNESS:        Based on what

    Golkow Litigation Services                                            Page: 316
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further317Confidentiality
                                                           of 382. PageID #: 210407
                                                                               Review

      1               I'm reading, yes.
      2     BY MS. BAIG:
      3               Q.       And do you see on the last
      4     page, there's a section called,
      5     Developmental opportunities/action plan?
      6               A.       Yes.
      7               Q.       And it's stated there
      8     that -- it's stated there to, quote,
      9     Limit your generic oxymorphone calls only
     10     on the highest-prescribing Opana ER
     11     targets.
     12                        Do you see that?
     13               A.       I do.
     14               Q.       And that -- below it states,
     15     Regional director signature, Chris Hepp.
     16               A.       Uh-huh.
     17               Q.       And do you see on the first
     18     page, it says, Kadian sales results.                   And
     19     it lists $337,865?
     20               A.       Yes.
     21               Q.       That's for the current
     22     month, then, June 2011, correct?
     23                        MR. ROTH:       Object to the
     24               form.     Lacks foundation.           Calls

    Golkow Litigation Services                                            Page: 317
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further318Confidentiality
                                                           of 382. PageID #: 210408
                                                                               Review

      1               for speculation.
      2     BY MS. BAIG:
      3               Q.       Is that your read of the
      4     document?
      5               A.       Just based on reading it,
      6     yes.
      7               Q.       And in the bullet right
      8     underneath that, it says, Kristie, your
      9     Kadian sales continue to outpace that of
     10     the region and the nation.
     11                        Do you see that?
     12               A.       I do.
     13               Q.       Is your read of this that
     14     Kristie was a Kadian sales rep?
     15               A.       Yeah.     I'm confused why they
     16     have her as an area manager.                But based
     17     on that, I would say -- she's the number
     18     one area business manager in the country.
     19     But she's in the sales organization,
     20     clearly.
     21               Q.       And by "sales organization,"
     22     you mean inVentiv?
     23               A.       Correct.
     24               Q.       So is your read that she's

    Golkow Litigation Services                                            Page: 318
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further319Confidentiality
                                                           of 382. PageID #: 210409
                                                                               Review

      1     responsible for sales in her territory,
      2     which is Phoenix?
      3                        MR. ROTH:       Object to the
      4               form.     Lacks foundation.
      5                        THE WITNESS:        Based on this
      6               sheet, yes.
      7     BY MS. BAIG:
      8               Q.       And she's being told to
      9     limit generic oxymorphone calls only to
     10     high-prescribing Opana ER targets at the
     11     end, correct?
     12                        MR. ROTH:       Object to the
     13               form.     Lacks foundation. Calls for
     14               speculation.        Asked and answered.
     15                        THE WITNESS:        I mean, that
     16               would make sense, since the only
     17               information we were providing was
     18               that it was available.             If they
     19               weren't prescribing Opana, they
     20               wouldn't care that it was
     21               available.
     22     BY MS. BAIG:
     23               Q.       But it doesn't say that in
     24     this document, right?

    Golkow Litigation Services                                            Page: 319
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further320Confidentiality
                                                           of 382. PageID #: 210410
                                                                               Review

      1               A.       No.
      2                        MS. BAIG:          Let's have the
      3               next document marked as
      4               Exhibit-20, please.
      5                              -    -    -
      6                        (Whereupon, Allergan-Altier
      7               Exhibit-20, Actavis 0264936-4949,
      8               was marked for identification.)
      9                            -     -    -
     10                        MS. BAIG:          It's Bates
     11               stamped Actavis 0264936 to Actavis
     12               0264949.
     13     BY MS. BAIG:
     14               Q.       And it's from Mark Killion
     15     to yourself on July 10th, 2012.
     16                        Do you see that?
     17               A.       I do.
     18               Q.       It's an e-mail attaching a
     19     PowerPoint.
     20                        Do you see that?
     21               A.       Uh-huh.
     22               Q.       And the PowerPoint is
     23     entitled, Pain Market Overview.
     24                        Do you see that?

    Golkow Litigation Services                                            Page: 320
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further321Confidentiality
                                                           of 382. PageID #: 210411
                                                                               Review

      1               A.       I do.
      2               Q.       And it states there was a
      3     training class October 19th to 20, 2011
      4     with inVentiv Health.
      5                        Do you see that?
      6               A.       I do.
      7               Q.       Do you recall this training
      8     class?
      9               A.       Not offhand, no.
     10               Q.       And this would have been a
     11     training class for sales reps, opioid
     12     sales reps?
     13               A.       Presumably.
     14               Q.       This would have been a
     15     training for Kadian sales reps, correct?
     16               A.       Presumably, yes.
     17               Q.       Well, were there any other
     18     sales reps that would receive this
     19     training?
     20               A.       No.    I just don't know who
     21     the target audience was.              But presumably
     22     it's Kadian sales reps.
     23               Q.       Well, Mark Killion's
     24     position was what, again?

    Golkow Litigation Services                                            Page: 321
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further322Confidentiality
                                                           of 382. PageID #: 210412
                                                                               Review

      1               A.       He was the Midwest region
      2     business director.
      3               Q.       In sales?
      4               A.       Yes.
      5               Q.       And do you -- why would he
      6     be sending you this document, do you
      7     know?
      8               A.       I don't know.
      9               Q.       Would he be the person to
     10     create this document for you to use to
     11     train the sales reps?
     12                        MR. ROTH:       Objection to
     13               form.
     14                        THE WITNESS:        I don't
     15               recall.
     16     BY MS. BAIG:
     17               Q.       Did you create this
     18     document?
     19               A.       I don't believe I did, no.
     20               Q.       But you received this
     21     document in the regular course of your
     22     business, correct?
     23               A.       Correct.
     24               Q.       And do you see under the

    Golkow Litigation Services                                            Page: 322
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further323Confidentiality
                                                           of 382. PageID #: 210413
                                                                               Review

      1     overview, it says, Definition of pain,
      2     types of pain, goals of pain management,
      3     pain management practitioners, and
      4     chronic pain treatment?
      5                        Do you see that?
      6               A.       I do.
      7               Q.       And then on the next page,
      8     the question is -- the caption is, What
      9     is pain?
     10                        Do you see that?
     11               A.       I do.
     12               Q.       And do you see the first
     13     bullet that says, The most commonly used
     14     definition of pain is, quote, any
     15     sensation the patient perceives to be
     16     uncomfortable, end quote.
     17                        Do you see that?
     18               A.       Yes.
     19               Q.       And this, I think we said,
     20     document was sent to you in 2012, right?
     21               A.       Right.     So --
     22               Q.       So it's two years after the
     23     FDA warning letter?
     24               A.       Right.

    Golkow Litigation Services                                            Page: 323
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further324Confidentiality
                                                           of 382. PageID #: 210414
                                                                               Review

      1                        MR. ROTH:       Objection to
      2               form.
      3                        THE WITNESS:        And long after
      4               the training class.
      5     BY MS. BAIG:
      6               Q.       The training class was July
      7     6th, 2010, correct?
      8               A.       It says October 19 to 20,
      9     2011.
     10               Q.       Okay.     October 2011.
     11                        Still after the FDA warning
     12     letter, right?
     13               A.       Yes.
     14               Q.       Do you see on Page 11 of the
     15     PowerPoint, it says, Long-acting opioid
     16     agents?
     17               A.       Yes.
     18               Q.       And of the products listed,
     19     which ones are Actavis products?
     20                        MR. ROTH:       Objection to
     21               form.
     22                        THE WITNESS:        The ones I'm
     23               familiar, that are Actavis
     24               products, Kadian.

    Golkow Litigation Services                                            Page: 324
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further325Confidentiality
                                                           of 382. PageID #: 210415
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       What about Avinza?
      3               A.       I believe that was a
      4     competitive product.
      5               Q.       And then Opana ER is also
      6     listed, correct?
      7               A.       Correct.
      8               Q.       And Actavis had a generic
      9     product for Opana ER, oxymorphone,
     10     correct?
     11                        MR. ROTH:       Object to the
     12               form.
     13                        THE WITNESS:        Correct.
     14     BY MS. BAIG:
     15               Q.       And OxyContin is also
     16     listed, correct?
     17               A.       It is.
     18               Q.       Did Actavis have a generic
     19     product for OxyContin, oxycodone?
     20                        MR. ROTH:       Object to the
     21               form.     Lacks foundation.           Calls
     22               for speculation.
     23                        THE WITNESS:        I don't
     24               remember.

    Golkow Litigation Services                                            Page: 325
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further326Confidentiality
                                                           of 382. PageID #: 210416
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       And Duragesic is also
      3     listed?
      4               A.       Yes.
      5               Q.       Do you know if Actavis also
      6     had a generic product for Duragesic in
      7     the form of a Fentanyl patch?
      8                        MR. ROTH:       Objection.       Calls
      9               for speculation.
     10                        THE WITNESS:        I don't know.
     11     BY MS. BAIG:
     12               Q.       You don't know.
     13                        And do you see on the next
     14     page, it identifies pain management
     15     practitioners?
     16               A.       Yes.
     17               Q.       And it lists
     18     anesthesiologists, physical medicine and
     19     rehabilitation, medical oncologists,
     20     neurologists, neurosurgeons, orthopedic
     21     surgeons, rheumatologists, primary
     22     care/internal medicine, nurse
     23     practitioners/physicians assistants, and
     24     nurses, hyphen, day-to-day contact with

    Golkow Litigation Services                                            Page: 326
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further327Confidentiality
                                                           of 382. PageID #: 210417
                                                                               Review

      1     patients.
      2                        Do you see that?
      3               A.       I do.
      4               Q.       And were these targets for
      5     the sales reps?
      6                        MR. ROTH:       Object to the
      7               form.
      8                        THE WITNESS:        Not all of
      9               them.     They would have been just
     10               for background use.            These are
     11               specialties that treat pain in
     12               general.
     13     BY MS. BAIG:
     14               Q.       So these are potential
     15     targets, then?
     16                        MR. ROTH:       Object to the
     17               form.     Asked and answered.
     18                        THE WITNESS:        Not
     19               necessarily.
     20     BY MS. BAIG:
     21               Q.       Is there anything in here
     22     that suggests to the sales reps that they
     23     should not contact these types of
     24     providers on these sheets?

    Golkow Litigation Services                                            Page: 327
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further328Confidentiality
                                                           of 382. PageID #: 210418
                                                                               Review

      1                        MR. ROTH:       Object to the
      2               form.
      3                        THE WITNESS:        They wouldn't
      4               have been on their target list.
      5     BY MS. BAIG:
      6               Q.       Do you see the last page
      7     says, Barriers to effective pain control?
      8               A.       Yes.
      9               Q.       And the first bullet says,
     10     Fear of addiction?
     11               A.       Yes.
     12               Q.       Does this refresh your
     13     recollection that fear of addiction was
     14     being contemplated as a barrier to
     15     effective pain control at Actavis when
     16     you were there?
     17                        MR. ROTH:       Objection, form.
     18               Lacks foundation.
     19                        THE WITNESS:        Yeah, it
     20               doesn't bring up any discussions
     21               we've had.        But I see it's listed
     22               here.
     23     BY MS. BAIG:
     24               Q.       And, Opioid phobia, do you

    Golkow Litigation Services                                            Page: 328
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further329Confidentiality
                                                           of 382. PageID #: 210419
                                                                               Review

      1     see that?
      2               A.       Uh-huh.
      3               Q.       Opioid phobia was also
      4     considered a barrier to effective pain
      5     control at Actavis when you were there.
      6                        Do you see that?
      7                        MR. ROTH:       Objection to
      8               form.     Lacks foundation.           Calls
      9               for speculation.
     10                        THE WITNESS:        Yeah, I'm not
     11               exactly sure what that refers to.
     12               Is that related to fear of
     13               addiction, they are afraid to take
     14               opioids?
     15     BY MS. BAIG:
     16               Q.       Opioid phobia?
     17               A.       Uh-huh.
     18               Q.       Well, do you recall it being
     19     discussed by Dr. Perry Fine in the
     20     medical advisory board that you were
     21     involved in that we just went through the
     22     transcript of?
     23               A.       No.
     24                        MR. ROTH:       Object to the

    Golkow Litigation Services                                            Page: 329
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further330Confidentiality
                                                           of 382. PageID #: 210420
                                                                               Review

      1               form.
      2     BY MS. BAIG:
      3               Q.       You don't remember opioid
      4     phobia being raised there?
      5               A.       No.
      6               Q.       You don't remember opioid
      7     phobia ever being raised at Actavis when
      8     you were there?
      9               A.       No, that's why I'm asking.
     10                        Is it related to a patient's
     11     fear of being addicted to opioids?
     12               Q.       Well, it's -- you know, I
     13     could ask you the same questions --
     14               A.       Okay.     I'm sorry.
     15               Q.       -- in this PowerPoint
     16     presentation that was given to you.
     17               A.       I can't comment any more
     18     than what's on the slide.
     19               Q.       So you don't understand what
     20     opioid phobia means or why it's on this
     21     slide --
     22               A.       Right.
     23               Q.       -- that was presented to
     24     your sales force?

    Golkow Litigation Services                                            Page: 330
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further331Confidentiality
                                                           of 382. PageID #: 210421
                                                                               Review

      1                        You don't know?
      2               A.       I don't recall us talking
      3     about it.
      4               Q.       No idea?
      5               A.       I have an idea, somebody who
      6     is afraid of opioids.            But I can't give
      7     you any more context.
      8               Q.       You don't know why it was
      9     identified on this slide that was
     10     presented to your sales reps?
     11               A.       Right.     It certainly wasn't
     12     a major portion.
     13               Q.       Well, you don't know either
     14     way, because you don't really recall it,
     15     right?
     16               A.       Right.     I guess, I'm just
     17     extrapolating I would recall it if we
     18     talked about it a lot.
     19                        MS. BAIG:       Let's have this
     20               document marked as the next in
     21               line, please.         It's Actavis
     22               0264950 through 0265018.              It
     23               starts with another e-mail from
     24               Mark Killion to yourself on July

    Golkow Litigation Services                                            Page: 331
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further332Confidentiality
                                                           of 382. PageID #: 210422
                                                                               Review

      1               10th, 2012.        Exhibit-21, please.
      2                              -   -   -
      3                        (Whereupon, Allergan-Altier
      4               Exhibit-21, Actavis 0264950-5018,
      5               was marked for identification.)
      6                              -   -   -
      7     BY MS. BAIG:
      8               Q.       And it states there's an
      9     attachment, objection handling message
     10     PowerPoint --
     11               A.       Yes.
     12               Q.       -- and Kadian promotional
     13     training slides.
     14                        Do you see that?
     15               A.       I do.
     16               Q.       Did you receive these
     17     documents in the regular course of your
     18     business at Actavis?
     19               A.       I did.
     20               Q.       Do you recall for what
     21     purpose?
     22               A.       No.
     23               Q.       Were these presentations
     24     also that were prepared and presented to

    Golkow Litigation Services                                            Page: 332
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further333Confidentiality
                                                           of 382. PageID #: 210423
                                                                               Review

      1     sales reps?
      2               A.       It appears --
      3                        MR. ROTH:       Object to the
      4               form.     Lacks foundation.
      5                        THE WITNESS:        Sorry.
      6                        It appears to be.
      7     BY MS. BAIG:
      8               Q.       And it provides suggestions
      9     for the sales reps on how to address
     10     doctors' questions; is that right?
     11                        MR. ROTH:       Object to the
     12               form.
     13     BY MS. BAIG:
     14               Q.       I'm looking at Page 2.
     15               A.       I don't know if it provides
     16     suggestions.        It provides training on how
     17     to respond.
     18               Q.       And then, for example, on
     19     that page, it says, They can say
     20     something like, why don't you use Kadian?
     21                        Correct?
     22               A.       Why don't you use Kadian
     23     first line.
     24               Q.       What does that mean, "first

    Golkow Litigation Services                                            Page: 333
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further334Confidentiality
                                                           of 382. PageID #: 210424
                                                                               Review

      1     line"?
      2               A.       As your first agent of
      3     choice.
      4               Q.       So the sales reps are being
      5     taught to ask the physicians that,
      6     correct?
      7                        MR. ROTH:       Object to the
      8               form.
      9                        THE WITNESS:        That's what it
     10               says here on the slide.
     11     BY MS. BAIG:
     12               Q.       Okay.     And do you see where
     13     it lists side effects on the next couple
     14     of slides?
     15               A.       Yes.
     16               Q.       And it lists excessive
     17     drowsiness, nausea and vomiting,
     18     constipation.
     19                        Do you see that?
     20               A.       Correct.
     21               Q.       Is there anything on those
     22     slides about addiction?
     23               A.       This is direct from our
     24     label.

    Golkow Litigation Services                                            Page: 334
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further335Confidentiality
                                                           of 382. PageID #: 210425
                                                                               Review

      1               Q.       Is there anything on the
      2     slides listing side effects that
      3     identifies addiction?
      4                        MR. ROTH:       Objection.       Form.
      5               You're asking just about Slides 3
      6               and 4?
      7                        MS. BAIG:       I am, yes.       The
      8               slides with the heading, Side
      9               Effects.
     10                        THE WITNESS:        I don't see
     11               anything about addiction on these
     12               slides.
     13     BY MS. BAIG:
     14               Q.       Okay.
     15               A.       It may come later in the
     16     presentation.
     17               Q.       Do you see on the next --
     18     the next two slides have headings called,
     19     Efficacy?
     20               A.       Yes.     Oh, I see, yes.
     21               Q.       And on Slide 6, do you see
     22     where it says, in the third bullet,
     23     Kadian does not have a ceiling or a
     24     recommended maximal dose, especially in

    Golkow Litigation Services                                            Page: 335
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further336Confidentiality
                                                           of 382. PageID #: 210426
                                                                               Review

      1     patients with chronic pain of malignancy?
      2               A.       Yes.     That's from the label.
      3               Q.       In such cases, the total
      4     dose of Kadian should be advanced until
      5     the desired therapeutic endpoint is
      6     reached or clinically significant
      7     opioid-related adverse reactions
      8     intervene.
      9                        Do you see that?
     10               A.       Again, that's the FDA
     11     language from the label.
     12               Q.       So there was no recommended
     13     maximum dose?
     14               A.       Correct.
     15                        The abuse warning you were
     16     looking at is on Page 12, the boxed
     17     warning.
     18               Q.       Did you see something on
     19     this slide that mentions addiction?
     20               A.       I'm sorry, I thought you
     21     said abuse.
     22               Q.       No, I said addiction.
     23                        There's nothing on this
     24     slide either that says anything about

    Golkow Litigation Services                                            Page: 336
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further337Confidentiality
                                                           of 382. PageID #: 210427
                                                                               Review

      1     addiction, correct?
      2                        MR. ROTH:       Objection to
      3               form.
      4                        THE WITNESS:        This was the
      5               boxed warning from the label, from
      6               the FDA.
      7     BY MS. BAIG:
      8               Q.       I know.
      9                        Is there anything on here
     10     that says anything about addiction?
     11                        MR. ROTH:       Objection.       Form.
     12                        THE WITNESS:        Not on that
     13               slide, no.
     14     BY MS. BAIG:
     15               Q.       Do you see on Slide 13,
     16     where it says, Kadian bolded warning?
     17               A.       Yes.
     18               Q.       And it says, Kadian capsules
     19     are to be swallowed whole and not to be
     20     chewed, crushed or dissolved.
     21               A.       Uh-huh.
     22               Q.       It goes on to state, Taking
     23     chewed, crushed or dissolved Kadian
     24     capsules leads to rapid release and

    Golkow Litigation Services                                            Page: 337
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further338Confidentiality
                                                           of 382. PageID #: 210428
                                                                               Review

      1     absorption of a potentially fatal
      2     overdose of morphine.
      3                        Do you see that?
      4               A.       I do.
      5               Q.       Was there a recommendation
      6     that they be -- that they be taken with
      7     applesauce, that you recall?
      8                        MR. ROTH:       Objection to
      9               form.
     10                        THE WITNESS:        I'm trying --
     11               I know a product I worked on in my
     12               past, you could sprinkle it over
     13               applesauce.        I don't recall if it
     14               was Kadian.
     15                        If it's in the label, that
     16               would have been permissible.
     17                        I'm looking at Page 11 on
     18               the detailed piece -- or the
     19               presentation.         Kadian did allow
     20               for sprinkle dosing over
     21               applesauce.
     22     BY MS. BAIG:
     23               Q.       Sprinkle dosing over
     24     applesauce on Slide 11, correct?

    Golkow Litigation Services                                            Page: 338
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further339Confidentiality
                                                           of 382. PageID #: 210429
                                                                               Review

      1               A.       Uh-huh.
      2               Q.       Do you know why that was?
      3               A.       The FDA said it was a
      4     permissible -- it was in our label.
      5                        I mean, the rationale here
      6     is, Capsule can be opened and the
      7     contents sprinkled on applesauce for
      8     patients who have difficulty swallowing.
      9               Q.       Didn't the label say that
     10     you have to take whole?
     11               A.       No.    This is from the label,
     12     I believe.       It says, Safety
     13     considerations from the label.                 Kadian
     14     capsules are to be swallowed whole or the
     15     contents of the capsule sprinkled on the
     16     applesauce.        The pellets in the capsules
     17     are not to be chewed, crushed or
     18     dissolved, due to the rapid risk of
     19     release and absorption of a potentially
     20     fatal overdose of morphine.
     21               Q.       Then do you see on Slide 35,
     22     there's a slide on generic morphine
     23     sulfate?
     24                        MR. ROTH:       In the second

    Golkow Litigation Services                                            Page: 339
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further340Confidentiality
                                                           of 382. PageID #: 210430
                                                                               Review

      1               presentation now?
      2                        MS. BAIG:       Just a few pages
      3               further.
      4                        THE WITNESS:        Yep.
      5                        MS. BAIG:       On Page 35.
      6     BY MS. BAIG:
      7               Q.       And generic -- so this
      8     entire presentation was going to the
      9     Kadian sales force, correct?
     10               A.       Correct.
     11               Q.       Including this slide on
     12     generic morphine sulfate?
     13               A.       Uh-huh.
     14               Q.       Who is Ed Tykot?
     15               A.       I think it's Ed Tykot.
     16               Q.       Tykot?
     17               A.       Who is Ed Tykot?
     18                        The name is familiar, but I
     19     don't recall.
     20               Q.       Was he at Watson, do you
     21     know?
     22               A.       Maybe.
     23               Q.       Did you work with Ed Tykot
     24     that you recall, or no?

    Golkow Litigation Services                                            Page: 340
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further341Confidentiality
                                                           of 382. PageID #: 210431
                                                                               Review

      1               A.       If I'm thinking of the right
      2     person, he might have been in business
      3     development for Watson.
      4               Q.       Do you remember a
      5     presentation called, Pain Franchise
      6     Business Case, from March of 2013?
      7               A.       March of -- I'd have to take
      8     a look at it.
      9               Q.       Do you know what SWOT is.
     10     S-W-O-T?
     11               A.       Sure.     Strength, weaknesses,
     12     opportunities and threats.
     13               Q.       Who is Betty DeSantis?
     14               A.       Is it an older document?
     15               Q.       2011.
     16               A.       Perhaps Betty worked at our
     17     original telemarketing company, TMS.
     18                        MS. BAIG:       Let's have this
     19               document marked as Exhibit-22.
     20                              -   -   -
     21                        (Whereupon, Allergan-Altier
     22               Exhibit-22, Actavis 0335906-5914,
     23               was marked for identification.)
     24                              -   -   -

    Golkow Litigation Services                                            Page: 341
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further342Confidentiality
                                                           of 382. PageID #: 210432
                                                                               Review

      1                        MS. BAIG:       This is Bates
      2               stamped Actavis 0335906 through
      3               Actavis 0335914.          It starts as an
      4               e-mail from you to Betty DeSantis,
      5               cc to Nathalie Leitch, dated
      6               November 17, 2011, subject is, New
      7               script and letter.           Attachments
      8               are, PMS generic Kadian
      9               telescript.        It looks like two
     10               versions of it.
     11     BY MS. BAIG:
     12               Q.       Was this a script that was
     13     provided to your sales reps?
     14               A.       No.    This was provided to
     15     the TMS telemarketing reps.
     16               Q.       Okay.     So they are sales
     17     reps, but they are just doing it by
     18     telephone, correct?
     19               A.       This was a little bit of a
     20     different model.          So whereas Technekes,
     21     you know, were trained by our sales force
     22     and that, they went through training, but
     23     they were script based.
     24               Q.       Okay.     And these were Kadian

    Golkow Litigation Services                                            Page: 342
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further343Confidentiality
                                                           of 382. PageID #: 210433
                                                                               Review

      1     sales reps, correct?
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        They were TMS
      5               employees that worked as
      6               telemarketers for us.
      7     BY MS. BAIG:
      8               Q.       Okay.     So they were -- they
      9     were marketing both Kadian and generic
     10     drugs, correct?
     11                        MR. ROTH:       Object to the
     12               form.     Mischaracterizes the
     13               document.
     14                        THE WITNESS:        As far as I
     15               knew, for the company, they were
     16               marketing Kadian.
     17     BY MS. BAIG:
     18               Q.       Do you see in the
     19     attachments on the first page, it's --
     20     the document is identified as, TMS
     21     generic Kadian telescript?
     22               A.       Right.     So it was Kadian.
     23     Kadian had gone generic.
     24               Q.       Got it.

    Golkow Litigation Services                                            Page: 343
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further344Confidentiality
                                                           of 382. PageID #: 210434
                                                                               Review

      1                        When did Kadian go generic,
      2     do you remember?
      3               A.       That's a great question.
      4     Obviously, after November 17th, 2011.
      5               Q.       Is this -- would these same
      6     telesales reps be marketing the new
      7     dosages for Kadian that were released?
      8               A.       I believe this predates the
      9     new dosages.        And I don't recall if they
     10     were still on board at the time.
     11               Q.       Is it your understanding
     12     that this script was actually provided to
     13     the telesales reps?
     14               A.       Yes.
     15                        MS. BAIG:          Let's have the
     16               next document marked as
     17               Exhibit-23.
     18                              -    -    -
     19                        (Whereupon, Allergan-Altier
     20               Exhibit-23, Actavis 0282841-2843,
     21               was marked for identification.)
     22                            -     -    -
     23                        MS. BAIG:          It's Bates
     24               stamped Actavis 0282841 through

    Golkow Litigation Services                                            Page: 344
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further345Confidentiality
                                                           of 382. PageID #: 210435
                                                                               Review

      1               0282843.
      2     BY MS. BAIG:
      3               Q.       And it's an e-mail string
      4     that starts with an e-mail from Patrick
      5     McClenahan to you, Jennifer Altier?
      6               A.       Yes.
      7               Q.       Sent June 11th, 2012.
      8                        And you see the subject is,
      9     Speaker request for the west area?
     10               A.       Uh-huh.
     11                        I'm just reading the whole
     12     thing so I can get some context.
     13               Q.       Sure.
     14                        In the meantime, do you know
     15     who Patrick McClenahan is?
     16               A.       Yes.     He was one of the
     17     region business directors.
     18               Q.       Sales director?
     19               A.       Yes.
     20               Q.       Do you know what region?
     21     West area?
     22               A.       No.    Patrick was Gulf Coast,
     23     I want to say.
     24               Q.       Which included what?

    Golkow Litigation Services                                            Page: 345
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further346Confidentiality
                                                           of 382. PageID #: 210436
                                                                               Review

      1               A.       Like Florida area, Florida
      2     Gulf.
      3               Q.       Do you know who the sales
      4     director was for the Ohio area?
      5               A.       Mark Killion was Midwest.
      6     So I would think it was him.
      7               Q.       Do you see there's an
      8     indication that they need east area west
      9     speakers?
     10               A.       Yes.
     11               Q.       Do you know what this is
     12     about?
     13               A.       Based on the timing and the
     14     fact that we were doing speaker requests,
     15     it would have been if MoxDuo launched.
     16     We were looking for a speaker request --
     17     or speakers that would have participated
     18     in a speakers bureau.            But that never
     19     came to pass.
     20               Q.       You never did a speakers
     21     bureau for MoxDuo?
     22               A.       No, because it was never
     23     approved.
     24                        MS. BAIG:       I don't think I

    Golkow Litigation Services                                            Page: 346
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further347Confidentiality
                                                           of 382. PageID #: 210437
                                                                               Review

      1               have much more.             Do you need a
      2               break or do you just want to --
      3                        THE WITNESS:          I'm okay.
      4                        MR. ROTH:          Just plow
      5               through.
      6                              -    -    -
      7                        (Whereupon, a discussion off
      8               the record occurred.)
      9                            -     -    -
     10     BY MS. BAIG:
     11               Q.       Do you know who at Actavis
     12     would have tracked marketing spend and
     13     return on investment?
     14                        MR. ROTH:          Object to the
     15               form.
     16                        THE WITNESS:          Theoretically,
     17               that would have been in my
     18               department.         I don't recall any
     19               ROI analysis that we conducted off
     20               the top of my head.
     21     BY MS. BAIG:
     22               Q.       So you would -- if it were
     23     done, it would have been you who would
     24     have done the tracking of marketing spend

    Golkow Litigation Services                                            Page: 347
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further348Confidentiality
                                                           of 382. PageID #: 210438
                                                                               Review

      1     and return on investment?
      2               A.       I wouldn't --
      3                        MR. ROTH:       Object to the
      4               form.     Vague.
      5                        THE WITNESS:        I wouldn't
      6               have known how to track that.                I
      7               assume we would have used some
      8               sort of outside vendor.
      9     BY MS. BAIG:
     10               Q.       Okay.     Do you know who that
     11     vendor is?
     12               A.       No.
     13               Q.       Did you ever see any
     14     documents showing marketing spend and
     15     return on investment?
     16               A.       Not that I recall.
     17               Q.       And you were never told
     18     about any such documents?
     19               A.       I can't say that I was or
     20     wasn't.      We had very limited resources,
     21     so we just kind of concentrated on
     22     executing what we could.              I don't know
     23     that we measured a lot.
     24               Q.       But you don't know either

    Golkow Litigation Services                                            Page: 348
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further349Confidentiality
                                                           of 382. PageID #: 210439
                                                                               Review

      1     way?
      2               A.       I can't recall either way,
      3     yes.
      4               Q.       Are you aware of any
      5     physicians ever being removed as targets
      6     for writing too many opioid
      7     prescriptions?
      8                        MR. ROTH:       Object to the
      9               form.
     10                        THE WITNESS:        I don't
     11               recall.      I'm not aware.
     12     BY MS. BAIG:
     13               Q.       Do you recall ever having
     14     any communications with anyone at Actavis
     15     about potentially removing physicians
     16     from target lists for writing too many
     17     opioid prescriptions?
     18               A.       Not that I recall.
     19               Q.       You never had any
     20     communications with anybody at Actavis
     21     about that?
     22                        MR. ROTH:       Objection.       Form.
     23               Mischaracterizes her testimony.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 349
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further350Confidentiality
                                                           of 382. PageID #: 210440
                                                                               Review

      1               Q.       That you can recall.
      2               A.       That wouldn't really be my
      3     area, to remove someone from a target
      4     list.     That would be sales.
      5               Q.       Have you heard of the APS
      6     journal?
      7               A.       The American Pain Society
      8     journal?
      9               Q.       Uh-huh.
     10               A.       I presume so, sure.           I've
     11     heard of the APS, not their journal.                   But
     12     I assume they have a journal.
     13               Q.       Did you ever -- did you ever
     14     use it or subscribe to it or use it in
     15     the capacity of your work at Actavis?
     16               A.       Yeah, I don't know if I
     17     received it.        A lot of times they put you
     18     on comp lists and you received them.                   But
     19     not that I recall.
     20               Q.       So you might have received,
     21     it but you don't remember?
     22               A.       Right.
     23               Q.       How about the Clinical
     24     Journal of Pain?

    Golkow Litigation Services                                            Page: 350
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further351Confidentiality
                                                           of 382. PageID #: 210441
                                                                               Review

      1               A.       All -- they would all get
      2     lumped together.          I don't recall.
      3               Q.       You don't recall which
      4     journals you received and which ones you
      5     didn't?
      6               A.       Right.
      7               Q.       Do you recall ever having
      8     any communications with folks who were
      9     writing those journals?
     10               A.       Who were writing the
     11     articles for the journals?               Like the
     12     physicians?
     13               Q.       Yes.
     14               A.       Not that I recall, no.
     15               Q.       Are you aware of what
     16     incentives were offered to sales reps for
     17     meeting certain quotas or targets?
     18               A.       No, I wasn't involved in the
     19     IC plan.
     20               Q.       In the what?
     21               A.       The IC plan, the incentive
     22     compensation plan.
     23               Q.       Okay.     Who designed that
     24     plan?

    Golkow Litigation Services                                            Page: 351
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further352Confidentiality
                                                           of 382. PageID #: 210442
                                                                               Review

      1               A.       I would presume Nathalie was
      2     involved, perhaps with the sales
      3     managers.
      4               Q.       And so you never heard
      5     anything about what incentives were
      6     provided to sales reps for meeting goals?
      7               A.       If I did, I don't recall.
      8               Q.       Were the sales reps required
      9     to keep notes or records of their
     10     detailing trips?
     11                        MR. ROTH:       Object to the
     12               form.     Lacks foundation.           Calls
     13               for speculation.
     14                        THE WITNESS:        Yeah, I also
     15               don't know what their reporting
     16               structure was after a sales call.
     17               I assume they had an SFA system.
     18               I don't know what they logged in.
     19     BY MS. BAIG:
     20               Q.       What's SFA?
     21               A.       Sales force automation
     22     system.
     23               Q.       So you assume that they had
     24     a sales force automation system in which

    Golkow Litigation Services                                            Page: 352
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further353Confidentiality
                                                           of 382. PageID #: 210443
                                                                               Review

      1     they would keep notes or records of their
      2     meetings with physicians?
      3               A.       I don't know -- I don't know
      4     that they kept notes.            But maybe, like, I
      5     met with this person on this date kind of
      6     thing.
      7               Q.       Have you ever seen those at
      8     Actavis?
      9               A.       No.
     10               Q.       Or at inVentiv?
     11               A.       No.
     12               Q.       Who would have those
     13     records, inVentiv or Actavis?
     14               A.       I don't know.
     15               Q.       So if you haven't seen them,
     16     then you don't know whether they were
     17     limited only to their meeting with the
     18     physicians and the dates or whether they
     19     had more substantive information?                  You
     20     don't know either way; is that right?
     21               A.       Correct, correct.
     22               Q.       Did Allergan have a contract
     23     with IMS, do you know?
     24               A.       I didn't work for Allergan.

    Golkow Litigation Services                                            Page: 353
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further354Confidentiality
                                                           of 382. PageID #: 210444
                                                                               Review

      1               Q.       Did Actavis have a contract
      2     with IMS?
      3               A.       I don't know.
      4               Q.       Did you ever receive any IMS
      5     data?
      6               A.       I don't recall.          If it was
      7     IMS -- any company, I don't recall.                   If I
      8     saw sales data, I don't recall where it
      9     came from, what company was the vendor.
     10               Q.       Did you generally receive
     11     sales data tracking market share for the
     12     drugs, the opioid drugs?
     13                        MR. ROTH:       Objection to
     14               form.
     15                        THE WITNESS:        I had access
     16               to that information.
     17     BY MS. BAIG:
     18               Q.       How did you have access?
     19               A.       I'm trying to remember.
     20                        I just remember, like, I
     21     would -- I would be aware of what our
     22     market share was, so I had to have access
     23     to it somehow.
     24               Q.       So was it a program that you

    Golkow Litigation Services                                            Page: 354
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further355Confidentiality
                                                           of 382. PageID #: 210445
                                                                               Review

      1     could access and pull up data, or was it
      2     an e-mail that you received on a regular
      3     basis, or a set of documents that you
      4     received on a regular basis?                How did you
      5     have access to that information?
      6               A.       It's a great question.             I
      7     don't recall any portal system that I
      8     would log into for that data, so
      9     presumably we received an e-mail on it
     10     periodically.
     11               Q.       From whom?
     12               A.       Yeah, I'm pulling out of the
     13     clouds here.        I don't recall how I got
     14     the data.
     15               Q.       So you got market share
     16     sales data, but you don't remember what
     17     it looked like, who sent it to you, or
     18     who created it?
     19               A.       Very good.
     20               Q.       Do you remember how often
     21     you got it?
     22               A.       No.
     23               Q.       What did you use it for?
     24               A.       Monitoring how we were doing

    Golkow Litigation Services                                            Page: 355
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further356Confidentiality
                                                           of 382. PageID #: 210446
                                                                               Review

      1     from a business perspective.
      2               Q.       And who would you discuss it
      3     with?
      4               A.       Most likely, Nathalie.
      5               Q.       Did the sales materials and
      6     instructions that were provided to the
      7     sales reps, did they vary based on the
      8     geographic area that the sales reps were
      9     working in?
     10               A.       No.
     11                        MR. ROTH:       Objection.       Calls
     12               for speculation.
     13                        THE WITNESS:        No.
     14               Everything was national.
     15     BY MS. BAIG:
     16               Q.       Do you know whether there
     17     were specific populations that were
     18     targeted at all?
     19                        MS. RANJAN:        Objection.
     20     BY MS. BAIG:
     21               Q.       Do you recall any specific
     22     populations being targeted for sales of
     23     opioids?
     24                        MS. RANJAN:        Objection to

    Golkow Litigation Services                                            Page: 356
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further357Confidentiality
                                                           of 382. PageID #: 210447
                                                                               Review

      1               the form of the question.
      2                        MR. ROTH:       Object to the
      3               form.
      4                        THE WITNESS:        Yeah, specific
      5               physicians, specific -- when you
      6               say "specific populations," I
      7               don't know what you're asking.
      8     BY MS. BAIG:
      9               Q.       Do you know whether Actavis
     10     specifically targeted marketing opioids
     11     to the elderly?
     12               A.       No.    We targeted physicians,
     13     not patients.
     14               Q.       Did you target physicians
     15     who treated certain types of patients?
     16     You were aware of what physicians were
     17     treating what types of -- had what types
     18     of practices, right?
     19                        MR. ROTH:       Object to the
     20               form.
     21                        THE WITNESS:        I don't know
     22               how we would know their patient
     23               population.
     24     BY MS. BAIG:

    Golkow Litigation Services                                            Page: 357
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further358Confidentiality
                                                           of 382. PageID #: 210448
                                                                               Review

      1               Q.       Who put together the target
      2     lists?
      3               A.       That, I don't know.           But
      4     that would have been based on, you know,
      5     prescription data, not patient
      6     populations.        Because we wouldn't know --
      7               Q.       Who would put together the
      8     target list, inVentiv or Actavis?
      9               A.       I don't know.         That was done
     10     before I got there.
     11               Q.       Don't you think it changed
     12     over the course of four years?
     13               A.       I wasn't involved, so I
     14     don't know.
     15               Q.       So what department would you
     16     think would have been responsible for
     17     putting together target lists for your
     18     sales efforts?
     19               A.       Yeah, I think we talked
     20     about this before.           It would have been
     21     maybe a combination of Nathalie and the
     22     sales team.
     23               Q.       So Nathalie and inVentiv?
     24               A.       Nathalie.

    Golkow Litigation Services                                            Page: 358
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further359Confidentiality
                                                           of 382. PageID #: 210449
                                                                               Review

      1                        MR. ROTH:       There's an H in
      2               her name.
      3     BY MS. BAIG:
      4               Q.       Did you work with the
      5     American Geriatric Society at all?
      6               A.       Not at Actavis.
      7               Q.       Are you aware of anybody at
      8     Actavis working with the American
      9     Geriatric Society at all?
     10               A.       No, I'm not.
     11               Q.       Do you remember any
     12     discussions at Actavis about targeting
     13     veterans?
     14               A.       No.
     15               Q.       Are you aware of the 2009
     16     publication distributed by the American
     17     Pain Foundation called Exit Wounds?
     18               A.       No, I'm not.
     19               Q.       You never saw it?
     20               A.       I don't recall even hearing
     21     about it.
     22               Q.       Do you have any
     23     understanding of Actavis's
     24     responsibilities under state and federal

    Golkow Litigation Services                                            Page: 359
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further360Confidentiality
                                                           of 382. PageID #: 210450
                                                                               Review

      1     law with respect to The Controlled
      2     Substances Act?
      3                        MR. ROTH:       Object to the
      4               form.
      5                        THE WITNESS:        That wasn't
      6               really my area to --
      7     BY MS. BAIG:
      8               Q.       So your answer is no?
      9               A.       No.
     10                        MR. ROTH:       Object to the
     11               form.     Lacks foundation.           She said
     12               no.
     13     BY MS. BAIG:
     14               Q.       Who would have been -- who
     15     would have been in charge of making sure
     16     that Actavis was complying with its --
     17     with The Controlled Substances Act, the
     18     requirements under The Controlled
     19     Substances Act to report suspicious
     20     sales?
     21                        MR. ROTH:       Objection.       Lacks
     22               foundation.        Objection.        Form.
     23                        THE WITNESS:        I don't know
     24               enough about it to answer that

    Golkow Litigation Services                                            Page: 360
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further361Confidentiality
                                                           of 382. PageID #: 210451
                                                                               Review

      1               question.
      2     BY MS. BAIG:
      3               Q.       Were you aware that Actavis
      4     had an obligation to report suspicious
      5     sales?
      6                        MR. ROTH:       Same objections.
      7                        THE WITNESS:        Yeah, I don't
      8               recall being aware of -- being
      9               informed about suspicious sales
     10               and who would report that.
     11     BY MS. BAIG:
     12               Q.       Were you aware that Actavis
     13     had that obligation, or no?
     14                        MR. ROTH:       Same objections.
     15                        THE WITNESS:        I can't say
     16               for sure -- for certain what I was
     17               aware of at that time.
     18     BY MS. BAIG:
     19               Q.       Because you don't remember?
     20               A.       Yes.
     21               Q.       Are you aware of any
     22     policies and procedures to ensure that
     23     Actavis was reporting and halting
     24     suspicious sales?

    Golkow Litigation Services                                            Page: 361
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further362Confidentiality
                                                           of 382. PageID #: 210452
                                                                               Review

      1                        MR. ROTH:       Objection.       Lacks
      2               foundation.        Calls for
      3               speculation.        Form.
      4                        THE WITNESS:        I wasn't
      5               familiar with those procedures.
      6     BY MS. BAIG:
      7               Q.       And you don't know whether
      8     they existed or not, do you?
      9                        MR. ROTH:       Same objections.
     10                        THE WITNESS:        I can't say
     11               for certain.
     12     BY MS. BAIG:
     13               Q.       Are you aware of any rebate
     14     or chargeback programs in connection with
     15     the sales and distribution data?
     16               A.       In connection with sales and
     17     distribution data?
     18                        MR. ROTH:       Objection.
     19     BY MS. BAIG:
     20               Q.       Sorry.     Sales and
     21     distribution.
     22                        MR. ROTH:       Object to the
     23               form.
     24                        THE WITNESS:        I'm reading

    Golkow Litigation Services                                            Page: 362
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further363Confidentiality
                                                           of 382. PageID #: 210453
                                                                               Review

      1               your question.         Sorry.
      2                        Only in the general sense.
      3               I understand that they happened
      4               for managed care contracts, but
      5               not in -- in any specificity to
      6               Actavis.
      7     BY MS. BAIG:
      8               Q.       Managed care contracts with
      9     who?
     10               A.       Managed care organizations.
     11               Q.       Such as?
     12               A.       Aetna, United Healthcare.
     13               Q.       And your understanding is
     14     that there are rebate or chargeback
     15     programs.
     16                        Do you have any general
     17     knowledge of how those work?
     18               A.       You pretty much know exactly
     19     what I know.        I know that rebates are
     20     involved with managed care, but I don't
     21     know how they work.
     22               Q.       Who would know that at
     23     Actavis?
     24               A.       I'm not sure who handled

    Golkow Litigation Services                                            Page: 363
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further364Confidentiality
                                                           of 382. PageID #: 210454
                                                                               Review

      1     managed care contracts at Actavis.
      2               Q.       Is it a separate department?
      3               A.       Separate from mine, yes.
      4               Q.       Is it its own department?
      5               A.       That's what -- I don't know
      6     where it resided.
      7               Q.       Do you know anything about
      8     Actavis's lobby efforts with respect to
      9     drug regulation?
     10               A.       I do not.
     11               Q.       Did you ever hear anything
     12     about that?
     13               A.       No.
     14               Q.       Do you know whether there's
     15     a department that exists?
     16               A.       I did not.
     17               Q.       Are you aware that Allergan
     18     transacts business in Ohio -- that
     19     Actavis transacts business in Ohio?
     20                        MR. ROTH:       Object to the
     21               form.
     22                        THE WITNESS:        Can you be
     23               more specific about "transacts
     24               business"?

    Golkow Litigation Services                                            Page: 364
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further365Confidentiality
                                                           of 382. PageID #: 210455
                                                                               Review

      1     BY MS. BAIG:
      2               Q.       Well, do you know whether
      3     there was a sales rep in Ohio?
      4               A.       I assume there was, yes.
      5               Q.       Are you aware that Actavis
      6     sells opioids in Ohio?
      7                        MR. ROTH:       Object to the
      8               form.     Vague as to time frame and
      9               who you're talking about.
     10     BY MS. BAIG:
     11               Q.       When you were there.
     12               A.       And by "sell opioids,"
     13     promote opioids to physicians?
     14               Q.       Yes.
     15               A.       So if we had a sales rep
     16     there, yes, they were promoting opioids
     17     to physicians.
     18               Q.       Do you know who that sales
     19     rep was?
     20               A.       No.
     21               Q.       If you wanted to find out
     22     who that sales rep was, who would you go
     23     to?
     24               A.       I would probably call one of

    Golkow Litigation Services                                            Page: 365
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further366Confidentiality
                                                           of 382. PageID #: 210456
                                                                               Review

      1     the sales directors.
      2                        MS. BAIG:          I have no further
      3               questions.         Thank you.
      4                        THE WITNESS:          Thank you.
      5                        MR. ROTH:          Can we take a
      6               short break, so I can consult with
      7               co-counsel, and then we'll come
      8               back on?
      9                        VIDEO TECHNICIAN:           The time
     10               is 4:04 p.m.           Off the record.
     11                              -    -    -
     12                        (Whereupon, a brief recess
     13               was taken.)
     14                            -     -    -
     15                        VIDEO TECHNICIAN:           We are
     16               back on the record.             The time is
     17               4:16 p.m.
     18                              -    -    -
     19                           EXAMINATION
     20                              -    -    -
     21     BY MR. ROTH:
     22               Q.       Ms. Altier, you testified
     23     earlier that you joined Actavis in the
     24     summer of 2010; is that correct?

    Golkow Litigation Services                                            Page: 366
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further367Confidentiality
                                                           of 382. PageID #: 210457
                                                                               Review

      1               A.       That's correct.
      2               Q.       Why were you hired?
      3               A.       I was hired because Actavis
      4     had just received a warning letter,
      5     earlier that year, on the promotional
      6     materials they were using, and I was
      7     brought in to create new materials.
      8               Q.       What process did you go
      9     through to revise the company's
     10     promotional materials for Kadian?
     11               A.       Sure.     We created materials
     12     that were based exclusively on the
     13     product label, approved by the FDA.                   I
     14     like to -- I always used to like to call
     15     it a colorful PI.
     16                        We created those materials,
     17     we submitted them through our promotional
     18     review committee process, which consisted
     19     of legal and regulatory review, to make
     20     sure that we were compliant.                And those
     21     materials were produced and given to the
     22     sales force.
     23               Q.       And how would you describe
     24     the marketing materials you produced for

    Golkow Litigation Services                                            Page: 367
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further368Confidentiality
                                                           of 382. PageID #: 210458
                                                                               Review

      1     Kadian?
      2               A.       Let's see.       Benign,
      3     conservative, very straightforward,
      4     modeled after the label.
      5               Q.       What interaction did you
      6     have with the inVentiv sales reps during
      7     your tenure at Actavis while the inVentiv
      8     contract was still ongoing?
      9               A.       Sure.     My role was marketing
     10     director, I would present the marketing
     11     materials to them.
     12               Q.       And how would you describe
     13     the inVentiv sales reps' promotion of
     14     Kadian?
     15               A.       Again, you know, they were
     16     trained on what -- the safety and the
     17     efficacy of the product; they stuck to
     18     the materials that they were given, which
     19     was, basically, you know, a colorful
     20     version of the PI; instructed to provide
     21     appropriate safety that was in the
     22     materials with every detail.
     23               Q.       Did Actavis ever hire a
     24     speakers bureau for Kadian?

    Golkow Litigation Services                                            Page: 368
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further369Confidentiality
                                                           of 382. PageID #: 210459
                                                                               Review

      1               A.       No.
      2               Q.       Did Actavis ever sponsor a
      3     continuing medical education seminars
      4     related to Kadian?
      5               A.       No.
      6               Q.       Did Actavis ever fund
      7     clinical or other scientific studies for
      8     the purpose of promoting Kadian?
      9               A.       Not during my tenure, no.
     10               Q.       Did Actavis ever hire key
     11     opinion leaders for the purposes of
     12     promoting Kadian?
     13               A.       No.
     14               Q.       Did Actavis ever engage pain
     15     advocacy or other patient advocacy
     16     organizations for the purposes of
     17     promoting Kadian?
     18               A.       No.
     19               Q.       Why did Actavis adopt such a
     20     benign and conservative marketing
     21     strategy for Kadian?
     22               A.       We were at the end of our
     23     product lifecycle.           Generic competition
     24     was imminent.         Our goal was to maintain

    Golkow Litigation Services                                            Page: 369
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further370Confidentiality
                                                           of 382. PageID #: 210460
                                                                               Review

      1     product share.
      2               Q.       When did Actavis stop
      3     detailing physicians and pharmacies for
      4     Kadian in person?
      5               A.       The merger with Watson, the
      6     Watson management made the decision to
      7     let the sales force go at the end of
      8     2012.
      9               Q.       We saw some documents and
     10     heard testimony today related to MoxDuo.
     11                        Do you remember that?
     12               A.       I do.
     13               Q.       Was MoxDuo ever marketed or
     14     sold?
     15               A.       It was not.
     16               Q.       And why not?
     17               A.       It was not approved by the
     18     FDA.
     19                        MR. ROTH:       That's all I have
     20               for now.
     21                        MS. BAIG:       I have nothing
     22               further.
     23                              -   -   -
     24                           EXAMINATION

    Golkow Litigation Services                                            Page: 370
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further371Confidentiality
                                                           of 382. PageID #: 210461
                                                                               Review

      1                              -    -    -
      2     BY MS. PINCUS:
      3               Q.       Ms. Altier --
      4                        VIDEO TECHNICIAN:           So you
      5               probably do want to come because
      6               you need a microphone.
      7                              -    -    -
      8                        (Whereupon, a discussion off
      9               the record occurred.)
     10                            -     -    -
     11     BY MS. PINCUS:
     12               Q.       Good afternoon, Ms. Altier.
     13     My name is Lauren Pincus, and I'm here on
     14     behalf of Rochester Drug Cooperative.
     15                        I realize it's been a long
     16     day, so I'll try and be brief.
     17               A.       Thank you.
     18               Q.       Are you familiar with
     19     Rochester Drug Cooperative?
     20               A.       No.
     21               Q.       Do you recall having any
     22     dealings with Rochester Drug Cooperative
     23     during your time at Actavis?
     24               A.       No, not that I recall.

    Golkow Litigation Services                                            Page: 371
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further372Confidentiality
                                                           of 382. PageID #: 210462
                                                                               Review

      1                        MS. PINCUS:        No further
      2               questions.
      3                        MR. ROTH:       Does anyone on
      4               the phone have any questions for
      5               the witness?
      6                        MR. DIAMANTATOS:          Yes.     This
      7               is Tinos Diamantatos, from Morgan
      8               Lewis on behalf of the Teva
      9               defendants.
     10                              -   -   -
     11                        (Whereupon, a discussion off
     12               the record occurred.)
     13                              -   -   -
     14     BY MR. DIAMANTATOS:
     15               Q.       Can you hear me now?
     16               A.       Yes.
     17               Q.       Terrific.
     18                        Ms. Altier, how are you?
     19     Nice to meet you --
     20                        MS. BAIG:       Have you
     21               cross-noticed this deposition?
     22               Who is taking questions now,
     23               exactly.
     24                        MR. DIAMANTATOS:          I can't

    Golkow Litigation Services                                            Page: 372
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further373Confidentiality
                                                           of 382. PageID #: 210463
                                                                               Review

      1               hear the questioner, whoever just
      2               said that.        Can you repeat that?
      3                        MS. BAIG:       Can you please
      4               restate who is taking questions
      5               now?
      6                        MR. DIAMANTATOS:          Sure.
      7               First name is Tinos, T-I-N-O-S,
      8               last name, Diamantatos,
      9               D-I-A-M-A-N-T-A-T-O-S.             I'm with
     10               Morgan Lewis and Bockius on behalf
     11               of Teva defendants Cephalon and
     12               the acquired entities.             And I
     13               e-mailed the address yesterday
     14               stating that I would be appearing
     15               on behalf of those entities for
     16               today's purposes.
     17                        MS. BAIG:       And have you
     18               cross-noticed this deposition?
     19                        MR. ROTH:       They don't need
     20               to if they're just following up on
     21               generic issues which they're
     22               defending.
     23                        MS. BAIG:       Have you
     24               cross-noticed this deposition?

    Golkow Litigation Services                                            Page: 373
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further374Confidentiality
                                                           of 382. PageID #: 210464
                                                                               Review

      1                        MR. DIAMANTATOS:          I have
      2               not.
      3                        MS. BAIG:       Okay.     I would
      4               object to the extent that it's in
      5               violation of the protocol.
      6                        But go ahead.
      7                        MR. DIAMANTATOS:          I've
      8               reviewed the protocol, and I don't
      9               think any of my questions or my
     10               questioning of the witness is in
     11               violation of the protocol, just
     12               for the record.
     13                        MS. BAIG:       Okay.     Go ahead.
     14                        MR. DIAMANTATOS:          May I
     15               proceed?       Thank you.
     16     BY MR. DIAMANTATOS:
     17               Q.       Ms. Altier, you can't see me
     18     but nice to meet you.
     19               A.       Nice to meet you.
     20               Q.       My name is Tinos, I
     21     represent Teva Pharmaceuticals and some
     22     related entities.
     23                        I only have a few brief
     24     questions for you, based on some of the

    Golkow Litigation Services                                            Page: 374
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further375Confidentiality
                                                           of 382. PageID #: 210465
                                                                               Review

      1     questioning this morning.              If you can't
      2     hear me or it's not coming through on the
      3     phone, please let me know.
      4                        But I'll keep it brief,
      5     okay?
      6               A.       Okay.
      7               Q.       You testified earlier this
      8     morning that for a short period of time,
      9     the Kadian sales force helped promote the
     10     availability of oxymorphone.
     11                        Do you recall that?
     12               A.       I do.
     13               Q.       And we also saw an exhibit,
     14     I believe it was marked as Exhibit Number
     15     17, 1-7, which was a slide deck regarding
     16     oxymorphone.
     17                        What do you recall about the
     18     Kadian sales team's involvement?
     19               A.       I believe the question was,
     20     what do I recall about the Kadian sales
     21     team's involvement?
     22                        Their involvement was to
     23     inform physicians that the strengths of
     24     the 7.5 and the 15 were still available,

    Golkow Litigation Services                                            Page: 375
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further376Confidentiality
                                                           of 382. PageID #: 210466
                                                                               Review

      1     even though the brand had pulled their
      2     version of that drug.
      3               Q.       Anything beyond that, that
      4     you recall?
      5               A.       No.
      6               Q.       You also mentioned that when
      7     Kadian went to generic, the inVentiv's
      8     team promoted the Kadian generic.
      9                        Can you please explain what
     10     you meant by that?
     11               A.       Sure.     I guess, they just --
     12     they continued promoting Kadian the way
     13     they were, but an additional message was
     14     that there was a generic version
     15     available for their patients.
     16               Q.       And apart from the instances
     17     that we saw regarding oxymorphone and
     18     generic Kadian, are you aware of inVentiv
     19     promoting products other than Kadian?
     20               A.       I am not.
     21                        MR. DIAMANTATOS:          We're
     22               reserving the right to ask further
     23               questions if the need arises.                I
     24               have no further questions for the

    Golkow Litigation Services                                            Page: 376
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further377Confidentiality
                                                           of 382. PageID #: 210467
                                                                               Review

      1               witness at this time.
      2                        MS. BAIG:          I have nothing
      3               further.
      4                        VIDEO TECHNICIAN:           This
      5               marks the end of today's
      6               deposition.         The time is 4:24 p.m.
      7               Off the record.
      8                              -    -    -
      9                        (Whereupon, the deposition
     10               concluded at 4:24 p.m.)
     11                            -     -    -
     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

    Golkow Litigation Services                                            Page: 377
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further378Confidentiality
                                                           of 382. PageID #: 210468
                                                                               Review

      1                           CERTIFICATE
      2

      3

      4                        I HEREBY CERTIFY that the
      5     witness was duly sworn by me and that the
      6     deposition is a true record of the
      7     testimony given by the witness.
      8

      9

     10

                      Amanda Maslynsky-Miller
     11               Certified Realtime Reporter
                      Dated:      August 6, 2018
     12

     13

     14

     15

     16

     17                        (The foregoing certification
     18     of this transcript does not apply to any
     19     reproduction of the same by any means,
     20     unless under the direct control and/or
     21     supervision of the certifying reporter.)
     22

     23

     24

    Golkow Litigation Services                                            Page: 378
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further379Confidentiality
                                                           of 382. PageID #: 210469
                                                                               Review

      1                  INSTRUCTIONS TO WITNESS
      2

      3                        Please read your deposition
      4     over carefully and make any necessary
      5     corrections.        You should state the reason
      6     in the appropriate space on the errata
      7     sheet for any corrections that are made.
      8                        After doing so, please sign
      9     the errata sheet and date it.
     10                        You are signing same subject
     11     to the changes you have noted on the
     12     errata sheet, which will be attached to
     13     your deposition.
     14                        It is imperative that you
     15     return the original errata sheet to the
     16     deposing attorney within thirty (30) days
     17     of receipt of the deposition transcript
     18     by you.      If you fail to do so, the
     19     deposition transcript may be deemed to be
     20     accurate and may be used in court.
     21

     22

     23

     24

    Golkow Litigation Services                                            Page: 379
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further380Confidentiality
                                                           of 382. PageID #: 210470
                                                                               Review

      1                        -    -   -   -   -    -
                                   E R R A T A
      2                        -    -   -   -   -    -
      3

      4     PAGE     LINE    CHANGE
      5     ____     ____    ____________________________
      6         REASON:      ____________________________
      7     ____     ____    ____________________________
      8         REASON:      ____________________________
      9     ____     ____    ____________________________
     10         REASON:      ____________________________
     11     ____     ____    ____________________________
     12         REASON:      ____________________________
     13     ____     ____    ____________________________
     14         REASON:      ____________________________
     15     ____     ____    ____________________________
     16         REASON:      ____________________________
     17     ____     ____    ____________________________
     18         REASON:      ____________________________
     19     ____     ____    ____________________________
     20         REASON:      ____________________________
     21     ____     ____    ____________________________
     22         REASON:      ____________________________
     23     ____     ____    ____________________________
     24         REASON:      ____________________________

    Golkow Litigation Services                                            Page: 380
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further381Confidentiality
                                                           of 382. PageID #: 210471
                                                                               Review

      1               ACKNOWLEDGMENT OF DEPONENT
      2
                          I,_____________________, do
      3     hereby certify that I have read the
            foregoing pages, 1 - 377, and that the
      4     same is a correct transcription of the
            answers given by me to the questions
      5     therein propounded, except for the
            corrections or changes in form or
      6     substance, if any, noted in the attached
            Errata Sheet.
      7
      8      _______________________________________
             JENNIFER ALTIER              DATE
      9
     10
            Subscribed and sworn
     11     to before me this
            _____ day of ______________, 20____.
     12
            My commission expires:______________
     13
     14     ____________________________________
            Notary Public
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24

    Golkow Litigation Services                                            Page: 381
Case: Highly
      1:17-md-02804-DAP Doc #:-1974-6
               Confidential           Filed:to07/24/19
                                Subject         Further382Confidentiality
                                                           of 382. PageID #: 210472
                                                                               Review

      1                        LAWYER'S NOTES
      2     PAGE     LINE
      3     ____     ____    ____________________________
      4     ____     ____    ____________________________
      5     ____     ____    ____________________________
      6     ____     ____    ____________________________
      7     ____     ____    ____________________________
      8     ____     ____    ____________________________
      9     ____     ____    ____________________________
     10     ____     ____    ____________________________
     11     ____     ____    ____________________________
     12     ____     ____    ____________________________
     13     ____     ____    ____________________________
     14     ____     ____    ____________________________
     15     ____     ____    ____________________________
     16     ____     ____    ____________________________
     17     ____     ____    ____________________________
     18     ____     ____    ____________________________
     19     ____     ____    ____________________________
     20     ____     ____    ____________________________
     21     ____     ____    ____________________________
     22     ____     ____    ____________________________
     23     ____     ____    ____________________________
     24     ____     ____    ____________________________

    Golkow Litigation Services                                            Page: 382
